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                            Nos. 2024-1243, 2024-1244


             United States Court of Appeals
                 for the Federal Circuit
                     ______________________________________________________


   THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK,
                                                    Plaintiff-Appellee
                                              v.
 GEN DIGITAL INC., FKA SYMANTEC CORPORATION, FKA NORTONLIFELOCK,
                               INC.,
                                                   Defendant-Appellant
                QUINN EMANUEL URQUHART & SULLIVAN, LLP.,
                                                Sanctioned Party-Appellant
                     ______________________________________________________


    Appeal from the District Court for the Eastern District of Virginia in
               3:13-cv-00808-MHL, Judge M. Hannah Lauck
                     ______________________________________________________


   COLUMBIA’S CORRECTED NONCONFIDENTIAL OPPOSED
  MOTION FOR LEAVE TO FILE A SUPPLEMENTAL APPENDIX
                     ______________________________________________________



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June 12, 2024                                    Columbia University in the City of
                                                 New York
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                    CERTIFICATE OF INTEREST

Counsel for Appellee Trustees of Columbia University in the City of New
York certifies the following:

  1. Represented Entities. Provide the full names of all entities
     represented by undersigned counsel in this case. Fed. Cir. R.
     47.4(a)(1).

          The Trustees of Columbia University in the City of New York

  2. Real Party in Interest. Provide the full names of all real parties in
     interest for the entities. Do not list the real parties if they are the
     same as the entities. Fed. Cir. R. 47.4(a)(2).

          None.

  3. Parent Corporations and Stockholders. Provide the full names of
     all parent corporations for the entities and all publicly held
     companies that own 10% or more stock in the entities. Fed. Cir.
     47.4(a)(3).

          None.

  4. Legal Representatives. List all law firms, partners, and associates
     that (a) appeared for the entities in the originating court or agency
     or (b) are expected to appear in this court for the entities. Do not
     include those who have already entered an appearance in this
     court. Fed. Cir. R. 47.4(a)(4).

          Sullivan & Cromwell LLP:
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        Erbach, Maurice Francis Mullins, Robert Michael Tyler

5. Related Cases. Other than the originating case(s) for this case, are
   there related or prior cases that meet the criteria under Fed. Cir.
   R. 47.5(a)?

     • The Trustees of Columbia University in the City of New York
       v. Gen Digital Inc., Federal Circuit Appeal No. 24-1244,
       appeal from Case No. 3:13-cv-00808-MHL in the United
       States District Court for the Eastern District of Virginia
     • The Trustees of Columbia University in the City of New York
       v. Symantec Corporation, Federal Circuit Appeal No. 15-1146,
       appeal from Case No. 3:13-cv-00808-JRS in the United States
       District Court for the Eastern District of Virginia
     • The Trustees of Columbia University in the City of New York
       v. Symantec Corporation, Consolidated Appeal Nos. 16-2551,
       16-2554, 16-2630, 16-2631, appeals from the United States
       Patent and Trademark Office, Patent Trial and Appeal Board
       in Nos. IPR2015-00375, IPR2015-00377

6. Organizational Victims and Bankruptcy Cases. Provide any
   information required under Fed. R. App. P. 26.1(b) (organizational
   victims in criminal cases) and 26.1(c) (bankruptcy case debtors and
   trustees). Fed. Cir. R. 47.4(a)(6).

        None.




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Dated: New York, New York
      June 12, 2024

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                                 New York




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                         CONFIDENTIAL MATERIAL

      Pursuant to Federal Circuit Rule 25.1(e)(1)(B), Appellee The Trustees

of Columbia University in the City of New York (Columbia) identifies redacted

material appearing in two locations in the Addendum to this motion. The

general nature of the redacted material at Appx16063 is an email from Nathan

Hamstra (Quinn Emanuel Urquhart & Sullivan, LLP (Quinn)) to Marc Dacier

regarding Columbia’s trial witness list, which Quinn and Gen Digital, Inc.

(Norton) designated as confidential in the district court. The general nature

of the redacted material at Appx19383-88 is an excerpt of Norton’s

memorandum in support of its motions in limine 5 and 6, which Quinn and

Norton designated as confidential in the district court, requesting that the

district court not give a missing witness instruction and arguing that evidence

regarding out-of-court conversations with Marc Dacier should be excluded

from trial.




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                           INTRODUCTION

     Pursuant to Federal Circuit Rules 27 and 30, Appellee The Trustees

of Columbia University in the City of New York (Columbia) requests that

this Court exercise its equitable authority to supplement the record with

a recent declaration from Dr. Marc Dacier (Declaration). Dacier is a key

third-party witness for issues raised in the appeal by Sanctioned

Party-Appellant Quinn Emanuel Urquhart & Sullivan, LLP (Quinn).

The district court held Quinn in contempt for its refusal to comply with a

court order requiring Quinn to disclose certain information obtained from

Dacier (Order), whom Quinn claimed to represent personally. In its

appeal, Quinn argues that it could not have complied with the Order

because compliance would have violated Dacier’s attorney-client

privilege.   The Declaration contradicts that defense and other

representations central to Quinn’s appeal. Dacier states, among other

things, that he did not want Quinn’s representation, that he agreed to

that representation only when informed that he had no choice, and that

he has no recollection of Quinn ever consulting with him about the Order

or seeking—much less receiving—his authorization to assert privilege.

In short, the Declaration disposes of Quinn’s appeal.
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     Columbia had no way to obtain this dispositive evidence sooner.

Quinn’s argument on appeal is different from its post-trial argument to

the district court, which focused on the contention that Quinn had

substantially complied with the district court’s Order—a factual

contention that the district court rejected. At that time, Dacier, located

in Saudi Arabia, declined to discuss with Columbia’s counsel the

representations that Quinn made in support of its substantial-

compliance argument. But when Dacier was informed of what Quinn

argued in this appeal—that complying with the Order would have

violated Dacier’s privilege—he agreed to correct the record with the facts.

     The current record contains more than enough evidence for this

Court to affirm the district court’s contempt holding. The Declaration,

however, provides direct evidence of the misconduct that the district

court inferred from other strong evidence.          It also establishes that

Quinn’s contempt cannot be justified by the need to protect any attorney-

client privilege, since the client did not assert the privilege. Quinn’s non-

compliance with the disclosure Order was about hiding its misconduct—

telling Dacier that he had to accept Quinn as his counsel and




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misrepresenting Dacier’s decisions to the district court—not protecting a

client’s privilege.1

       Counsel for Norton and counsel for Quinn have indicated that they

oppose the motion.          Counsel for Quinn has indicated that they will

respond. Counsel for Norton has indicated that they will review this

motion before deciding whether to file a response.

                                 BACKGROUND

       A.    Proceedings Before The District Court

       In the district court, Columbia claimed that Norton had both

infringed     Columbia’s      patents   and     fraudulently     patented    other

computer-science technology invented and disclosed to Norton by

Columbia professors. Dacier, who was a Norton employee at the time of

the fraud but left about six months after this litigation began, was a

critical witness for the fraud claim.           Several years after his 2014

deposition in this case—at which he gave testimony adverse to Norton—

Dacier told Columbia professors at a professional conference that

Norton’s patenting of Columbia’s technology was “wrong,” that he had


   1 To be clear, Columbia has no basis to believe that Quinn’s appellate
counsel was aware of the facts stated in the Declaration. It was attorneys
at Quinn who made the relevant representations in the district court.


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tried to stop Norton from doing it, and that he was “sorry” for what

Norton had done. Appx15988-90; Appx52266-67; Appx52479. Dacier had

direct knowledge of Norton’s fraudulent intent, and he told Columbia

that he would be willing to provide that knowledge by testifying at trial,

Appx15983-84.

     Dacier repeated that he was willing to testify at trial to a Columbia

professor,   to   Columbia’s   counsel,    to   Norton,     and    to    Quinn.

Appx15988-90; Appx15980-87; Appx16022-23; Appx16061-62. During

this period, Dacier repeatedly stated orally and in writing that he did not

believe that he was represented by counsel, that he did not want to be

represented by counsel, and that he “[was] not asking for [Norton’s

counsel at Quinn] to represent [him].” Appx16062; see Appx15980-87.

     When it became clear in 2020 that Dacier was willing to testify at

trial, Quinn—which had not communicated with Dacier since 2014,

Appx16060—asserted that it continued to represent Dacier personally.

Dacier said that he did not want Quinn’s representation, but a Norton

lawyer told Dacier that Quinn “do[es] in fact continue to represent [him].”

Appx16073. To avoid “any possible [] interference” with his testimony,

Dacier copied Columbia’s counsel into his e-mails with Quinn and



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Norton. Appx16060. After those e-mails, direct communication from

Dacier to Columbia ceased, and until April 2022, the district court and

Columbia had only Quinn’s representations about what Dacier (Quinn’s

purported “client”) had said and decided.

      In addition to Quinn’s statements to the district court that it

represented Dacier personally, Quinn produced a declaration dated

June 17, 2020, and signed by Dacier that stated: “Quinn Emanuel has

represented me since June 18, 2014, and continues to represent me, in

connection with the Columbia case.” Appx16552.2 In subsequent briefs,

Quinn continued to claim that Dacier wished to be represented by Quinn.

Quinn also repeatedly represented to the district court that Dacier had

changed his mind and was no longer willing to testify.             See, e.g.,

Appx20356, Appx21475.




  2   In the recent Declaration, Dacier says he was advised that Norton
“could assert Quinn’s representation over [him], regardless of [his] own
views.” Ex. A ¶ 9. Dacier explains that Quinn “demanded” that he sign
the 2020 declaration, and he even quotes his e-mail transmitting the
signed declaration “as a follow up to [Quinn’s] demand.” Id. ¶¶ 7, 9.
Dacier says that he would not have signed the 2020 declaration if he had
known that he was not obligated to accept Quinn as his personal counsel.
Id. ¶ 10.


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     Before trial, Quinn filed two motions in limine, on behalf of Norton,

relating to Dacier.     Quinn asked the court to exclude from evidence

Dacier’s   statements      to   the   Columbia   professors     that      Norton’s

misappropriation of Columbia’s invention was “wrong” and that he was

“sorry” for what Norton had done. Appx43, Appx19386-88. Quinn also

asked that the court not give a missing-witness instruction because it

was Dacier who had “decided” not to testify, and argued that “Norton did

not cause Dr. Dacier to be unavailable at trial” because “Dacier’s decision

not to [testify] is not the result of any ‘wrongful’ action by Norton.”

Appx19387-88, Appx37278.

     The district court found that Norton, through Quinn, had “rendered

Dr. Dacier unavailable,” and found that a missing-witness instruction

was appropriate, Appx53, Appx40478—a finding neither Norton nor

Quinn challenges on appeal. The district court also questioned the truth

of the representation that Dacier had decided not to testify at trial, noting

an “aura of gamesmanship:” “[o]nce Quinn Emanuel entered the

conversation, Columbia and the Court were told by Norton’s counsel that

Dr. Dacier reversed his previously unequivocal and oft-expressed

willingness to testify,” and “Dacier’s complete turnabout on whether he



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would testify has the unfortunate appearance that counsel for Norton”

was “shielding adverse testimony.” Appx49-51.

     In addition, the district court questioned whether Dacier’s

one-sentence 2020 declaration—which was the only direct evidence from

Dacier himself—accurately represented Dacier’s wishes. As the court

observed, “Dacier stated more than once that he did not want

representation and did not seek it,” and “[n]othing shows that Dr. Dacier

knew he could disengage Quinn Emanuel.” Appx46-49. The court was

“most disturbed by counsel for Norton misrepresenting to Dr. Dacier in

2021, ‘that the Court concluded he is represented by Norton’s Counsel.’”

Appx49. The court noted that that statement was “manifestly untrue”

because the court had specifically declined to make any such finding.

Appx49, Appx17738. The court concluded that Quinn could not comply

with its ethical obligations to Dacier—who wanted to testify against

Norton’s interests—while also representing Norton. Appx50.

     In March 2022, to determine the actual facts regarding Dacier’s

decisions, the district court ordered Quinn to disclose on the record “any

information garnered from Dr. Dacier” after he made his statements to

the Columbia professors in 2017 (which effectively encompassed only



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information   Dacier     provided   to   Quinn      after   Quinn       asserted

representation over Dacier in April 2020 because Quinn had not

communicated with Dacier between 2014 and April 2020, not even to

inform its “client” that the case had resumed in 2018). Appx57; see

Appx34353. Quinn refused to comply. Appx34041. After the compliance

deadline, Quinn submitted its own declaration purporting to disclose

some, but not all, of the information it had obtained from Dacier.

Appx35936-43 (Quinn Declaration).        The Quinn Declaration asserted

that Dacier “stated that he did not want to travel to the United States for

trial, and would prefer to end his involvement in the litigation.”

Appx35940.    The Quinn Declaration also asserted that Dacier had

“confirmed that he wanted to continue to be represented by Quinn,” and

had “voluntarily signed a declaration to that effect.” Id. In the district

court, Quinn argued that it should not be held in contempt because the

Quinn Declaration substantially complied with the Order. Appx43950.

     The district court held that the Quinn Declaration did not comply

with the Order because it was incomplete—due at least to gaps in the

chronology of the Quinn-Dacier contacts—and also was “explicitly

contradict[ed] [by] email correspondence from Dr. Dacier already in the



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record.”        Appx92.    That correspondence included Dacier’s repeated

statements in 2019 and 2020 that he was willing to testify and that he

was “not asking for [Norton’s counsel, Quinn] to represent [him].”

Appx16061-62. It also included Dacier’s e-mails to Norton’s new counsel

in April 2022 stating that he “ha[d] continuously said” that he was

“happy to help the judicial process” and “could have frozen some days to

make [him]self available” to testify; that he believed his testimony would

be “harmful for Norton’s case;” and that he could “see now why the Quinn

team has done what they have done over the years, while pretending to

‘represent’ [him],” including “the Quinn team” repeatedly instructing

Dacier “that they did not want [him] to do anything” with respect to the

trial.        Appx35887-90.     Rejecting Quinn’s factual contention about

substantial compliance with the Order, the district court held Quinn in

contempt. Appx100.

         B.     Proceedings Before This Court

         On appeal, Quinn argues that its non-compliance was compelled by

Dacier’s privilege, and in support makes critical representations about

Dacier’s purported decisions.         Quinn repeats that Dacier “wanted to

continue to be represented by Quinn,” and asserts that his 2020



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declaration “leaves no doubt that Dr. Dacier and Quinn Emanuel

remained in an attorney-client relationship … until March 2022, when

Quinn Emanuel withdrew from the representation.” Br. 14, 51. Quinn

now argues that, because of that supposed attorney-client relationship,

it could not “compl[y] with the district court’s order by disclosing

Dr. Dacier’s privileged communications without his waiver or consent.”

Br. 49. As Quinn’s argument acknowledges, privilege is controlled by the

client—not counsel.      So any attorney-client communications were

privileged only if Dacier had decided to assert his privilege and declined

to provide the waiver or consent that Quinn claims was necessary for it

to comply with the Order.

     Because Quinn now asserts attorney-client privilege as its defense

to contempt, Columbia’s counsel contacted Dacier to ask about that

assertion. Dacier, who lives in Saudi Arabia, had declined to speak with

Columbia’s counsel in 2022, expressing fear of retaliation from Quinn and

Norton. Appx47474-77. But this time he felt differently, expressing

surprise that Quinn had invoked his privilege as an excuse for non-

compliance with a court order.




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      Dacier provided the Declaration that is attached as Exhibit A to

this motion. In the Declaration, Dacier states that he does not recall

Quinn ever consulting with him about the Order; he never asserted

privilege; and he does not recall being informed that Quinn was invoking

privilege on his behalf as a basis to refuse compliance with the Order.

Dacier further states that if Quinn had consulted with him, he would

have instructed Quinn to comply with the Order.3

                              ARGUMENT

THIS COURT SHOULD EXERCISE ITS INHERENT EQUITABLE
AUTHORITY TO SUPPLEMENT THE RECORD WITH DACIER’S
DECLARATION.

      Courts of appeals have “an inherent equitable power to supplement

the record on appeal with matters that were not before the district court.”

United States v. Balderama-Iribe, 490 F.3d 1199, 1202 n.4 (10th Cir.

2007); see 16A Charles Alan Wright & Arthur R. Miller, Federal Practice




  3  Quinn also asserts on appeal that “Dacier ... informed Quinn
Emanuel that he had decided not to … testify at trial.” Br. 14. The
Declaration refutes any such alleged change of heart, and confirms the
district court’s inference that Dacier was willing to testify. Ex. A ¶ 12.
Quinn also argues that the 2020 declaration “leaves no doubt” that Quinn
represented Dacier, Br. 51, but the Declaration explains that Dacier was
informed that he had to accept Quinn’s “representation” and that Quinn
“demanded” that he sign the 2020 declaration, Ex. A ¶¶ 7, 9-10.


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& Procedure § 3956.4 (5th ed. 2019 & Supp. 2023) (“In special

circumstances, a court of appeals may supplement the record to add

material not presented to the district court.”); 20 Moore’s Federal

Practice—Civil § 310.10 (2024) (“In extraordinary situations, the circuit

court may consider material not presented to the district court when it

believes the interests of justice are at stake.”). Although that inherent

authority is invoked judiciously, courts have exercised it where

exceptional circumstances warrant.4

      Courts have enumerated several non-exclusive factors to consider

in determining whether to supplement the record, among them



  4  See, e.g., United States v. Aulet, 618 F.2d 182, 185-87 (2d Cir.
1980); Cedar Coal Co. v. United Mine Workers of Am., 560 F.2d 1153,
1166 (4th Cir. 1977); United States ex rel. Minna Ree Winer Children’s
Class Tr. v. Regions Bank of La., 1997 WL 119971, at *3 (5th Cir. Mar.
13, 1997) (per curiam); Thompson v. Bell, 373 F.3d 688, 690 (6th Cir.
2004), rev’d on other grounds, 545 U.S. 794 (2005); Simpson v. Brown
Cnty., 860 F.3d 1001, 1004 n.1 (7th Cir. 2017); Dakota Indus. v. Dakota
Sportswear, Inc., 988 F.2d 61, 63-64 (8th Cir. 1993); Teamsters Local
Union No. 117 v. Wash. Dept. of Corr., 789 F.3d 979, 986 (9th Cir. 2015);
Anthony v. United States, 667 F.2d 870, 875 (10th Cir. 1981); CSX
Transp., Inc. v. City of Garden City, 235 F.3d 1325, 1330 (11th Cir. 2000);
Colbert v. Potter, 471 F.3d 158, 165-67 (D.C. Cir. 2006). This Court
recently allowed a party to supplement the record with evidence not
before the district court to determine the veracity of a party’s statements
in a brief. See Apple, Inc. v. Zipit Wireless, Inc., No. 21-1760, Dkt. 22-1
(Motion); Dkt. 38 (Order) (per curiam) (Fed. Cir. Jan. 25, 2022).


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(i) “whether acceptance of the proffered material into the record would

establish beyond any doubt the proper resolution of the pending issue,”

United States v. Kennedy, 225 F.3d 1187, 1191 (10th Cir. 2000), reh’g en

banc denied, (Nov. 17, 2000); (ii) whether the supplemental material is

relevant to a misrepresentation before the district court, Dakota Indus.,

988 F.2d at 63-64; (iii) whether the supplemental material was

previously unavailable, Landreth v. United States, 797 F. App’x 521, 524

(Fed. Cir. 2020) (per curiam); and (iv) “whether remand for the district

court to consider the additional material would be contrary to the

interests of justice and a waste of judicial resources,” Kennedy, 225 F.3d

at 1191. All of those factors weigh in favor of supplementing the record

in the extraordinary circumstances here.

     A.    The Declaration Establishes the Proper Resolution of the
           Quinn Appeal.

     “A primary factor [courts] consider in deciding a motion to

supplement the record is whether acceptance of the proffered material

into the record would establish beyond any doubt the proper resolution

of the pending issues.” CSX Transp., 235 F.3d at 1330; see Ross v. Kemp,

785 F.2d 1467, 1474-75 (11th Cir. 1986); United States v. Murdock, 398




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F.3d 491, 500 (6th Cir. 2005); Colbert, 471 F.3d at 165-66 (supplementing

record where new evidence went “to the heart of the contested issue”).

      The Declaration offered here would resolve Quinn’s appeal. Quinn

argues that it could not “compl[y] with the district court’s order by

disclosing Dr. Dacier’s privileged communications without his waiver or

consent.” Br. 49. That argument relies heavily on the proposition that

“Dr. Dacier and Quinn Emanuel remained in an attorney-client

relationship … until March 2022, when Quinn Emanuel withdrew from

the representation.” Br. 51. It also rests on the implicit premise that

Quinn could not have complied with the Order because Dacier had

asserted his privilege and would not waive it. After all, attorney-client

privilege is controlled by the client, not the attorney. United States v.

Farrell, 921 F.3d 116, 136 (4th Cir. 2019) (“[T]he privilege belong[s] to

the client, not the lawyer.” (second alteration in original)); Hawkins v.

Stables, 148 F.3d 379, 384 n.4 (4th Cir. 1998).5




  5  This Court “applies the law of the regional circuit, here the [Fourth]
Circuit, with respect to questions of attorney-client privilege.” Fort
James Corp. v. Solo Cup Co., 412 F.3d 1340, 1346 (Fed. Cir. 2005).


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     The Declaration refutes those two factual predicates of Quinn’s

appeal:   (i) that Dacier wanted Quinn to represent him and (ii) that

Dacier asserted his privilege. In fact, Dacier states that he never said

that he “wanted Quinn to represent [him],” and did not voluntarily sign

the 2020 declaration. Ex. A ¶¶ 9-10. And Dacier states that he has no

recollection of Quinn’s consulting with him about the Order, much less

that he authorized Quinn to assert his privilege. Indeed, the Declaration

states that had he been asked, Dacier “would have wanted disclosure.”

Id. ¶¶ 4-5. Thus, Dacier’s declaration goes “to the heart of the contested

issue.”

     B.    The Declaration Is Relevant To Quinn’s Misrepresentations
           To The District Court And This Court.

     Several courts have recognized that supplementing the record on

appeal is appropriate where new evidence is relevant to a party’s

misrepresentations or misstatements. See, e.g., M Welles & Assocs., Inc.

v. Edwell, Inc., 69 F.4th 723, 729-30 (10th Cir. 2023) (“recogniz[ing] that

[a   court’s]   inherent     authority    may        be   used     ‘to    correct

misrepresentations’”). For example, in Dakota Industries, the Eighth

Circuit exercised its authority to supplement the record where a party

was “less than forthcoming with the [district] court” and its


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“misrepresentation, willful or otherwise, left the district court with an

incomplete picture of” a particular issue. 988 F.2d at 63-64. As the

Eighth Circuit recognized, “[i]f an appellate court could never consider

new evidence in such cases, parties would have a distinct incentive to

deceive the district courts, and the appellate courts would be powerless

to remedy such deceptions.” Id.; see Balderama-Iribe, 490 F.3d at 1202

n.4 (exercising authority to consider letter relevant to a “misstatement at

the pretrial hearing”); see also Apple, No. 21-1760, Dkt. 22-1 (Motion);

Dkt. 38 (Order) (ordering supplementation of record to include document

showing that statements made in a party’s brief were inaccurate).

     Similar concerns are present here.             The Declaration directly

contradicts representations repeatedly made to the district court and this

Court.     First,   the   Declaration    states     that   Quinn’s        repeated

representation—to the district court and in Quinn’s opening brief on

appeal—that he “changed [his] mind and was unwilling to testify at trial

… is false.” Ex. A ¶ 12 (emphasis added). Second, Dacier explains that

Quinn and Norton misled him to believe that “Norton could assert

Quinn’s representation over [him], regardless of [his] own views.” Id. ¶ 9.

According to Dacier, Quinn demanded that he sign the 2020 declaration.



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Id. ¶¶ 7, 9. Dacier says that if he had “been informed that [he] was not

obligated to accept the Quinn lawyers as [his] personal counsel, [he]

would not have signed the [2020] declaration.” Id. ¶¶ 9-10. This directly

contradicts the statements in the 2022 Quinn Declaration that Dacier

“confirmed that he wanted to continue to be represented by Quinn” and

“voluntarily signed a declaration to that effect.”        Appx35940.       The

Declaration     is    therefore     necessary       to    correct       Quinn’s

“misrepresentation[s],” which provide an “incomplete picture” of the core

issue in Quinn’s appeal—namely, whether Dacier’s purported privilege

can excuse contempt. Dakota Indus., 988 F.2d at 63.

     C.    The Declaration Was Previously Unavailable.

     The information in the Declaration was not previously available to

Columbia. In April 2020, Quinn instructed Columbia not to communicate

with Dacier because Quinn claimed to represent him. Appx16068. In

2022, when Quinn finally abandoned its argument that it represented

Dacier, Dacier was unwilling to speak with Columbia’s counsel,

expressing fear of retaliation. Appx47474-77. Only after the passage of

time—combined with Quinn’s attempt to use Dacier on appeal as the

premise to excuse its contempt—was Dacier willing to correct the record.



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The previous unavailability of this evidence, and the fact that it has

become available because of Quinn’s position on appeal, supports

supplementation.     Cf. Landreth, 797 F. App’x. at 524 (declining to

supplement because evidence “was [not] previously unavailable”); Bell v.

Pfizer, Inc., 716 F.3d 1087, 1092 (8th Cir. 2013) (same).

     D.    Supplementation Is Efficient And In The Interests Of Justice.

     This case has been pending since 2013, and this is the third appeal

to this Court relating to this case. Supplementation in this Court is the

most efficient way to introduce the Declaration. The direct evidence in

the Declaration simply confirms the reasonable inferences that the

district court drew from the circumstantial evidence, so a remand to the

district court “would serve no good purpose and would ultimately amount

to a waste of judicial resources.” Colbert, 471 F.3d at 166; see Teamsters,

789 F.3d at 986 (supplementing where “a remand or dismissal on

procedural grounds would merely prolong resolution of the underlying

issues”); Cabalceta v. Standard Fruit Co., 883 F.2d 1553, 1555 (11th Cir.

1989) (supplementing record “in the interest [of] judicial economy”);

Gibson v. Blackburn, 744 F.2d 403, 405 n.3 (5th Cir. 1984) (exercising

discretion to supplement “rather than to remand this case to the district



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court and prolong a case which has wound its way through courts for the

past six years”).

      Given the extraordinary circumstances here, supplementation also

would serve the interests of justice. The Declaration reveals misconduct

in forcing a critical witness into an unwanted attorney-client relationship

and then misrepresenting to a court the purported client’s wishes with

respect to privilege and other matters. It would be a miscarriage of

justice not to consider this newly available evidence, which disposes of

Quinn’s appeal. See CSX Transp., 235 F.3d at 1330 (supplementing

record “in the interests of justice”).

      Indeed, the conduct is so serious that Columbia’s counsel is filing

this motion in part because ethics counsel has advised that counsel must

bring this issue to the Court’s attention. Upon receiving the Declaration,

Columbia’s counsel sought ethics advice about its responsibility to this

Court and counsel’s duty of candor from Michael E. McCabe, Jr., a

member of the Virginia bar. Mr. McCabe’s declaration is attached as

Exhibit B to this motion. McCabe is the former Chair of the Ethics and

Professional Responsibility Committee of the Intellectual Property Law

Section of the American Bar Association, Ex. B ¶ 4, and he has advised



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“hundreds of patent and trademark attorneys” in ethics matters, id. ¶ 2.

He advised Columbia’s counsel that without disclosure of the

Declaration,   “Columbia’s   counsel    could      [not]   respond      to   the

representations made in Quinn’s opening brief in a manner that is fully

consistent with the duty of candor” counsel owes to this Court. Id. ¶ 17;

see American Bar Association Model Rules of Professional Conduct (ABA

Rules), Rule 3.3; Amstar Corp. v. Envirotech Corp., 730 F.2d 1476, 1486

(Fed. Cir. 1984) (ABA Rule 3.3 imposes a duty of candor to the Court).

Mr. McCabe thus advised Columbia’s counsel that it had an obligation to

disclose this new evidence to the Court.

                             CONCLUSION

     Columbia respectfully requests that this Court exercise its inherent

equitable authority to supplement the record with the newly obtained

Dacier Declaration.




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Dated: New York, New York
       June 12, 2024

                               /s/ Garrard R. Beeney
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                               Counsel for Appellee The Trustees of
                               Columbia University in the City of
                               New York




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                    CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal Rule of

Appellate Procedure 27(d)(2)(A) because, excluding the parts of the document

exempted by Federal Rule of Appellate Procedure 32(f) and Federal Circuit

Rule 27(d), it contains 3,982 words.

      This motion complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule

of Appellate Procedure 32(a)(6) because it has been prepared in 14-point font

using a proportionally spaced typeface.



Dated: New York, New York
       June 12, 2024

                                       /s/ Garrard R. Beeney
                                       GARRARD R. BEENEY

                                       Counsel for Appellee The Trustees of
                                       Columbia University in the City of
                                       New York
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                       CERTIFICATE OF SERVICE

      I certify that on June 12, 2024, I caused the foregoing Motion to be

electronically filed with the United States Court of Appeals for the Federal

Circuit through the Court’s CM/ECF system. All parties are represented by

registered CM/ECF users and will be served by the CM/ECF system. The

confidential version of the foregoing was also served on counsel for all parties

by electronic mail.

Dated: New York, New York
       June 12, 2024

                                    /s/ Garrard R. Beeney
                                    GARRARD R. BEENEY

                                    Counsel for Appellee The Trustees of
                                    Columbia University in the City of
                                    New York
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   DECLARATION OF GARRARD R. BEENEY IN SUPPORT OF
 APPELLEE’S MOTION FOR LEAVE TO FILE A SUPPLEMENTAL
                     APPENDIX

     I hereby declare as follows:

        1. I am a member in good standing of the bar of this Court.

        2. I am principal counsel for Appellee The Trustees of Columbia
           University in the City of New York, in the above-referenced
           appeal. I submit this declaration in support of Columbia’s motion
           for leave to file a supplemental appendix.

        3. Counsel for Appellant Gen Digital Inc. and counsel for Appellant
           Quinn Emanuel Urquhart & Sullivan LLP, have represented that
           their clients oppose this request.

        4. All of the facts set forth in the foregoing motion are, to the best of
           my knowledge, true and correct, and are based either on my
           personal knowledge or on conversations I have had with other
           attorneys working on this appeal.

      I declare under penalty of perjury under 28 U.S.C. § 1746 that the
foregoing is true and correct.

Dated: New York, New York
       June 12, 2024

                                    /s/ Garrard R. Beeney
                                    GARRARD R. BEENEY

                                    Counsel for Appellee The Trustees of
                                    Columbia University in the City of
                                    New York
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                 Exhibit A
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                 Exhibit B
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                           UNITED STATES COURT OF APPEALS
                              FOR THE FEDERAL CIRCUIT


THE   TRUSTEES   OF   COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,

                       Plaintiff-Appellee,

        v.

GEN DIGITAL, INC., fka Symantic
Corporation, fka NortonLifeLock, Inc.,

                       Defendant-Appellant,

QUINN EMANUEL                URQUHART           &
SULLIVAN, LLP,

                   Sanctioned Party-Appellant.




                      DECLARATION OF MICHAEL E. MCCABE, JR.

       I, Michael E. McCabe, Jr., do hereby declare as follows:

       1.      I have practiced as an attorney for 31 years. I am the managing partner of McCabe

& Ali LLP (“McCabe Ali”).          Since 2011, my professional interests have focused on the

representation of intellectual property professionals, including attorneys, agents, law firms, in-

house counsel, and government attorneys in connection with compliance with their ethical, legal

and professional duties. Prior to that, I spent two decades as an IP litigator and prosecutor in patent

and trademark matters. I am a member of the bars of the Maryland, Virginia and the District of

Columbia and all federal courts within those geographic areas, including this Court, the Fourth

Circuit Court of Appeals, and the U.S. District Court for the Eastern District of Virginia. I am a

registered patent attorney (Reg. No. 37,182).




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       2.      I have represented hundreds of patent and trademark attorneys in confidential ethics

investigations as well as in matters where they seek my guidance on ethical and malpractice related

matters. I frequently advise patent and trademark lawyers regarding issues involving their ethical

and legal duty of candor before the courts and administrative agencies before which they appear.

       3.      I am a current faculty member of the Virginia State Bar’s Harry L. Carrico

Professionalism Course (appointed three separate times to 3-year terms), where I co-lead sessions

on ethics specifically in the practice of intellectual property law. I have previously taught design

patent law as an adjunct professor at The George Mason (now Antonin Scalia) School of Law, and

I have guest lectured on patent law at the Johns Hopkins University Carey School of Business.

       4.      From 2016-2022, I served as chair or vice chair of the Ethics and Professional

Responsibility Committee of the Intellectual Property Law Section (IPLS) of the American Bar

Association (ABA). I am the current chair the ABA IPLS Professional Issues Division, which

includes the Ethics Committee. I frequently speak on ethics and related issues at the ABA, AIPLA,

and many other professional conferences and bar organizations on legal compliance as it relates to

the practice of IP law. I have testified at trial and by deposition as an expert on legal ethics, the

standard of care, and compliance or non-compliance with lawyers’ professional obligations in the

course of IP representation. A copy of my CV is attached as Exhibit A.

       5.      I have been asked by counsel for The Trustees of Columbia University in the City

of New York (“Columbia”) for my opinion about whether any ethical or other professional conduct

rules require Columbia to disclose the May 9, 2024 Declaration of Dr. Marc Dacier (2024 Dacier

Declaration) to this Court or to another authority.

       6.      The 2024 Dacier Declaration indicates that certain representations made in

Sanctioned Party-Appellant Quinn Emanuel Urquhart & Sullivan LLP’s (“Quinn”) opening brief

in this appeal (ECF No. 30, “Opening Brief”) and in the documents identified in the below


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paragraph are not true. In particular, Dr. Dacier indicates that representations that Quinn made in

those documents concerning Dr. Dacier’s desire to testify at trial “are false,” that Quinn

“demanded” that Dr. Dacier sign a declaration on June 18, 2020 stating that he was represented by

Quinn, and that Dr. Dacier was not consulted concerning the assertion of his attorney-client

privilege in response to a March 15, 2022 order from the trial court and, had he been consulted,

would not have asserted his privilege.

       7.      In addition to Quinn’s Opening Brief, in connection with my assignment I have

reviewed the following documents from the trial court record: (1) Norton’s Motions in Limine

(ECF Nos. 494, 769 and 852); (2) Norton’s Motion for Reconsideration (ECF No. 933);

(3) Norton’s Objections to Columbia’s Proposed Jury Instructions (ECF No. 1048-1); (4) Quinn

Emanuel Urquhart & Sullivan LLP’s (“Quinn”) April 8, 2022 Response to the Court’s Order (ECF

No. 1089-1); (5) the April 8, 2022 Declaration of David A. Nelson (ECF No. 1089-2); (6) Quinn’s

Opposition to Columbia’s Motion for an Order to Show Cause (ECF No. 1240-1); and (7) the trial

court’s September 30, 2023 Memorandum Opinion and Order finding Quinn in civil contempt

(ECF Nos. 1331 and 1332).

                                       Choice of Rules Analysis

       8.      Counsel who engage in litigation owe ethical and legal duties of to the tribunals

before which they practice as well as to opposing parties and counsel. Some of those duties are

set forth in lawyer codes of ethics.

       9.      The Federal Circuit has not by local rule adopted a specific code of ethics. For

ethics issues arising from the district court proceeding that are not “unique to patent law,” the

Federal Circuit applies the law of the regional circuit. Atasi Corp. v. Seagate Tech., 847 F.2d 826,

829 (Fed. Cir. 1988). The regional circuit here, the Fourth Circuit, applies the rules of professional

conduct of the state in which the district court is located—here, the Virginia Rules of Professional


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Conduct (“Virginia Rules”). See Shaffer v. Farm Fresh, Inc., 966 F.2d 142, 154 (4th Cir. 1992)

(applying professional conduct rules of Virginia as forum state); see also E.D. Va. L.R. Civ. 83.5(J)

(adopting Virginia Rules).

       10.     In addressing issues of candor that arise in the Federal Circuit, the Federal Circuit

typically applies the American Bar Association Model Rules of Professional Conduct (“ABA

Model Rules”). See, e.g., Amoco Oil Co. v. United States, 234 F.3d 1374, 1378 (Fed. Cir. 2000)

(“By failing to cite controlling adverse authority [in its opening brief], the conduct of appellant’s

counsel was inappropriate and potentially a violation of counsel’s duty of candor toward the

court.”) (citing ABA Model Rule 3.3(a)(3)); Chem Eng’g Corp. v. Essef Indus., 795 F.2d 1565,

1575 n.11 (Fed. Cir. 1986) (“The notion that [appellant] was free to refuse to admit the truth

because the truth might have defeated its lawsuit is contrary to the duty of candor owed to the

court” (citing ABA Model Rule 3.3); In re Oximetrix, Inc., 748 F.2d 637, 643 (Fed. Cir. 1984)

(party’s “lack of candor” in failing to cite negative cases “is regrettable” (citing ABA Model Rule

3.3)); Amstar Corp. v. Envirotech Corp., 730 F.2d 1476, 1486 (Fed. Cir. 1984) (“Distortion of the

record, by deletion of critical language in quoting from the record, reflects a lack of the candor

required by the MODEL RULES OF PROFESSIONAL CONDUCT, Rule 3.3 (1983).”).

       11.     In the context of the present matter, there is no conflict between the relevant ethics

rules applied by the regional circuit and the trial court (both of which apply the Virginia Rules),

which largely are consistent with the ABA Model Rules. As discussed below, the relevant ethical

duties of candor imposed by Virginia Rule 3.3 are substantively the same as the duties imposed by

ABA Model Rule 3.3.

                                         Duty of Candor

       12.     Rule 3.3 of the Virginia Rules, entitled “Candor Toward the Tribunal,” prohibits,

in relevant part, a lawyer from, inter alia, knowingly “mak[ing] a false statement of fact . . . to a


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tribunal” or from “offer[ing] evidence that the lawyer knows to be false” (and, once a lawyer

“comes to know of its falsity, the lawyer shall take reasonable remedial measures”). Va. R. Prof.

Cond. 3.3(a)(1) and 3.3(a)(4). Rule 3.3 of the ABA Model Rules of Professional Conduct, also

entitled “Candor Toward the Tribunal,” similarly prohibits a lawyer from knowingly making a

“false statement of fact . . . to a tribunal” or from “offer[ing] evidence that the lawyer knows to be

false” (and if the lawyer has offered evidence and “comes to know of its falsity, the lawyer shall

take reasonable remedial measures, including, if necessary, disclosure to the tribunal”). See ABA

M.R. 3.3(a)(1) and 3.3(a)(3).

       13.     Codes of professional conduct are not the only basis for the lawyer’s duty of candor

to a tribunal. Courts have broad “inherent power to impose sanctions for” bad faith conduct and

“the inherent power of a court can be invoked even if procedural rules exist which sanction the

same conduct.” Chambers v. NASCO, Inc., 501 U.S. 32, 46, 49-50 (1991). For example, in United

States v. Shaffer Equip. Co., the Fourth Circuit affirmed sanctions for attorneys’ misconduct based

upon both the broad general duty of candor to the court as well as the duties imposed by Rule of

Professional Conduct 3.3. 11 F.3d 450, 456 (4th Cir. 1993). The Fourth Circuit described the

“duty of candor more broadly as that duty attendant to the attorney’s role as an officer of the court

with a ‘continuing duty to inform the court of any development which may conceivably affect the

outcome of litigation’” and stated that lawyers “have the first line task of assuring the integrity of

the process” and thus have “a duty to guard against the corruption that justice will be dispensed on

an act of deceit.” Id. at 457-58; see also Tiverton Board of License Comm’rs v. Pastore, 469 U.S.

238, 240 (1985) (rebuking counsel for failure to follow duty of candor broader than Rule 3.3 and

reiterating continuing duty to inform the court of developments which may affect outcome).

       14.     Thus, based upon the general duty of candor to the tribunal and related ethical rules,

attorneys, as officers of the court, have a “continuing duty,” to inform the court of “developments”


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that “may conceivably affect the outcome,” including a “duty to guard against” acts of “deceit”

that may have occurred before the court.

                                Duty to Disclose Ethical Violations

       15.       The Virginia Rules and the ABA Model Rules both require counsel in certain

situations to report another practitioner’s ethical violations to appropriate authorities. Pursuant to

the Virginia Rules, a lawyer having “reliable information that another lawyer has committed a

violation of the Rules of Professional Conduct that raises a substantial question as to that lawyer’s

honesty, trustworthiness or fitness to practice law shall inform the appropriate professional

authority.” Va. R. Prof. Cond. 8.3(a). The ABA Model Rule is identical to the Virginia Rule,

except that its reporting obligation is triggered when the reporting lawyer “knows” that another

lawyer has committed a violation of the professional conduct rules. ABA M.R. 8.3(a). Under the

ABA Model Rules, “knows” “denotes actual knowledge of the fact in question,” but “[a] person’s

knowledge may be inferred from the circumstances.” ABA M.R. 1.0(f). Virginia intentionally

chose the lower “reliable information” standard because that phrase “indicate[s] more clearly than

the ABA Model Rule’s ‘knowledge’ the sort of information which should support a report of

attorney misconduct.” Va. R. Prof. Cond. 8.3(a) (committee commentary).

       16.       Where a lawyer has a duty to report an ethical violation under the Virginia Rules

or the ABA Rules, the lawyer must make the report to “the bar disciplinary agency unless some

other agency, such as a peer review agency, is more appropriate in the circumstances.” Va. R.

Prof. Cond. 8.3, cmt. 3; ABA Rule 8.3, cmt. 3. However, under the Virginia Rules, a lawyer may

“choose to postpone reporting attorney misconduct until the end of litigation.” Va. R. Prof. Cond.

1.6, cmt. 14.




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                                              Opinion

         17.   In my opinion, the duty of candor-which includes a ''duty to inform the court of

any development which may conceivably affect the outcome of litigation" and a "duty to guard

against" acts of ''deceit" before the court-requires Columbia's counsel to disclose the 2024

Oacier Declaration to this Court. Without disclosure, I do not believe that Columbia·s counsel

could respond to the representations made in Quinn·s opening brief in a manner that is fully

consistent with the duty of candor.

         18.   IL also is my opinion that Columbia's counsel can comply with its duty to report

misconduct, under the Virginia Rules. to the disciplinary authority after the conclusion of this

Iitigation.

         19.   I have not been asked to, nor have I, formed any opinion on the merits of any of the

allegations of misconduct.

        I declare under penalty of perjury that the foregoing is true and correct.



Dated June 4, 2024




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          ATTACHMENT A
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                                 Website: www.mccabeali.com

LEGAL EXPERIENCE:

Experienced counselor, advocate and expert witness in the field of Intellectual Property Law,
focused on the representation of patent and trademark attorneys, registered patent agents, IP and
General Practice law firms, corporate counsel, and federal government employees involving
legal ethics matters and disciplinary proceedings before the U.S. Patent and Trademark Office
and in state and federal court proceedings. Represented hundreds of patent and trademark
practitioners in confidential ethics investigations or disciplinary proceedings brought by the
USPTO Office of Enrollment and Discipline. Decades of Intellectual Property and commercial
litigation experience for multi-national corporate clients in patent and trademark related cases
before federal courts in many jurisdictions. Nationally-recognized speaker on legal ethics and
regulatory compliance, particularly relating to Intellectual Property law. Credited as a leading
attorney in matters involving application of rules of ethics in the practice of patent and trademark
law.

INTELLECTUAL PROPERTY ETHICS & USPTO BAR DISCIPLINE DEFENSE:

McCabe Ali LLP, Intellectual Property (IP) Ethics Law, Potomac, MD            2020 to Present
McCabe Law LLC, Intellectual Property (IP) Ethics Law, Potomac, MD                2017-2020

•   Managing Partner and Co-Founder of practice as registered Patent Attorney to better serve
    IP clients with proactive risk management counsel by ensuring that business and legal
    affairs are compliant with applicable federal and state Rules of Professional Conduct
•   Utilize knowledge as prior Officer and Director of multinational IP Law Firm to assist
    clients, including in-house corporate counsel and law firms, in formulating best practices
    within their organizations regarding risk management, avoidance of conflicts of interest,
    proper identification of clients, and management oversight responsibilities
•   Expert in representing clients involved in USPTO Ethics Investigations and commended for
    detailed knowledge in unique and complex niche of ethics within IP law, including
    prosecution and litigation matters
•   Consultant for internal law firm and corporate investigations pertaining to risk management,
    ethics compliance, and professional liability
•   Provide expert witness consulting and testifying services on USPTO ethics rules and
    practices and procedures before the Office of Enrollment and Discipline (OED)
•   Defend lawyers and patent agents charged with ethics violations in disciplinary enforcement
    actions brought by the USPTO, state and federal courts, including matters involving
    allegations of breach of fiduciary duty, lack of competency, unauthorized practice of law,
    conflicts of interest, duties to clients and courts, inequitable conduct and violation of the

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    duty of candor, Rule 11 violations, sanctions, disqualification motions, litigation
    misconduct, patent and trademark prosecution misconduct, lawyer mobility issues, personal
    misconduct and criminal convictions
•   Recognized as dynamic speaker, authoritative commentator, and published author on ethical
    and legal issues in practice of intellectual property law

Funk & Bolton, PA, General Practice Law Firm                                         2011-2017
Partner & Attorney Ethics Practice Group Founder
• Created and initiated practice group in general practice law firm focused on representation
    of patent and trademark lawyers in ethics counseling, government investigations, and formal
    disciplinary proceedings against IP practitioners
• Hired by U.S. Department of Justice as Special Ethics Counsel to represent a federal
    government patent attorney accused by the USPTO of unethical conduct
• Publicly commended by prominent legal commentators for launching first-ever niche-
    focused law blog concentrating on intellectual property and legal ethics, which addresses
    new developments, interpretations, resources, and best practices in informative and user-
    friendly format
• Published chapter by American Bar Association in multiple editions of reference book
    regarding confidentiality and the attorney-client privilege in the practice of IP law
• Represented institutional clients in patent and other commercial claims before federal courts
    and administrative agencies

Oblon, Spivak, LLP, Intellectual Property Law, Alexandria, VA                      1999-2011
Partner, Director & Risk Management Chair
• Represented domestic and foreign clients in patent litigation involving diverse areas of
    technology, drafted opinions relating to patent validity and infringement, and prepared and
    prosecuted patent applications before the USPTO
• Promoted by senior management to Risk Management Committee Chair to manage firm’s
    functions in legal ethics, professional responsibility, risk management, and malpractice
    avoidance to ensure PTO, federal and state ethics compliance
• Served as Arbitrator in binding proceeding to resolve ownership dispute of IP rights
    between competing clients through review of legal briefs, documentary evidence and
    witness testimony to reach appropriate decision
• Elected to Shareholder and Board of Directors due to trusting reputation for liaison and
    discretion with strong analytical and communication skills to serve interests of attorneys and
    firm
• Recognized as Intellectual Property expert through IP published works and speaking
    engagements in legal and academia communities (see below list)

McDermott, Will & Emery, Partner, IP Litigation, Washington, DC                  1995-1999
   (Merged with Lowe, Price, LeBlanc & Becker)
Shapiro & Olander, Associate, General Practice, Baltimore, MD                    1992-1995
• Represented corporate and individual clients in litigating patent, trademark, and copyright
   disputes before federal district courts and the International Trade Commission



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•   Initiated IP Department (at Shapiro) to represent inventors and companies in patent and
    trademark clearances, opinions, applications, IP licensing rights, and employer contract
    protocols for ownership of intellectual property

ENGINEERING WORK EXPERIENCE:

NASA / Goddard Space Flight Center, Greenbelt, MD                                1985-1989
Advanced Development and Flight Experiments Section
Mechanical Engineer
• Conducted ground-based and microgravity testing aboard the Space Shuttle of new types of
   two-phase capillary pump loop heat transfer systems for integration in the International
   Space Station, analyzed performance data, worked with other NASA centers, and delivered
   recommendations to senior NASA management
• Served as Goddard representative in collaboration with U.S. Air Force to jointly test and
   develop high-power spacecraft thermal management systems, and authored and presented
   technical paper on project results at international engineering conference

HONORS/AWARDS:

•   Seven-time Chair or Vice-Chair, ABA-IP Law Section Ethics and Professional Resp.
    Committee (Chair, 2018-21; Vice Chair, 2016-18 & 2021-23)
•   Chair, ABA-IP Law Section Professional Issues Division (Aug. 2023-Present)
•   Vice Chair, ABA-IP Law Section Professional Issues Division (2021-23)
•   Chair, Ethics Subcommittee of the American Intellectual Property Law Association
    Patent Agents Committee (2021-2023)
•   Appointed by ABA President to Lawyer Assistance Programs Advisory Commission
    (2023-Present)
•   Liaison, ABA Pro Bono Committee, ABA-IP Law Section (2019-Present)
•   Liaison, SOC Committee on Ethics and Professionalism, ABA-IP Law Section (2018-19)
•   Member, ABA Working Group on Resolution 10A (2019)
•   Named as one of World’s Leading IP Strategists by Intellectual Asset Management (2018)
•   Rated “AV Preeminent Peer Review” (2018-Present)
•   Maryland Super Lawyers for Professional Liability: Defense (2018-Present)
•   Washington DC Best Lawyer’s List for patent and intellectual property law and litigation
    (2014-Present)
•   Named Baltimore “Patent Lawyer of the Year” by Best Lawyers (2015)
•   Awarded “Best Legal Blog of 2016” for niche and specialty area

EDUCATION / LICENSING:

University of Baltimore School of Law, Baltimore, MD, Juris Doctor, 1992
Magna cum laude
• Law Review and National Moot Court Competition (Team Captain)
• American Jurisprudence book award for highest grade in Civil Procedure, Torts, Criminal
   Law and Constitutional Law

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University of Maryland, College Park, MD.
Bachelor of Science in Mechanical Engineering – 1985

Professional Licenses:
• Maryland (1992), District of Columbia (1993) and Virginia (2009)
• U.S. District Courts – Maryland, District of Columbia, E.D. Virginia and W.D. Virginia
• U.S. Court of Appeals – First, Fourth, D.C. and Federal Circuits
• Supreme Court of the United States
• USPTO Registered Patent Attorney (No. 37,182)

TEACHING / LECTURING EXPERIENCE:

Johns Hopkins University, Baltimore, MD                                            2014-2020
• Guest Lecturer – Introduction to Patent Law

Antonin Scalia Law School - George Mason University, Arlington, VA                 2008-2011
• Guest Lecturer – Advanced Patent Law
• Adjunct Professor – Design Patent Law

Virginia State Bar Professionalism Course, Arlington, VA                           2011-2014;
• Faculty – Annual all-day ethics course for new Virginia Bar members.             2019-Present
   General ethics issues and co-lead specialty lectures on ethics and professional responsibility
   in the practice of intellectual property law

SPEECHES / PRESENTATIONS:

•   Sanctions and Discipline at the USPTO: Best Practices for Staying Out of Trouble, presented
    at 2024 IP Owners Annual Spring Summit, Intellectual Property Owners Association,
    Washington, D.C. (Mar. 7, 2024) (speaker)

•   The Ethics of Errors & Top 10 Tips, webinar presented to Cohen & Gresser LLP (Nov. 16,
    2023) (speaker)


•   Patent Prosecution Malpractice: Minimizing the Risk of Claims, webinar presented by
    Strafford (Oct. 23, 2023) (speaker)

•   The USPTO’s War Against Unauthorized Practice of Patent and Trademark Law by Foreign
    Associates: Best Practices for Protecting Yourself and Your Clients from Sanctions and
    Discipline, presented at ABA International Law Section Fall Conference 2023, Yonsei
    University, Seoul, South Korea (Oct. 11, 2023) (moderator)


•   Virginia State Bar Harry L. Carrico Professionalism Course, faculty and co-leader of IP
    breakout section for new VSB members, Alexandria, VA (Oct. 4, 2023)

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•   Risk, Regulation & Resilience: Sound Strategies for Your IP Practice, webinar hosted by
    Continental Casualty Company Inc. and Herbert L. Jamison and Company, LLC (June
    22, 2023) (speaker)

•   Recent Ethics Enforcement Trends in Patent and Trademark Matters Before the USPTO,
    presented at Boston Intellectual Property Law Association Third Annual Symposium,
    Boston, MA (May 4, 2023) (speaker)

•   Signing Away Your License: USPTO’s Vigorous Enforcement of “Personal” Signature Rules
    and Pre-Filing Duties Under 37 C.F.R. 11.18, webinar presented to Ledig, Voit & Mayer,
    Ltd. (Apr. 13, 2023) (speaker)

•   Managing IP Malpractice Risks, presented at 2023 ABA-IP Law Section Annual Meeting,
    Washington, D.C. (Apr. 12, 2023) (moderator)

•   Mentoring 101: A Guide for IP Practitioners in Any Stage of Your Career, presented at 2023
    ABA-IP Law Section Annual Meeting, Washington, D.C. (Apr. 11, 2023) (moderator)

•   Virginia State Bar Harry L. Carrico Professionalism Course, faculty and co-leader of IP
    breakout section (with Judge Michael Nachmanoff, E.D. Va.) for new VSB members,
    Alexandria, VA (March 14, 2023)

•   Practicing Law Across Borders: Managing Legal & Ethical Risks of Multijurisdictional
    Practice, webinar presented for the ABA-IPLS Ethics and Professional Responsibility and
    Law Practice Management Committees and ABA-International Law Section Life
    Science and Health Committee (Mar. 13, 2023) (speaker)

•   OED’s War Against Rule 11.18 Violations and the Unauthorized Practice of Law:
    Navigating Ethics Minefields and Avoiding USPTO Discipline, presented at IP Summit 2023
    - Utah State Bar IP Section, Salt Lake City, UT (Feb. 24, 2023) (speaker)

•   No Treats for You: Ethics and Malpractice Issues for IP Practitioners and Transactional
    Attorneys, webinar presented for the Licensing Executive Society (Nov. 2, 2022) (speaker)

•   Creating and Running an Ethical IP Law Firm: A Survival Guide for Patent and Trademark
    Practitioners: Part 1, webinar presented for the American Intellectual Property Law
    Association (Oct. 6, 2022) (speaker)

•   Current Ethics Issues for Patent and Trademark Practitioners Before the USPTO, presented
    at 33rd Annual Virginia Intellectual Property Section Seminar 2022, Richmond, VA
    (Sept. 30, 2022) (speaker)

•   Virginia State Bar Harry L. Carrico Professionalism Course, faculty and leader of IP
    breakout section for 2020-22 new VSB members, Alexandria, VA (Sept. 28, 2022)


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•   Hot IP Ethics Issues for Patent and Trademark Lawyers at the USPTO, presented at 47th
    Annual Intellectual Property Law Institute for The Institute for Continuing Legal
    Education of the State Bar of Michigan, Mackinac Island, MI (July 23, 2022) (speaker)

•   Dabbling in Trademark Law: A Primer on Ethics and Malpractice Risks for the Occasional
    IP Practitioner, webinar presented for the American Bar Association Center for
    Professional Responsibility (July 18, 2022) (speaker)

•   Five Things You Should Know About Running a Successful Patent Practice, webinar
    presented as part of Harrity & Harrity Minority Firm Incubator 2.0 (July 12, 2022)
    (speaker)

•   Current Trends in OED Actions, webinar presented at 2022 Electronic and Computer
    Patent Law Summit for the American Intellectual Property Law Association (June 16,
    2022) (speaker)

•   Ethical Considerations for Life Sciences Patent Lawyers, presented at ACI’s 20th Advanced
    Summit on Life Science Patents, Harvard Club, New York, NY (June 2, 2022) (panelist)

•   Common Ethical Issues in Patent Prosecution: Conflicts and Fee Sharing, webinar presented
    for the American Intellectual Patent Law Association Patent Agents Committee
    (February 17, 2022) (speaker)

•   Ethics in Trade Secret Cases and Before the USPTO, presented at 2021 Annual Meeting of
    the American Intellectual Property Law Association, National Harbor, MD (Oct. 29,
    2021) (moderator)

•   Avoiding Discipline at the USPTO: Recent Developments in Patent and Trademark Ethics,
    webinar presented by Lawline (Oct. 25, 2021) (panelist)

•   Ethics for IP Practitioners Part II: Avoiding Discipline Before the USPTO, webinar
    presented to the 22nd Annual Virginia Intellectual Property Legal Institute (Oct. 22,
    2021) (speaker)

•   Risk, Regulation & Reality – Best Practices for You and Your IP Firm, webinar presented to
    Schwegman Lundberg Woessner, P.A. (Oct. 19, 2021) (speaker)


•   Ethics for U.S. IP Counsel Working with Foreign Associates, webinar presented at 2021
    ABA-Intellectual Property Law Section IP Fall Institute (Sept. 30, 2021) (moderator)


•   Ethics of IP Attorney Marketing and Advertising, webinar presented to Alt Legal Connect
    2021 (Sept. 13, 2021) (speaker)




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•   Conflicts of Interest in Patent Prosecution: Ethical Problems and Their Solutions, webinar
    presented to the Japan Patent Attorney Association – American Intellectual Property
    Law Association Joint Meeting (Aug. 19, 2021) (speaker)

•   Entry Into an International World: The Civil Trade Secrt Case Morphs into a Criminal Trade
    Secret Case, webinar presented to the Georgia Bar IP Section (July 13, 2021) (speaker)

•   Trademark Representation Risks: Best Practices for Reducing Malpractice and Ethics
    Complaints, webinar presented for Strafford CLE (May 6, 2021) (speaker)

•   Current Ethics Issues and Developments for Trademark Attorneys, webinar presented for
    Snell & Wilmer LLP (May 4, 2021) (speaker)

•   Ethics Traps for Patent Agents: Avoiding USPTO Discipline, webinar presented for the
    American Intellectual Property Law Association (Jan. 21, 2021) (speaker)

•   Navigating Common Pitfalls in IP Practice, webinar presented for Oregon State Bar IP
    Section (Nov. 6, 2020) (speaker)

•   Ethics Issues Relating to Working Remotely, webinar presented for the American
    Intellectual Property Law Association (Nov. 5, 2020) (panelist)

•   Patent Prosecution Malpractice: Minimizing the Risk of Claims, webinar presented for
    Strafford CLE (July 14, 2020) (speaker)
•   Reducing Stress and Avoiding Mistakes in the Post-COVID-19 Era, webinar presented for
    the ABA-Intellectual Property Law Section Spring CLE (June 18, 2020) (moderator)

•   The USPTO’s Focus on Declarations, webinar presented for the 2020 ABA-Intellectual
    Property Law Section Annual Meeting (June 1, 2020) (moderator)

•   Ethics for IP Lawyers, presented at State Bar for Arizona Sixth Annual CLE in the
    Garden, Phoenix, AZ (Feb. 25, 2020) (speaker)

•   Harry L. Carrico Virginia State Bar Professionalism Course, presented on General Ethics
    and Intellectual Property Ethics, McLean, VA (Jan. 8, 2020) (speaker)

•   Recent Developments in Patent and Trademark Ethics, presented at 2019 Intellectual
    Property Law and E-Commerce Seminar, Iowa State Bar Association, Des Moines, IA
    (Dec. 17, 2019) (speaker)

•   Avoiding Conflicts of Interest and Other Ethical Dilemmas on the IP Bridge, presented at
    Sixth Annual Meeting of the Center for the Protection of Intellectual Property, Antonin
    Scalia Law School, George Mason University, Arlington, VA (Oct. 4, 2019) (speaker)




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•   Inadvertent Disclosure and Waiver of Privilege: Legal and Ethical Dilemmas for the IP
    Practitioner, presented at the American Bar Association IP Law Section Fall Meeting,
    San Antonio, TX (Oct. 3, 2019) (speaker)

•   2019 IP Ethics and Risk Management Update, Avoiding Common Conflicts of Interest in
    IP Law Practice, webinar sponsored by CNA Intellectual Property / Lawyers
    Professional Liability Webinar Series (June 26, 2019 and Sept. 27, 2019) (speaker)

•   Navigating Conflicts and Other Ethical Dilemmas in IP Law Practice, in-house CLE
    presented to McDonnell Boehnen Hulbert & Berghoff LLP, Chicago, IL (June 21, 2019)
    (speaker)

•   Ethics Issues for IP Counsel Working Through Foreign Associates and Intermediaries, in-
    house CLE presented to Loeb & Loeb LLP, Chicago, IL (June 20, 2019) (speaker)

•   Navigating Conflicts of Interest in Patent and Trademark Law, webinar presented to the
    Virginia State Bar Intellectual Property Law Section (May 9, 2019) (speaker)

•   Trademark Representation Risks: Best Practices for Reducing Malpractice and Ethics
    Complaints, webinar sponsored by Strafford CLE (May 8, 2019) (speaker)

•   Intellectual Property Malpractice – The Parade of Horribles, presented via phone to the
    Tennessee Intellectual Property Law Association 2019 Spring Symposium, Nashville,
    TN (May 3, 2019) (speaker)

•   Ethics for the IP Practitioner, presented at the Washington State Bar Association 24th
    Annual Intellectual Property Institute, Seattle, WA (Apr. 17, 2019) (speaker)

•   The Rocks and Hard Places for IP Practitioners, presented at 2019 ABA-IP Law Annual
    Meeting and 34th Annual Intellectual Property Law Conference, Arlington, VA (Apr. 12,
    2019) (moderator)

•   Disqualification: Lessons from Recent Cases, webinar sponsored by IPO Chat Channel
    (Apr. 10, 2019) (speaker)

•   Introduction to Patent Law, guest lecture at Johns Hopkins University – Carey Business
    School, Baltimore, MD (Apr. 3, 2019) (speaker)

•   2019 IP Ethics and Risk Management Update, Avoiding Common Conflicts of Interest in
    IP Law Practice, webinar sponsored by CNA Intellectual Property / Lawyers
    Professional Liability Webinar Series (Mar. 27, 2019) (speaker)

•   Patent Prosecution Malpractice: Minimizing the Risk of Claims, webinar sponsored by
    Strafford CLE Webinars (Feb. 21, 2019) (speaker)



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•   Attorney Wellness and Competency, moderator of panel discussion, presented to the Giles S.
    Rich American Inns of Court and the George Washington University School of Law,
    Washington, D.C. (Feb. 19, 2019) (moderator)

•   Getting Physical: The Ethics of Attorney-Client Sexual Relations, presented at 2019 AIPLA
    Mid-Winter Institute, Tampa, FL (Feb. 2, 2019) (speaker)

•   2018 IP Ethics and Risk Management Update, webinar sponsored by CNA Intellectual
    Property / Lawyers Professional Liability Webinar Series (Dec. 12, 2018) (speaker)

•   The Ethics of Legal Process Outsourcing for the IP Attorney, presented to Cincinnati
    Intellectual Property Law Association, Cincinnati, OH (Dec. 11, 2018) (speaker)

•   No Candy for You: Tricky Ethics Issues for IP Lawyers, presented at UT Law 23rd Annual
    Advanced Patent Law Institute, Austin, TX (Nov. 1, 2018) (speaker)

•   Conflicts of Interest in Intellectual Property Law, presented at Intellectual Property
    Owners Association Annual Meeting, Chicago, IL (Sept. 25, 2018) (speaker)

•   2018 IP Ethics and Risk Management Update, webinar sponsored by CNA Intellectual
    Property / Lawyers Professional Liability Webinar Series (Sept. 6, 2018) (speaker)

•   The 7 Habits of Highly Ethical IP Lawyers, presented at 13th Annual Door County
    (Wisconsin) Intellectual Property Academy, Sturgeon Bay, WI (July 19, 2018) (speaker)

•   Exploring Ethical Requirements When Working Through the Patent and Trademark Practice,
    presented at ACI’s 4th Annual Post Grant PTO Proceedings, Washington, D.C. (July 18,
    2018) (speaker)

•   Evaluating Ethical Concerns for the Biosimilars Industry, presented at ACI’s 9th Annual
    Summit on Biosimilars, New York, NY (June 26, 2018) (speaker)

•   Ethical Issues for IP Lawyers, in-house ethics seminar presented for Hauptman Ham, LLP,
    Alexandria, VA (May 30, 2018) (speaker)

•   2018 IP Ethics and Risk Management Update, webinar sponsored by CNA Intellectual
    Property / Lawyers Professional Liability Webinar Series (May 21, 2018) (speaker)

•   Social Media Policies for Law Firms, presented at the ABA Section of Taxation 2018
    Annual Meeting, Washington, D.C. (May 12, 2018) (speaker)




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•   Multijurisdictional Practice and the Modern IP Attorney, presented at the ABA-IP Law
    Section 33rd Annual Intellectual Property Law Conference, Arlington, VA (Apr. 19,
    2018) (speaker)

•   Ethical Considerations for Teleworking and Multijurisdictional Practice for the IP Lawyer,
    presented at Oregon Patent Law Association (OPLA) – Salishan Patent Law Conference,
    Gleneden Beach, OR (Apr. 14, 2018) (speaker)

•   2018 IP Ethics and Risk Management Update, webinar sponsored by CNA Intellectual
    Property / Lawyers Professional Liability Webinar Series (Mar. 26, 2018) (speaker)

•   Ethics Before the PTAB, presented at 2018 PTAB Bar Association Annual Conference,
    Washington, DC (Mar. 23, 2018) (speaker)

•   Risky Business – Ethical Issues & Professional Considerations for Young Lawyers, webinar
    sponsored by ABA-Young Lawyers Action Group (YLAG) and ABA-IP Section Ethics
    and Professional Responsibility Committee (Mar. 9, 2018) (speaker)

•   Brave New World: Technology Advances Create Ethical Risks for IP Attorneys, presented at
    13th Annual Advanced Patent Law Institute – The University of Texas School of Law,
    Alexandria, VA (Mar. 1, 2018) (speaker)

•   IP and Technology: Ethical Risks, presented at 2018 Utah IP Summit – Intellectual
    Property Section of the Utah State Bar, Salt Lake City, UT (Feb. 23, 2018) (speaker)

•   Conflicts of Interest in IP Law: Ethical Problems & Their Solutions, in-house ethics seminar
    presented for Pillsbury Winthrop Shaw Pittman, McLean VA (Feb. 6, 2018) (speaker)
•   What Every IP Lawyer Should Know About Conflicts of Interest, in-house ethics seminar
    presented for Birch Stewart Kolasch Birch, Fairfax, VA (Jan. 31, 2018) (speaker)

•   Ethics Issues in PTAB Proceedings, a 90-minute ethics webinar sponsored by the American
    Intellectual Property Law Association (Dec. 13, 2017) (speaker)

•   Keeping the Lights on and the OED off Your Back: Ethical Conduct in the Practice of IP
    Law, a two-hour ethics presented at 2017 Iowa State Bar Association eCommerce &
    Intellectual Property Seminar, Des Moines, IA (Dec. 1, 2017) (speaker)

•   Outsourcing Patent Work: Avoiding Pitfalls, a webinar sponsored by Intellectual Property
    Owners Association (IPO) (Nov. 16, 2017) (speaker)

•   Tales from the OED Crypt: Scary (and True) Stories About Ethics & Discipline at the PTO
    and Ethics Issues in Dealing with Foreign Associates and Foreign Clients, two speeches
    presented at IPRP 2017 Fall Seminar, Washington, D.C. (Nov. 1, 2017) (speaker)



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•   Advanced Intellectual Property Ethics for the IP Practitioner, broadcast live by Lawline,
    New York, NY (Oct. 26, 2017) (speaker)

•   Ethics in the Practice of Patent and Trademark Law, presented at 2017 American Bar
    Association IP Law Section IP West Program, Long Beach, CA (Oct. 12, 2017) (speaker)

•   An Intellectual Property Ethics Roundtable Discussion, presented to Boston Patent Law
    Association Ethics Committee, Boston, MA (Oct. 2, 2017) (speaker)

•   Conflicts of Interest for the IP Practitioner, presented at 27th All Ohio Annual Institute on
    Intellectual Property, Cincinnati, OH (Sept. 13, 2017) and Cleveland, OH (Sept. 14, 2017)
    (speaker)

•   Patent Counsel Ethical Engagement and Disengagement Letters, sponsored by Strafford
    Webinars (July 27, 2017) (speaker)

•   The Ethics of Working Remotely: Preventing Problems Before They Happen, a 90-minute
    webinar sponsored by the American Intellectual Property Law Association (June 21,
    2017) (speaker)

•   When Good Lawyers Go Bad: Common Ethics Mistakes by IP Practitioners, a webinar
    sponsored by the Association of Intellectual Property Firms (June 20, 2017) (speaker)

•   Identifying and Resolving Ethical Conflicts of Interest in Patent Prosecution, a webinar
    sponsored by the American Bar Association Landslide Webinar Series (Apr. 18, 2017)
    (speaker)

•   IP Ethics Panel Discussion, presented at the ABA Section of Intellectual Property Law,
    32nd Annual Intellectual Property Law Conference, Arlington, VA (Apr. 6, 2017)
    (speaker)

•   Advice of Counsel Defense in Patent Litigation: Protecting Attorney-Client Privilege,
    sponsored by Strafford Webinars (Mar. 16, 2017) (speaker)

•   Surviving the Perfect Protostorm: An Anthology of Recent IP Malpractice Decisions,
    presented at Washington State Bar Association 22nd Annual IP Institute, Seattle, WA
    (Mar. 10, 2017) (speaker)

•   Bringing Home the Bacon: It’s All About the Clients, presented at Maryland State Bar
    Association’s Law Office Management Assistance program, Baltimore, MD (Mar. 4, 2017)
    (speaker)

•   Mind Your Manners! Or, Ethics and Inequitable Conduct Before the PTAB, presented at the
    PTAB Bar Association Inaugural Conference, Washington, DC (Mar. 3, 2017) (speaker)


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•   Recent Developments in IP Malpractice Litigation, presented at the 2017 Utah IP Summit
    CLE Symposium, Salt Lake City, UT (Feb. 24, 2017) (speaker)

•   So You Want to Live in Timbuktu? Ethical Considerations for the IP Practitioner Working in
    a Virtual Law Office, presented at the 2017 American Intellectual Property Law
    Association – Mid-Winter Institute, Ft. Lauderdale, FL (Feb. 4, 2017) (speaker)

•   The Dangers of Dabbling: IP Ethics Issues at the USPTO, presented at the 2016 Iowa State
    Bar Annual Intellectual Property Law Seminar, Des Moines, IA (Dec. 2, 2016) (speaker)

•   Ain’t Misbehavin: Avoiding Ethical Problems at the USPTO, live broadcast presented by
    LawLine, New York, NY (Oct. 28, 2016) (speaker)

•   Legal Ethics for the Paraprofessional–What You Don’t Know Can Hurt You, presented at
    The National Association for Legal Professionals 2016 Education Conference and
    National Forum, Nashville, TN (Oct. 7, 2016) (speaker)

•   Why Me? Ethical Issues in IP Law and Avoiding USPTO Discipline, presented at The
    Carolina Patent, Trademark & Copyright Law Association Fall Meeting, Kiawah Island,
    SC (Sept. 23, 2016) (speaker)

•   IP Ethics Panel, presented at the American Conference Institute Paragraph IV Master
    Disputes Symposium, Chicago, IL (Sept. 20, 2016) (speaker)

•   Hack This: Cyber Security Practices and Ethical Duties for IP Law Firms and Risky
    Business: Ethical Challenges Facing IP Law Firm Management, two speeches presented at
    the Association of Legal Administrators 2016 Intellectual Property Conference for
    Legal Professionals, Washington, DC (Sept. 15, 2016) (speaker)

•   Hot Ethics Topics for the Patent Practitioner, ethics webinar sponsored by Iowa State Bar
    Association (September 13, 2016) (speaker)

•   Recent Developments at the USPTO Office of Enrollment and Discipline, presented at the
    Attorneys’ Liability Assurance Society Patent Consultation Group Roundtable,
    Chicago, IL (August 4, 2016) (speaker)

•   Legal Ethics and Professional Responsibility: Avoiding Conflicts of Interest, Maintaining
    Confidentiality, and other Special Concerns for the Biosimilars Space, presented at the ACI
    Biosimilars Summit, New York, NY (June 15, 2016) (speaker)

•   The Ethics of Outsourcing Legal Services and Functions, presented at the Practicing Law
    Institute 10th Annual Patent Law Institute, San Francisco, CA (May 5, 2016) and New
    York, NY (Apr. 14, 2016) (speaker)



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•   Conflicts and Ethical Issues in IP Practice, a two-hour ethics program presented at the
    Arizona Bar IP Section Meeting, Second Annual CLE in the Gardens, Phoenix, AZ
    (Apr. 8, 2016) (speaker)

•   Roger Boisjoly and the Ethical Lessons Learned from the Space Shuttle Challenger
    Disaster, keynote speech presented at the 2016 University of Maryland Order of the
    Engineer induction ceremony, College Park, MD (Mar. 29, 2016) (keynote speaker)

•   Deja Vu All Over Again – Recurring Ethics Issues in IP Law, a two-hour ethics CLE
    presented at the Washington State Bar Association Spring 2016 IP Institute, Seattle, WA
    (Mar. 11, 2016) (speaker)

•   The Duty of Candor to the Tribunal, a panel discussion moderated by Michael E. McCabe,
    Jr. at the George Washington University School of Law for the Giles S. Rich American
    Inns of Court, Washington, DC (Feb. 23, 2016) (moderator)

•   Conflicts of Interest in Patent Prosecution after Maling v. Finnegan, a webinar sponsored by
    the Intellectual Property Owners Association (Feb. 10, 2016) (speaker)

•   Gotcha! Fee-Shifting in IP Litigation Can Trigger OED Ethics Investigation and USPTO
    Discipline, presented at the American Intellectual Property Law Association Mid-Winter
    Institute, La Quinta, CA (Jan. 30, 2016) (speaker)

•   Issues in IP Ethics, presented at a meeting of the Houston Intellectual Property Lawyer’s
    Association, Houston, TX (Nov. 17, 2015) (speaker)

•   IP Ethics and Risk Management, presented at IPRP Fall 2015 Seminar, New York, NY
    (Nov. 9, 2015) (speaker)

•   IP Ethics – Recent Developments, an in-house firm-wide ethics seminar presented to
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF
NEW YORK,

               Plaintiff,
                                                            Civil Action No. 3:13cv808
       v.                                                          UNDER SEAL

NORTONLIFELOCK, INC.,

               Defendant.

                                 MEMORANDUM OPINION

       This matter comes before the Court on two of Defendant NortonLifeLock, Inc.’s

(“Norton”) Motions in Limine: Norton V and Norton VI, part of ECF No. 768, at 20-25.

Norton V seeks to exclude any arguments and comments regarding the absence from trial of Dr.

Marc Dacier. (ECF No. 768.) Norton VI seeks to exclude any out-of-court statements,

described below, made by Dr. Dacier to Dr. Keromytis at a time well beyond his 2014 deposition

and 2014 departure from Norton’s employ.

                                          Introduction
       Norton seeks to exclude statements made by Dr. Marc Dacier in 2017-2019 that he was

sorry about how Norton handled Dr. Keromytis’ and Dr. Stolfo’s (the “professors”) decoy

technology when applying for a provisional patent in 2010, and, ultimately, the ‘643 Patent in

2011. (ECF 803, Ex. 00; see Patent number 8,549,643.) The ‘643 Patent—listing Mr. Shou

and Dr. Dacier as inventors (but listing the professors nowhere)— issued on April 4, 2011. (ECF

803, Ex. 00.) It was entitled “INTEGRATING DECOYS AND DATA LOSS




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        “The hallmark of Federal Rule of Evidence 807 is that the hearsay sought to be admitted

is trustworthy.” United States v. Lucas, 836 F. App’x 142, 145 (4th Cir. 2020). Courts should

focus on the circumstances of the hearsay statement itself over “other evidence offered” at trial

when evaluating trustworthiness. Lucas, 836 F. App’x at 14546 (4th Cir. 2020) (quoting United

States v. Shaw, 69 F.3d 1249, 1253 n.4 (4th Cir. 1995). “[A] court should consider the “‘totality

of the circumstances that surround the making of the statement’ in determining whether the

statement has a ‘ring of reliability’ about it.” Lucas, 836 F. App’x at 146 (quoting United States

v. Clarke, 2 F.3d 81, 84—85 (4th Cir. 1993)) (citing Idaho v. Wright, 497 U.S. 805, 822 (1990)).

“This trustworthiness requirement [] serves as a surrogate for the declarant’ s in-court cross-

examination.” Shaw, 69 F.3d at 1253 (citing Wright, 497 at 820)).

                                          II. Background

       A.      The Previous Challenge to the Admission of Dr. Dacier’s Statements:
               Norton’s Motion for Sanctions Seeking Exclusion of Evidence from
               Dr. Dacier

        This issue has come before the Court before. In June of 2020, Norton sought exclusion

of evidence from Dr. Dacier as a sanction against Columbia for communicating with Dr. Dacier

because Norton deemed him a represented party. (ECF No. 477.) Dr. Keromytis had seen Dr.

Dacier at work-related events, and, sometime between 2017 and 2018, Dr. Dacier had told Dr.

Keromytis that he was “sorry about what Norton had done with the decoy technology” the

professors had developed. Dr. Dacier also said he was against Norton’s decisions with respect to

the decoy technology because Norton was wrong. (ECF 801, Ex. BB.) Dr. Dacier said he had

opposed Norton’s actions at the time. In 2019, after speaking to Dr. Keromytis, Dr. Dacier

agreed to testi& as a fact witness here about this belief.




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record, this Court specified that whether Dr. Dacier was or was not represented by Norton’s

counsel in October of 2019 remained an open question. (ECF No. 663 n.3 (“It remains

undetermined whether Dr. Dacier was or was not represented by Norton’s attorneys in

October 2019.”).)

       C.      Evidence Offered During Sanctions Briefing

       Columbia presented the June 2020 declaration of attorney Leslie A.T. Haley with its

Memorandum in Opposition to Norton’s Motion for Sanctions. (ECF No. 547-3.) Ms. Haley

thoroughly examined the case and offered expert testimony regarding legal ethics and

professional responsibility (for which the Court finds her qualified under Federal Rule of

Evidence 702). Ms. Haley determined that the “only [] reasonable conclusion [was] that Dr.

Dacier was not represented by Norton ‘s counsel” in 2019. (ECF No. 547-3, at 7, 10 (emphasis

added).) Ms. Haley based her opinion not only on her expertise but also on the following (and

other) commonsensical facts:

       (1)     When initially spoken to, Dr. Dacier stated more than once that he did not
               want representation and did not seek it (suggesting—even under Norton’s
               theozy—constructive discharge);
       (2)     Counsel for Norton had not been in contact with Dr. Dacier between 2014
               and 2019;
       (3)     Dr. Dacier had not been employed by Norton since approximately April of
               2014;
       (4)     Before speaking in depth, Dr. Dacier consulted his daughter (a lawyer),
               who told him she did not think Norton’s counsel represented him;
       (5)     Counsel for Norton failed to apprise Dr. Dacier, pursuant to Virginia Code
               of Conduct Rule 1.4 and its duty of loyalty under Rule 1.7, that actions
               were being taken on behalf ofNorton without apprising Dr. Dacier;
      (6)      Dr. Dacier’s 2014 deposition, though facilitated and attended by a Qunin
               Emanuel attorney, included testimony from Dr. Dacier that was adverse to
               Norton’s interests, rendering a conflict about which Norton would have
               had to conduct a conflict analysis;

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        (7)     Dr. Dacier’ s statements between 2017-2019 to Dr. Keromytis also were
                contrary to Norton’s interests, which created another basis for conflict of
                interest as to Quinn Emanuel; and,

        (8)     Virginia State Bar LEO 1589 was “directly on point” when concluding
                that “a company’s attorney cannot create an attorney-client relationship
                simply by telling that former employee that the company’s counsel
                represents him or her.
(ECF 547-3.) Ms. Haley opined that, given these circumstances, counsel for Norton had an

ethical obligation to conduct a Conflict Check in order to continue representing both parties.

(ECF 547-3.) A Bar Opinion also could have been attained.

        During Sanctions briefing, Norton tried to create a record. Norton countered these

conclusions by producing a June 18, 2014 retainer agreement signed by Dr. Dacier “conditioned

on the fact that [he] and [Norton] share a common interest in the matters.” (ECF 562-4.) Norton

also placed on the record a barebones three-paragraph declaration from Dr. Dacier in which he

stated that he had been represented by Quinn Emanuel since June 18, 2014, and that the law firm

continued to represent him, (ECF 562-1.) Norton offered these documents in June 2020, well

after Dr. Dacier said anything to Dr. Keromytis between 20 17-19. These documents also

appeared after Dr. Dacier agreed to testi& (not thinking Norton’s attorneys represented him).

Finally, Norton retained a qualified expert who indicated that counsel for Columbia had violated

Rule 4.1 when contacting Dr. Dacier. (ECF 562-3.) That ethics expert did not challenge or even

speak to Ms. Haley ‘sfinding that a conflict existed.

       I).      Conclusion

       My 2014 conduct aside, the Court identifies a conflict of interest for Quinn Emanuel as

to Dr. Dacier’ s 2019 statement that he was “sorry” about what Norton did as to the 643 Patent

and that he felt or expressed his disagreement at the time. First, this statement clearly runs

contrary to Norton’s defense against the Fraudulent Concealment Count, as well as the Sole


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Inventorship and Joint Inventorship Correction of Inventorship Counts, Dr. Dacier, a named

inventor of the Integrating Decoy and Data Loss Prevention ‘643 Patent, has worked with Dr.

Kerotymis while the patent was developed. Dr. Dacier’ s statements show that he thought Dr.

Keromytis should be considered an inventor.

        Second, the effect of that testimony was to void the retainer agreement that was

“conditioned on the fact that [Dr. Dacier] and [Norton] share a common interest in the matters.”

(ECF 562-4.) Consequently, this statement is obviously material to a jury’s consideration

inventorship, and of fraudulent concealment, which turns on how and why the professors were

not told about the issuance of the ‘643 patent.

       Ms. Haley has opined that the apparent conflict required Quinn Emanuel to conduct a

conflict check or seek a Bar opinion. This record does not demonstrate—or even suggest—that

Quinn Emanuel did so.

       E.      Quinn Emanuel Fails to Establish a Lack of Conflict in “Personally”
               Representing Dr. Dacier Since at Least 2017

       In the Motions in Limine at bar, Norton again presses its position that its counsel, Quinn

Emanuel, has represented Dr. Dacier personally and continuously since one of its lawyers

attended his deposition for this litigation in 2014, shortly after Dr. Dacier left Norton’s employ.

As it did its Sanctions Motion, Norton seeks to exclude information obtained from Dr. Dacier

and to exclude any testimony from him at trial. (ECF No. 663, at 3—S.)

       Tellingly, throughout these motions, Norton has never denied that Dr. Dacier made the

statements against Norton ‘s interest that Dr. Keromytis says he did. Nor does it identi& any

direct statement from Dr. Dacier denying the 2017-20 19 comments. Quinn Emanuel has not

offered a conflict waiver form signed by Dr. Dacier or by Norton. While counsel for Norton

states that Dr. Dacier now does not want to come to testi& from Saudi Arabia, Dr. Dacier has not

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said so directly on this record. (ECF No. 801, Ex. QQ.) Nothing shows that Dr. Dacier knew he

could disengage Quinn Emanuel. Indeed, the record is bereft of any document (absent bald

assertions by Quinn Emanuel) showing that no conflict existed or that Norton confirmed whether

one existed. That Quinn Emanuel has not offered evidence of a non-conflict shows that it has no

such evidence. It is evident that, at least in 2017 through 2020, Quinn Emanuel developed a

conflict in representing both Norton and Dr. Dacier.

        In addition to constituting a conflict, Norton’s assertion in 2020 of representation of Dr.

Dacier is, at best, questionably timed. Only after it learned that Dr. Dacier would testify against

Norton’s position on inventorship of the ‘643 Patent, and only after Dr. Dacier was brought into

this litigation, did Quinn Emanuel resurrect its communication with him. This was after more

than five years of silence. Once Quinn Emanuel entered the conversation, Columbia and the

Court were told by Norton’s counsel that Dr. Dacier reversed his previously unequivocal and oft-

expressed willingness to testify, and communication with Columbia or Dr. Keromytis ceased.

And Columbia had to scurry to respond to a virtually meritless motion for sanctions. This timing

does not inure to the benefit of finding Quinn Emanuel acted fhlly in Dr. Dacier, and not

Norton’s, interest.

        More than any conflict or strategically obstructive conduct, however, the Court is most

disturbed by counsel for Norton misrepresenting to Dr. Dacier in 2021, “that the Court

concluded he is represented by Norton’s Counsel.” (ECF 803-3 1, Ex. QQ.) This is manifestly

untrue. This conclusion could not have been more clearly left open. (ECF No. 663, n.3 (“It

remains undetermined whether Dr. Dacier was or was not represented by Norton’s attorneys in

October 2019.”).) This is direct evidence that Quinn Emanuel has exerted improper control over

Dr. Dacier since at least that time in 2021. Circumstantial evidence since 2020 also bespeaks


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gamesmanship by Quinn Emanuel when improperly barring Columbia from access to this

material witness and obstructing a fill and fair trial by interfering with the availability of a

material witness.

             This Court concludes that a conflict existed when Dr. Dacier contacted Quinn Emanuel in

2020, and that the firm knew or reasonably should have known that to be the case. And the

actual misrepresentation about its representation of Dr. Dacier as late as November compounded

the damage done.

                                                  III. Analysis

                 A.     Norton V: Missing Witness Instruction

             Norton seeks to thwart Columbia’s effort to have the Court issue a missing witness

instruction should Dr. Dacier fail to testi~r, It is established that the unexplained “failure of a

party to call an available material witness gives rise to an inference, sometimes called a

presumption, that the testimony of such absent witness would be adverse to such party.” Scott v.

Watsontown Trucking Co., 920 F. Supp. 2d 644, 653 (E.D. Va. 2013), aff’d 533 F. App’x 259

(4th Cir. 2013) (quotations omitted).

             “The essential elements of the rule.   .   .   are availability and materiality.” Id. (quoting

Neeley, 211 S.E.2d at 107). Of course, as with any testimony, the complaining party must

establish that the testimony is relevant and non-cumulative. Id.

             Columbia asserts convincingly that Dr. Dacier is available to Norton, who, while lacking

subpoena power, likely has “the power to produce” him. Id. Dr. Dacier’s “unavailability” exists

“in a.   .   .   practical sense” and does not turn “solely” on accessibility by subpoena. Id. (citation

omitted). “Rather, availability also will turn on the witness’s relationship to the nonproducing

party.” ld. (citation omitted).


                                                            14



                                                        Appx50
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        Courts recognize, as they should, that “[a]vailable is equated to ‘control’ in some cases,

that is the witness is available if [he or she] is in such a relationship with the party that it is likely

[the witness’s) presence could be procured.” Scott, 920 F. Supp. 2d at 653. Some courts dub

this being “peculiarly within [the] power of one of the parties.” United States v. Bran, 950 F.

Supp. 2d 863, 875 (E.D. Va. 2013) (citations and quotations omitted).

        The interaction of Quinn Emanuel with Dr. Dacier is peculiar. Quinn Emanuel readily

injected itself as personal counsel—after over five years of no contact—when Columbia pursued

him as a fact witness in 2019. Years earlier, in 2014, Norton procured Dr. Dacier as a non-

employee deponent. Under the retainer agreement they placed on the record, Quinn Emanuel

was retained to represent him at Norton’s expense. (ECF No. 562.) In circumstances suggesting

an “an aura of gamesmanship,” Scott, 533 F. App’x at 262, after Quinn Emanuel asserted

representation, Dr. Dacier abruptly stopped saying he would testif5’ at all, much less happily.

         And by filing an ill-founded Motion for Sanctions once Dr. Dacier resurfaced, Quinn

Emanuel effectively barred any discussion between plaintiffs and Dr. Dacier. Quinn Emanuel

had the peculiar power to procure and submit a declaration from Dr. Dacier in support of its

motion for sanctions. And, apparently, Dr. Dacier is available enough to Quinn Emanuel that

they feel able to say on his behalf that he no longer wants to testi&.

       But now, when Dr. Dacier is needed as a witness against it, Norton disavows control

because he has not been employed there since 2014 (even though counsel for Norton attended his

deposition in 2014 when he was not an employee).5 Norton goes so far as to say that his 2014

testimony is not adverse. Even if Dr. Dacier’s testimony in 2014 were ambiguous, absolutely no

        ~ Norton similarly posits that Dr. Dacier’s statements cannot be introduced as a statement
against interest of a party opponent because, as a non-employee, he does not speak for Norton.
But Dr. Dacier’ s complete turnabout on whether he would testi& has the unfortunate appearance
that counsel for Norton seeks to have it both ways while shielding adverse testimony.
                                                   15



                                                Appx51
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doubt exists that his 2017—2019 statements are adverse with respect to the three counts at issue

here. And Norton’s turnabout in describing the relationship rings hollow.

       Certainly Dr. Dacier is not available to Columbia. And because the comments Columbia

seeks to introduce involve events and conversations that had not happened in 2014, the

comments’ admission would not be cumulative to Dr. Dacier’s earlier deposition.

       B.      Materiality

       If Dr. Dacier were to testi& that he was sorry about what Norton did with respect to the

‘643 Patent, the testimony would have a more-than-probable “bearing on the proper

determination of the” fraudulent concealment and inventorship claims. Neeley, 211 S.E.2d at

107. Certainly, Dr. Dacier’s 2017—2019 comments suggesting that Norton improperly omitted

the professors as inventors or co-inventors from the ‘643 Patent would, at the very least, serve to

“elucidate the transaction.” United States v. Bran, 950 F. Supp. 2d at 875 (E.D. Va. 2013)

(citations and quotations omitted).

       Columbia correctly argues that Dr. Dacier, given his involvement with Professor

Keromytis in the development of the decoy with DLP technology, has material information to

offer. His 2017—2019 statements speak directly, and more expansively, than his 2014 deposition

testimony, to fraudulent concealment and inventorship. They are not cumulative to statements in

his 2014 deposition. The statements at issue establish that Dr. Dacier’s testimony would have

been adverse to Norton’s position on fraudulent concealment and inventorship. Indeed, Dr.

Dacier’s post-deposition comments would expand, supplement, and clari& his earlier deposition

testimony.

       Norton’s actions here clearly speak to the rationale “that the adverse inference is justified

in circumstances where it.   .   .   appears that the witness’ testimony would [bej produced but for the


                                                      16



                                                    Appx52
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party’s apprehension about what it would reveal.” Scott, 920 F. Supp.2d at 652 (quoting Poland

v. Potomac Family Practice, 51 Va. Cir. 414, 2000 WL 516308 (internal citations omitted)).

        And, as detailed above, Norton’s failure to investigate its conflict and its falsely advising

Dr. Dacier that the Court had determined that Quinn Emanuel represented him support the giving

of the Missing Witness Instruction with respect to Dr. lAcier, and allowing Columbia’s counsel

from commenting on his absence, The evidence permits only one conclusion: that Quinn

Emanuel rendered Dr. Dacier unavailable. The instruction will be given and the commentary

will be allowed.

        C.      Norton VI: Residual Hearsay Exception

        In addition to the missing witness instruction, Columbia seeks to introduce the content of

the statements Dr. Dacier made to Dr. Keromytis, via Dr. Keromytis, under the residual hearsay

exception. See Fed. R. Evid. 807.6 Norton seeks to preclude introduction of those statements as

untrustworthy hearsay that could not be subject to cross examination. However, this record is

the rare one that supports the invocation of the residual hearsay exception.



        6 As identified above, the residual hearsay exception gives courts the discretion to allow
hearsay not otherwise excepted if:

       (1) the statement is supported by sufficient guarantees of trustworthiness after
                                                                                    —


       considering the totality of circumstances under which it was made and evidence,
       if any, corroborating the statement; and

       (2) it is more probative on the point for which it is offered than any other evidence
       that the proponent can obtain through reasonable efforts.

Fed. R. Evid. 807(a). Rule 807(b) provides that the statement is admissible only if the proponent
gives an adverse party reasonable notice of the intent to offer the statement—including its
substance and the declarant’s name—so that the party has a fair opportunity to meet it. Fed.
R. Evid. 807. Written notice of the statement and the declarant’s name must occur before the
trial or hearing, or in other form during the trial or hearing if the court finds good cause. Fed. R.
Evid. 807.
                                                 17



                                              Appx53
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F.3d at 1253) (citing Wright, 497 at 820)). But exceptional circumstances are before the Court.

Quinn Emanuel asserted personal representation contrary to Dr. Dacier’s belief.

Contemporaneous documentation makes this plain. When first contacting Quinn Emanuel, Dr.

Dacier told the firm that he thought he was not represented by Quinn Emanuel. He

memorialized his understanding to Norton, expressing his desire to testi&, but without inviting

“any trouble.” (ECF 803, Ex. PP.) In 2019, Dr. Dacier explicitly said that he was “not asking

for [Quinn Emanuelj to represent” him, that he was asking to be ‘free to go testift’;” and, that he

had “no problem” going to New York to testi& in the middle ofa pandemic. Dr. Dacier’s

expressed willingness to testi& vanished after Quinn Emanuel’s intercession.

       Even more fundamentally, Norton cannot complain of unfair prejudice from Rule 807

hearsay when it has had years of access to Dr. Dacier in which it could have addressed these and

explored these issues with him. Because Norton’s counsel continues to assert proper

representation now, they have had access to Dr. Dacier under the guise of being his personal

attorney throughout7 Quinn Emanuel has been peculiarly in control of Dr. Dacier since 2019. It

asserted that relationship even though it had not been determined whether Dr. Dacier was or was

not represented by Norton’s counsel, (ECF No. 663 n.3.), while falsely telling Dr. Dacier that

this Court had ruled that Norton’s counsel did represent him.

       While at Norton, Dr. Dacier was intimately involved in the development of the ‘643

Patent, He worked with the professors when constructing it, because (as with the professors) he

was initially a named inventor. He ended up being the only inventor named beyond that of the

Norton employee he supervised. Dr. Dacier holds material and relevant information on the

       ~‘  Quinn Emanuel should not have been representing Dr. Dacier and Norton after 2020—
and perhaps since 2014. As such, no later than March 16, 2022, counsel for Norton must
disclose on the record in writing any information garnered from Dr. Dacier during the period
their representation of Dr. Dacier was a conflict,
                                                19



                                              Appx55
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                      IN THE UNITED ST ATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF
NEW YORK,

               Plaintiff,
                                                              Civil Action No. 3:13cv808
       v.

NORTONLIFELOCK, INC.,

               Defendant.

                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, the Court DENIES

Norton's Motions in Limine V and VI, part of ECF No. 767.

       The Court also ORDERS that, no later than March 16, 2022, counsel for Norton must

disclose on the record in writing any information garnered from Dr. Dacier during the period

their representation of Dr. Dacier was a conflict.

       It is SO ORDERED.




Date:  J- IS -H)ff-                                  M. Hannah a
Richmond, Virginia                                   United State District Judge




                                             Appx57
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                                      63085



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

   THE TRUSTEES OF COLUMBIA
   UNIVERSITY IN THE CITY OF
   NEW YORK,

                         Plaintiff,

          v.                                                     Civil Action No. 3:13cv808
                                                                       UNDERSEAL
   GEN DIGITAL INC.,
   f/k/a SYMANTEC CORPORATION,
   f/k/a NORTONLIFELOCK, INC.,

                         Defendant.

                                      MEMORANDUM OPINION

          This matter comes before the Court on the Trustees of Columbia University in the City of

   New York's ("Columbia") Motion for an Order to Show Cause (the "Motion"). (ECF No. 1230.)

   The Motion requests that the Court order NortonLifelock, Inc. (''Norton") 1 to show cause as to

   why Norton's initial lead counsel and counsel ofrecord, Quinn Emanuel Urquhart & Sullivan

   ("Quinn" or ''Quinn Emanuel"), 2 should not be held in civil contempt for failure to comply with

   the Court's March 15, 2022 Order, (ECF No. 890). (ECF No. 1230, at 1.) The Order required

   Norton's counsel to, "no later than March 16, 2022, .. . disclose on the record in writing any



          1
           The Court previously issued a Notice explaining that it will refer to the Defendant as
   "Norton" on a default basis, and why. (ECF No. 1328.)
          2
             Quinn Emanuel served as Norton's initial lead counsel until shortly before trial when
   Latham & Watkins LLP ("Latham"), Norton's second lead counsel, took over that role. On
   April 8, 2022, just three days before trial, Quinn attorneys moved to withdraw their pro hac vice
   appearances. (ECF No. 1093.) Based on their past egregious conduct, the Court denied that
   motion the same day. (ECF No. 1094.) Quinn attorneys remain counsel ofrecord in this matter.
   (See ECF No. 1101, at 4; Apr. 8 Tr. 4:11-18 ("I am going to clarify that I'm not going to strike
   Quinn from the case.... I'm not going to strike them from the case. . .. [W]e wouldn't be able
   to have a trial, and as I said, we are definitely going to have a trial.").)




                                              Appx58
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            Quinn Emanuel, however, argues that it complied with the Court's March 15, 2022 Order

    through the untimely April 8, 2022 filing, 16 which attached a Declaration from Quinn's lead

    counsel for Norton. (ECF No. l 089-2.) Despite the assertion a few weeks earlier of an

    "inability" to comply with the Court's March 15, 2022 Order based on privilege, this filing

    partially discloses communications between Norton's counsel and Dr. Dacier. But as described

    above, the Declaration summarizes only a few communications between counsel and Dr. Oacier

    from June 2020 to September 2021 and contains no statement that those sparse communications

    constitute "all information garnered from Dr. Dacier" by Norton's counsel from 2017 through

    2020.




            16
              Quinn Emanuel describes at length its reasons for filing the Declaration twenty-two
   days later than the Court ordered deadline. Specifically, Quinn contends that Norton's initial
   refusal to comply with the Court's March 15, 2022 Order should be deemed as ''Norton's [good
   faith] efforts to protect its client's confidences" and therefore cannot support a finding of civil
   contempt. (ECF No. 1240-1, at 14.) Although not relevant to the Court's finding that Quinn
   Emanuel has still not complied with the Order, the Court does not find the reasons persuasive to
   justify the delay.

          Counsel did not request leave to delay compliance to file and receive a ruling on a
   Motion for Reconsideration and a Motion for Stay. Additionally, the Motion for Stay was
   denied on March 22, 2022 (ECF No. 945) and "absent a stay ... appeal is the remedy for
   decisions believed to be erroneous." McLean, 762 F.2d at 1210.

           Additionally, Counsel's claim that the communications with Dr. Dacier cannot be
   produced due to privilege is unfounded. Rule 1.6 of the Virginia Rules of Professional Conduct
   allows attorneys to reveal information protected by the attorney-client privilege "to comply with
   law or a court order." R l .6(b)( 1) (emphasis added). Quinn Emanuel quotes the commentary
   associated with this rule to imply the Court's March 15, 2022 Order was not a "final order."
   (ECF 1240-1, at 11.) However, court-ordered filings are considered final for purposes of the
   Rules of Professional Conduct in the Eastern District of Virginia, and, as this case has shown in
   spades, can be filed under seal, or (more likely the case here) in camera. See United States v.
   Lawson, No. 4:99CR55-06, 2015 WL 13743435, at *2 (E.D. Va. June 23, 2015).

           For these reasons, the Court concludes that good faith does not excuse Norton's conduct
   in refusing to comply with the Court's directive in its March 16, 2022 filing. (ECF No. 892.)


                                                   34




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           In addition, there are "very good reasons," as Columbia noted, to question the scarcity of

   communications reported in Counsel for Norton's Declaration as well as the accuracy of the

   summaries of the few communications provided. (ECF No. 1268, at 4.) For example, the

   Declarant does not mention any conversations with Dr. Dacier before Norton filed its Motion for

   Sanctions against Columbia's counsel, a time when he should have surely been in contact with

   his purported "client."

          These summaries also cannot constitute "any information garnered from Dr. Dacier,"

   especially when they seem to explicitly contradict the email correspondence from Dr. Dacier

   already in the record. 17 Far from showing substantial compliance, these omissions render this

   Declaration plainly inadequate to comply with the Court's March 15, 2022 Order.

          The record again conclusively establishes that Norton's counsel, Quinn, by its conduct,

   violated the terms of the March 15, 2022 Order and had actual (or at least constructive)

   knowledge of such violations.

          D.      Columbia Has Suffered Harm as a Result

          Columbia alleges that it has suffered harm as the result of Quinn Emanuel's

   noncompliance with the Court's March 15, 2022 Order to provide the information garnered from

   communications with Dr. Dacier because it believes the information being withheld "likely will

   further support Columbia's motions under§§ 284 and 285." (ECF No. 1231, at 7; ECF No.

   1229, at 7 (sealed).) Columbia points to a number of Dr. Dacier's statements to explain its

   position, including Dr. Dacier's written statement about a week before the 2022 trial that he was

   "happy to help the judicial process" as he has "continuously said so far" but that Norton's


          17
             In addition to the discrepancies discussed herein, Columbia highlights a number of
   these contradictions, including Dr. Dacier's statements regarding his desire not to be represented,
   his willingness to attend trial and testify, and his belief that his testimony was harmful to Norton.
   (ECF No. 1268, at 4-6.)
                                                    35




                                               Appx92
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION



THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,
                                                 Civil Action No. 3:13-cv-00808-MHL
                       Plaintiff,

       v.

NORTONLIFELOCK INC.,

                       Defendant.


       DECLARATION OF DUSTIN F. GUZIOR IN SUPPORT OF COLUMBIA’S
            OPPOSITION TO NORTON’S MOTION FOR SANCTIONS

               DUSTIN F. GUZIOR hereby declares under penalty of perjury as follows:

               1.      I am an attorney at the law firm Sullivan & Cromwell LLP, counsel to

Plaintiff The Trustees of Columbia University in the City of New York (“Columbia”) in the

above-captioned action. I am a member in good standing of the Bar of the State of New York

and am admitted pro hac vice in the Eastern District of Virginia for purposes of this action. I

submit this declaration in support of Columbia’s opposition to NortonLifeLock Inc.’s (“Norton”)

motion for sanctions (Dkt. 477). I have personal knowledge of the facts set forth in this

declaration, and if called as a witness, could testify competently to such facts under oath.

               2.      I understand that Professor Angelos Keromytis is a former faculty member

of the Department of Computer Science at Columbia. Professor Keromytis is a named inventor

of the two patents asserted in this case.

               3.      Norton’s counsel deposed Professor Keromytis on January 18, 2019.

Professor Keromytis submitted a deposition errata on March 17, 2019. I spoke with Professor
                                            Appx15980
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Keromytis (i) to prepare for his deposition; (ii) to obtain his deposition errata; (iii) and several

times thereafter regarding developments in this case as it moved toward trial.

               4.      During one of our discussions after his deposition, Professor Keromytis

told me that he had had spoken with Dr. Marc Dacier in a professional capacity. Professor

Keromytis said the discussion occurred in 2019 after his deposition. I did not learn about this

discussion until after the fact, and it did not in any respect occur at my suggestion or instruction.

               5.      As relayed to me by Professor Keromytis, in the course of his

conversation with Dr. Dacier, Professor Keromytis commented about his deposition, and

Dr. Dacier replied that he was surprised the case was still ongoing because he had not heard

anything about the case since 2014. As relayed to me by Professor Keromytis, Dr. Dacier said

he still was sorry about what Norton had done with Columbia’s decoy technology, was against

Norton’s decisions with respect to Columbia’s technology, and had not wanted to be involved in

Norton’s actions at that time.      Professor Keromytis told me that Dr. Dacier’s comments

suggested he would be willing to come to trial to support Columbia’s case.

               6.      Although I have come to understand, in preparation of the opposition to

Norton’s sanctions motion, that the information Professor Keromytis shared with me was learned

in two conversations—one in the 2017-2018 time period and one in 2019—Professor Keromytis

did not make that distinction at the time that he relayed the information to me. I note this for the

sake of transparency and completeness.

               7.      During another discussion on October 28, 2019, I told Professor

Keromytis that I would need to confirm with Dr. Dacier that he was not represented by counsel

before asking if he would be willing to come to trial voluntarily.




                                                 -2-

                                            Appx15981
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               8.      On October 28, 2019, Professor Keromytis sent a short e-mail, introducing

me to Dr. Dacier, and we scheduled a call for November 14, 2019. A true and correct copy of

that e-mail is attached as Exhibit 1. Professor Keromytis had no further involvement.

               9.      Based on the information available to me in October 2019, I strongly

believed Dr. Dacier was not personally represented by counsel. Limited representations of

former employees, for the purpose of a deposition, are common in my experience. Dr. Dacier

told Professor Keromytis that he had not heard anything about the case since 2014, and as I

understood the situation from Professor Keromytis, Dr. Dacier wanted to come to trial to support

Columbia’s case, strongly confirming there was no ongoing relationship. I also knew that

Dr. Dacier—at his 2014 deposition—gave testimony undercutting Norton’s defenses, similar to

what he had said to Professor Keromytis. Based on the fact that Professor Keromytis provided

the introduction on October 28, 2019, I also understood Dr. Dacier wanted to talk to us and was

willing to discuss coming to trial voluntarily.

               10.     On November 14, 2019, I had a short call with Dr. Dacier that lasted

approximately 10-15 minutes. Two colleagues from Sullivan & Cromwell joined me on that

call. I explained to Dr. Dacier that I was counsel to Columbia University in this litigation, and

explained that we were contacting him in light of his statements to Professor Keromytis, but that

I first needed to confirm that he was not represented by counsel in the matter because I could not

speak with him if he was represented. Dr. Dacier responded that he was not represented by

counsel, and in his view, he never had been or wanted to be represented by counsel. Dr. Dacier

said there were lawyers paid by Norton (formerly, Symantec) at his 2014 deposition, and he

understood he was required to meet with them, but, in his view, they never personally




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                                            Appx15982
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represented him. Dr. Dacier was clear that he was not represented by counsel at the time of our

call, and on that basis, I continued our short discussion.

               11.     I told Dr. Dacier that, notwithstanding his view that he was not

represented, he strictly should not tell me anything about discussions he had in the past with

Norton’s in-house or external lawyers. Dr. Dacier confirmed that he understood.

               12.     I told Dr. Dacier the only question was whether he would be willing to

voluntarily come to trial in Richmond, Virginia and talk about what he had told Professor

Keromytis. Dr. Dacier responded that he would be willing to come to trial, confirmed what he

had told Professor Keromytis, and said that be believed what he had told Professor Keromytis

was consistent with his deposition testimony. Dr. Dacier said he would be willing to come to

trial and give his testimony, but would need to refresh himself with his deposition transcript. I

told him we would be able to provide the transcript and exhibits.

               13.     Dr. Dacier raised only one concern.      Dr. Dacier asked if, under his

employment agreements, he would get into “trouble” with Norton if he came to trial to provide

testimony and those agreements contained confidentiality provisions or other restrictions. He

asked if I had a copy of his employment agreements, or if I knew what they said, and I said I did

not have the agreements and did not know what they said. Dr. Dacier told us (i) that his daughter

was an attorney at Allen & Overy, who had a U.S. law degree and had passed the New York bar

exam, and he wanted to discuss the matter with her, and (ii) that he wanted to send an e-mail to

Norton to let them know he was planning to come to trial, and to find out if participating in the

trial was precluded by any contractual arrangement. I encouraged Dr. Dacier to do both, and

said we would be happy to speak with his daughter directly or with other counsel if he decided to

be represented. We agreed to speak again after the holidays.



                                                 -4-

                                            Appx15983
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                   14.   Between January 26 and January 29, 2020, Dr. Dacier exchanged a series

of very short e-mails with us to arrange a follow-up call on February 11, 2020. A true and

correct copy of those e-mails is attached as Exhibit 2.

                   15.   On February 11, 2020, I spoke with Dr. Dacier for approximately

5-10 minutes. Three of my colleagues from Sullivan & Cromwell, including Garrard Beeney,

joined the call.

                   16.   During the call, I first asked Dr. Dacier if he had spoken to his daughter,

and whether he decided to be represented by counsel.               Dr. Dacier answered that after

consultation with his daughter his decision continued to be that he was not, and did not want to

be, represented by counsel in this matter, that he wanted to speak with us about coming to trial,

and affirmed that he was voluntarily willing to attend trial. Dr. Dacier also told us that he had

sent two e-mails to Norton to inform them that he was speaking with Columbia’s counsel and

that he intended to come to trial in the matter. Dr. Dacier said he had received no responses from

Norton to either email, and that he would forward those e-mails to us after the call.

                   17.   Dr. Dacier reiterated that he would like to refresh his recollections with his

deposition transcript, and said he did not have his copy. He asked if we would send the

transcript to him, and we agreed to do so. We then discussed that we would be in touch to

coordinate a pre-trial meeting to review the deposition transcript and discuss trial logistics.

                   18.   Between February 11 and February 14, 2020, we exchanged a series of

short e-mails with Dr. Dacier arranging a meeting to review his deposition transcript. A true and

correct copy of those e-mails is included in Exhibit 2.

                   19.   On February 12, 2020, Dr. Dacier forwarded to us a copy of the e-mails he

had sent to Norton informing them that he was speaking with Columbia’s counsel, informing



                                                  -5-

                                             Appx15984
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them that he was planning to come to trial, and noting expressly that he was “not asking” to be

represented by Norton’s counsel. A true and correct copy of that e-mail is attached as Exhibit 3.

This was the first time I saw these e-mails.

                 20.   On March 5, 2020, one of my colleagues sent Dr. Dacier a copy of his

deposition transcript, as agreed during the February 11, 2020 call.

                 21.   On March 12, we sent an e-mail to Dr. Dacier noting that, due to the

pandemic, we would not be able to meet with him in France to review his deposition transcript,

and we discussed a video conference instead. A true and correct copy of that e-mail is attached

as Exhibit 4.

                 22.   On March 20, 2020, Dr. Dacier sent an e-mail to us noting that his

university had been locked down and that the video conference would need to be postponed. We

informed Dr. Dacier that, as of that time, the trial in the case was still scheduled to start on

May 19, 2020, but we would follow up as the situation developed. A true and correct copy of

that e-mail is attached as Exhibit 5.

                 23.   On March 26, 2020, S&C sent an e-mail to Dr. Dacier noting that the trial

date was still set for May 19, 2020 and indicating that S&C would keep Dr. Dacier apprised of

any changes to the trial date. A true and correct copy of that e-mail is included in Exhibit 5.

                 24.   Columbia listed Dr Dacier as a witness Columbia would call at trial on its

witness list, which was served on March 27, 2020. On April 10, 2020, Nathan Hamstra (Quinn

Emanuel) sent an e-mail to Dr. Dacier asking whether he “had any discussions with anyone at

Columbia in this case.” Dr. Dacier responded, copying me and one of my colleagues, stating that

he had “a few phone calls” with Columbia’s counsel on which he “indicated that [he] had no

problem to come repeat [his] testimony” at trial. Dr. Dacier also told Mr. Hamstra that he sent



                                                 -6-

                                               Appx15985
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e-mails to Norton but never heard back. A true and correct copy of that e-mail is attached as

Exhibit 6 (and the unredacted version has been filed under seal).

               25.     Also on April 10, 2020—because of the potential issues Dr. Dacier had

raised previously about his employment agreements—I replied to Dr. Dacier’s e-mail and asked

that he let us know if Norton attempted to influence his testimony or decision to come to trial.

Dr. Dacier stated in response that the e-mail from Mr. Hamstra was “the very first mail I have

received from them since 2014,” and that he copied me on his response “in order to avoid any

such possible interference.” Dr. Dacier stated “I will keep doing this, if you don’t mind, if they

ever come back to me.” A true and correct copy of that e-mail is attached as Exhibit 7 (and the

unredacted version has been filed under seal). I promptly informed Mr. Hamstra of that follow-

on communication, and the fact that Dr. Dacier had requested to “keep Columbia’s counsel

apprised of any efforts by Norton and its counsel to discourage him from testifying at trial.” A

true and correct copy of that e-mail is attached as Exhibit 8.

               26.     I called Dr. Dacier on the morning of April 10, 2020, and spoke to him for

at most 30 seconds to tell him that, especially in light of the pandemic, he should take care of

himself and his family, and not worry about our case. I said we would be in touch at a later date.

               27.     Also on April 10, 2020, Norton’s in-house attorney, David Majors, sent an

e-mail to Dr. Dacier suggesting that Dr. Dacier was required to accept personal representation

from Norton’s counsel and instructing Dr. Dacier that he should refer Columbia’s counsel to

Quinn Emanuel. Dr. Dacier responded to Mr. Majors, stating that Mr. Majors should speak with

S&C. A true and correct copy of that e-mail is attached as Exhibit 9.

               28.     Between April 10 and April 13, 2020, I exchanged a number of e-mails

with Mr. Hamstra (Quinn Emanuel). A true and correct copy of those e-mails is included in



                                                 -7-

                                            Appx15986
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Exhibit 8. In those e-mails, I was entirely transparent about all of our contacts with Dr. Dacier,

as outlined in this declaration. We made a number of requests for meet and confers, for an

explanation of Mr. Majors’ April 10 e-mail to Dr. Dacier, and for an explanation of Quinn

Emanuel’s legal and factual position that an ethical breach had occurred, but we received no

response until Norton filed its motion for sanctions on May 6, 2020.



               Executed on May 20, 2020 in New York, New York.




                                                                  Dustin F. Guzior




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                                          Appx15987
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION



 THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW
 YORK,
                                                   Civil Action No. 3:13-cv-00808-MHL
                        Plaintiff,

           v.

 NORTONLIFELOCK INC.,

                        Defendant.


      DECLARATION OF PROFESSOR ANGELOS KEROMYTIS IN SUPPORT OF
       COLUMBIA’S OPPOSITION TO NORTON’S MOTION FOR SANCTIONS

                Professor ANGELOS KEROMYTIS hereby declares under penalty of perjury:

                1.      I am a Professor at the Georgia Institute of Technology (“Georgia Tech”),

 and my field of research is systems and network security, and applied cryptography. Before

 becoming a Professor at Georgia Tech, I was the Program Manager in the Information

 Innovation Office of the Defense Advanced Research Projects Agency (“DARPA”). I am a

 former faculty member of the Department of Computer Science at Columbia, and I am an

 inventor of the two patents that I understand are asserted in this case.

                2.      I have known Dr. Marc Dacier since approximately 2002, and we worked

 together on French National Research Agency, Intelligence Advanced Research Projects

 Activity, and DARPA projects between 2009 and 2013. Dr. Dacier and I had a professional

 relationship entirely independent of this litigation, and I continue to consider him a colleague and

 friend.


                                             Appx15988
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                3.      I have spoken with Dr. Dacier several times between 2014, when

 Dr. Dacier left Norton, and the present. Although I cannot remember the date, to the best of my

 recollection, I spoke with Dr. Dacier between late 2017 and late 2018 in a professional capacity,

 and we spoke briefly about this case. Dr. Dacier noted that he was surprised the case was

 ongoing because he had not heard anything from Norton’s counsel since 2014. Dr. Dacier told

 me he was sorry about what Norton had done with the decoy technology that I developed with

 my former colleague Professor Salvatore Stolfo, which I understand is at issue in this litigation.

 Dr. Dacier also said that he was against Norton’s decisions with respect to patenting our

 technology, and that he had not wanted to be involved because he thought what they were doing

 was wrong. Dr. Dacier’s comments suggested to me that Dr. Dacier would be willing to support

 Columbia in this litigation.

                4.      I was deposed in this case in January 2019. After my deposition, at some

 time in the first half of 2019, Dr. Dacier and I spoke again. With reference to his prior comments

 about the case, I asked if he would be willing to support Columbia’s case at trial. Dr. Dacier

 again expressed surprise the case was ongoing, and indicated that he would be willing to discuss

 the issue of coming to trial further.

                5.      I did not have either of these discussions with Dr. Dacier at the direction

 of Columbia’s counsel, and Columbia’s counsel learned of them after the fact.

                6.      In connection with a 2019 case update from Dustin Guzior—who I

 understand is counsel to Columbia in this litigation—I told Mr. Guzior about the discussion I had

 with Dr. Dacier. I relayed to Mr. Guzior what Dr. Dacier had said to me in prior discussions, and

 I noted that Dr. Dacier seemed willing to come to trial. I do not recall whether I distinguished

 between the 2017-2018 discussion and the 2019 discussion when I shared the information with



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 Mr. Guzior. Mr. Guzior told me that it appeared Dr. Dacier no longer was represented by

 counsel, but that he would need to confirm that with Dr. Dacier. Without the participation of

 Columbia’s counsel, I spoke with Dr. Dacier and confirmed he would speak to Columbia’s

 counsel. I then sent an e-mail on October 28, 2019 introducing Dr. Dacier and Mr. Guzior.

 After that introduction, I did not have any further involvement in discussions between

 Columbia’s counsel and Dr. Dacier.



               Executed on May 20, 2020 in Atlanta, Georgia.



                                                         Professor Angelos Keromytis




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                                         Appx15990
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Đ͗ĂǀĞEĞůƐŽŶфĚĂǀĞŶĞůƐŽŶΛƋƵŝŶŶĞŵĂŶƵĞů͘ĐŽŵх͕'ƌŽƐƐ͕ůĞǆĂŶĚĞƌE͘фŐƌŽƐƐĂΛƐƵůůĐƌŽŵ͘ĐŽŵх͕'ƵǌŝŽƌ͕
ƵƐƚŝŶфŐƵǌŝŽƌĚΛƐƵůůĐƌŽŵ͘ĐŽŵх
^ƵďũĞĐƚ͗΀ydZE>΁ZĞ͗ŽůƵŵďŝĂǀ͘^ǇŵĂŶƚĞĐͲĚĞƉŽƐŝƚŝŽŶĞƌƌĂƚĂ
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ĞĂƌEĂƚŚĂŶĂŶĚĂǀĞ͕

/ŚĂǀĞŝŶĚĞĞĚďĞĞŶĐŽŶƚĂĐƚĞĚďǇƚŚĞůĂǁĨŝƌŵƌĞƉƌĞƐĞŶƚŝŶŐŽůƵŵďŝĂ;^ƵůůŝǀĂŶΘƌŽŵǁĞůů>>W͖͘'ƵǌŝŽƌ
ĂŶĚ͘'ƌŽƐƐĂƌĞŝŶĐĐͿĂƚƚŚĞĞŶĚŽĨůĂƐƚǇĞĂƌ͘/ŚĂǀĞƚŚĞŶƐĞŶƚĂŶĞŵĂŝůƚŽƚŚĞ͕ƚŚĞŶ͕dKŽĨ^ǇŵĂŶƚĞĐ͕
,ƵŐŚdŚŽŵƉƐŽŶ;ƚŽǁŚŽŵĂƌƌĞŶ^ŚŽƵǁĂƐĚŝƌĞĐƚůǇƌĞƉŽƌƚŝŶŐĂƚƚŚĞƚŝŵĞͿ͕ĂƐŬŝŶŐĨŽƌŝŶƐƚƌƵĐƚŝŽŶƐ
ďĞĨŽƌĞƚĂůŬŝŶŐƚŽƚŚĞŵ͘zŽƵĐĂŶĨŝŶĚŵǇĞŵĂŝůŝŶĐůƵĚĞĚŚĞƌĞďĞůŽǁ͘/ŚĂǀĞƐĞŶƚŝƚŽŶEŽǀϭϵ͕ǁŝƚŚĂ
ƌĞŵŝŶĚĞƌŽŶƚŚĞϮϴƚŚ͘/ŚĂǀĞŶĞǀĞƌƌĞĐĞŝǀĞĚĂŶǇĨĞĞĚďĂĐŬ͘

ƐĂĨŽůůŽǁƵƉ͕/ŚĂĚŝŶĚŝĐĂƚĞĚƚŚĂƚ/ŚĂĚŶŽƉƌŽďůĞŵƚŽĐŽŵĞƌĞƉĞĂƚŵǇƚĞƐƚŝŵŽŶǇ͕ŝĨŶĞĞĚĞĚ͘

ĐŽƌŽŶĂǀŝƌƵƐƉĂŶĚĞŵŝĐĂŶĚĂƚƌĂǀĞůďĂŶůĂƚĞƌ͕ƚŚŝŶŐƐĂƌĞŽŶŚŽůĚĂŶĚ/ŚĂǀĞŶŽŝĚĞĂŚŽǁƚŚŝŶŐƐǁŝůů
ƵŶĨŽůĚ͘ƐŽĨŶŽǁ͕ĐůĞĂƌůǇ͕EĞǁzŽƌŬǁŽƵůĚŶŽƚďĞŵǇĨĂǀŽƌŝƚĞƚƌĂǀĞůĚĞƐƚŝŶĂƚŝŽŶďƵƚ͕ŚŽƉĞĨƵůůǇ͕ƚŚŝŶŐƐ
ǁŝůůƐŽŽŶŐĞƚďĞƚƚĞƌ͘͘͘

WůĞĂƐĞƌĞĂĐŚŽƵƚƚŽD͘'ƵǌŝŽƌĂŶĚ'ƌŽƐƐŝĨǇŽƵŶĞĞĚŵŽƌĞƉƌĞĐŝƐĞŝŶƉƵƚŽŶƚŚĞĨĞǁƉŚŽŶĞĐĂůůƐǁĞŚĂǀĞ
ŚĂĚƐŽĨĂƌ͘

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D͘ĂĐŝĞƌ

ссссссDĞƐƐĂŐĞƐĞŶƚƚŽ,ƵŐŚdŚŽŵƉƐŽŶŽŶEŽǀϮϴ͕ĂƐĂƌĞŵŝŶĚĞƌĨŽƌƚŚĞŽŶĞƐĞŶƚŽŶEŽǀϭϵссссс

<ŝŶĚƌĞŵŝŶĚĞƌ͘

ĞĂƌ,ƵŐŚ͕

ĐŽƵůĚǇŽƵďĞƐŽŬŝŶĚĂƐƚŽĂĐŬŶŽǁůĞĚŐĞƚŚĂƚǇŽƵŚĂǀĞƌĞĐĞŝǀĞĚƚŚŝƐĞŵĂŝů͍:ƵƐƚƚŽŵĂŬĞƐƵƌĞŝƚŚĂƐŶŽƚ
ďĞĞŶůŽƐƚŝŶƐŽŵĞƐƉĂŵĨŽůĚĞƌƐŽŵĞǁŚĞƌĞ͘

dŚĂŶŬƐŝŶĂĚǀĂŶĐĞ͕

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       ĞĂƌ,ƵŐŚ͕

       ŵǇŶĂŵĞŝƐDĂƌĐĂĐŝĞƌ͘/ΖŵĂĨŽƌŵĞƌ^ǇŵĂŶƚĞĐĞŵƉůŽǇĞĞ͘/ƵƐĞĚƚŽďĞƐĞŶŝŽƌĚŝƌĞĐƚŽƌ
       ǁŝƚŚŝŶ^ǇŵĂŶƚĞĐZĞƐĞĂƌĐŚ͘dŚŝƐǁĂƐďĞĨŽƌĞǇŽƵƌĂƌƌŝǀĂůǁŝƚŚŝŶƚŚĞĐŽŵƉĂŶǇ͘/ǁĂƐ
       ŵĂŶĂŐŝŶŐƚĞĂŵƐŝŶ&ƌĂŶĐĞ͕/ƌĞůĂŶĚĂŶĚŝŶƚŚĞh^;,ĞƌŶĚŽŶͿ͘

       /ΖŵƐĞŶĚŝŶŐǇŽƵƚŚŝƐŶŽƚĞƌĞŐĂƌĚŝŶŐƚŚĞůĂǁƐƵŝƚƚŚĂƚŽůƵŵďŝĂhŶŝǀĞƌƐŝƚǇŚĂƐĨŝůĞĚ
       ĂŐĂŝŶƐƚ^ǇŵĂŶƚĞĐŝŶϮϬϭϯ͕ƚŚĞƚƌŝĂůĚĂƚĞŽĨǁŚŝĐŚŚĂƐŶŽǁďĞĞŶĚĞĨŝŶĞĚĂƐĞŶĚŽĨDĂǇ
       ϮϬϮϬ͘

       dŚŝƐůĂǁƐƵŝƚŝƐƌĞůĂƚĞĚƚŽĂƉĂƚĞŶƚĨŝůĞĚďǇĂƌƌĞŶ^ŚŽƵǁŚŽǁĂƐǁŽƌŬŝŶŐĨŽƌŵĞĂƚƚŚĂƚ
       ƚŝŵĞ͕ƉĂƚĞŶƚĨŝůĞĚǁŝƚŚŽƵƚŵĞŬŶŽǁŝŶŐŝƚ͘

       /ŚĂǀĞďĞĞŶĂƐŬĞĚƚŽĚĞƉŽƐĞŝŶϮϬϭϰĂƐĂĨĂĐƚǁŝƚŶĞƐƐ͘DǇƚĞƐƚŝŵŽŶǇŚĂƐďĞĞŶƌĞĐŽƌĚĞĚ
       ŝŶƌƵƐƐĞůƐ͕ĞůŐŝƵŵ͘^ǇŵĂŶƚĞĐŚĂĚƐĞŶƚĂŶĂƚƚŽƌŶĞǇƚŽĂƐƐŝƐƚŵĞ͘&ŽƌŵĞƚŚŝƐǁĂƐĂŶ
       ŽůĚƐƚŽƌǇĂŶĚ/ŚĂĚĂůŵŽƐƚĨŽƌŐŽƚĂďŽƵƚŝƚ͘

       EŽǁ͕/ŚĂǀĞďĞĞŶĐŽŶƚĂĐƚĞĚďǇƚŚĞůĂǁǇĞƌƐĨƌŽŵŽůƵŵďŝĂhŶŝǀĞƌƐŝƚǇ͕ĂƐŬŝŶŐŵĞƚŽ
       ĐŽŵĞŝŶDĂǇƚŽƚĞƐƚŝĨǇĂƐĂĨĂĐƚǁŝƚŶĞƐƐĂƚƚŚĞƚƌŝĂů͖ƚŽƌĞƉĞĂƚǁŚĂƚ/ŚĂǀĞĂůƌĞĂĚǇƐĂŝĚŝŶ
       ϮϬϭϰ͘

       dŚĞǇŚĂǀĞĂƐŬĞĚŵĞŝĨ/ŚĂĚĂĐŽƵŶƐĞůƌĞƉƌĞƐĞŶƚŝŶŐŵĞ͘/ƚŚŝŶŬ/ĚŽŶŽƚďƵƚ͕ƚŽĂǀŽŝĚĂŶǇ
       ƉƌŽďůĞŵ͕/ƉƌĞĨĞƌƚŽƌĞĂĐŚŽƵƚƚŽǇŽƵƚŽŽďƚĂŝŶǇŽƵƌĐŽŶĨŝƌŵĂƚŝŽŶƚŚĂƚ^ǇŵĂŶƚĞĐĚŽĞƐ
       ŶŽƚĐŽŶƐŝĚĞƌƚŚĂƚƚŚĞůĂǁǇĞƌ͕ƉĂŝĚďǇ^ǇŵĂŶƚĞĐ͕ƚŚĂƚǁĂƐƉƌĞƐĞŶƚĂƚŵǇĚĞƉŽƐŝƚŝŽŶŝƐ
       ƐƚŝůůƌĞƉƌĞƐĞŶƚŝŶŐŵĞ͕ƐŝŶĐĞ/ŚĂǀĞůĞĨƚƚŚĞĐŽŵƉĂŶǇ͘/ĂŵŶŽƚĂƐŬŝŶŐĨŽƌ^ǇŵĂŶƚĞĐƚŽ
       ƌĞƉƌĞƐĞŶƚŵĞ͘/ĂŵũƵƐƚĂƐŬŝŶŐŝĨ^ǇŵĂŶƚĞĐĐŽŶƐŝĚĞƌƐƚŚĂƚŝƚĚŽĞƐďĞĐĂƵƐĞ͕ŝĨǇĞƐ͕ƚŚĞƐĞ
       ůĂǁǇĞƌƐĂƌĞŽŶůǇĂůůŽǁĞĚƚŽƐƉĞĂŬƚŽǇŽƵƌůĂǁǇĞƌƐĂŶĚŶŽƚƚŽŵĞĚŝƌĞĐƚůǇ͘

       ůƐŽ͕ĂƐƐƵŵŝŶŐ^ǇŵĂŶƚĞĐůĂǁǇĞƌƐĂƌĞŶŽƚƌĞƉƌĞƐĞŶƚŝŶŐŵĞ͕/ǁŽƵůĚůŝŬĞǇŽƵƚŽĐŽŶĨŝƌŵ
       ƚŚĂƚ/ΖŵŶŽƚďŽƵŶĚďǇĂŶǇŬŝŶĚŽĨĐŽŶƚƌĂĐƚŽƌŽďůŝŐĂƚŝŽŶǁŝƚŚ^ǇŵĂŶƚĞĐƚŚĂƚǁŽƵůĚ
       ƉƌĞǀĞŶƚŵĞĨƌŽŵƌĞƐƉŽŶĚŝŶŐƉŽƐŝƚŝǀĞůǇƚŽƚŚĞƌĞƋƵĞƐƚƚŽĂƚƚĞŶĚƚŚĞƚƌŝĂů͘Ɛ/ƐĂŝĚ͕/
       ĚŽŶΖƚǁĂŶƚĂŶǇƚƌŽƵďůĞĂŶĚǁĂŶƚƚŽŵĂŬĞƐƵƌĞƚŚĂƚ/ΖŵŶŽƚǀŝŽůĂƚŝŶŐĂŶǇƌƵůĞŽƌůĂǁƚŚĂƚ
       /ǁŽƵůĚŶŽƚďĞĂǁĂƌĞŽĨ͘

       /ĂŵƐŽƌƌǇƚŽĂƐŬǇŽƵƚŚĞƐĞƋƵĞƐƚŝŽŶƐďƵƚĂůůƚŚĞƉĞŽƉůĞ/ƵƐĞĚƚŽŝŶƚĞƌĂĐƚǁŝƚŚƐƵĐŚĂƐ
       ƚŚĞKŽƌƚŚĞƉĂƐƚdK;ƐͿ͕ĂƌĞŶŽǁŐŽŶĞ͘ĂƌƌĞŶ^ŚŽƵŝƐ͕ĂƐ/ƵŶĚĞƌƐƚĂŶĚŝƚ͕ǇŽƵƌĚŝƌĞĐƚ
       ƌĞƉŽƌƚĂŶĚ/ƐƵƉƉŽƐĞƚŚĂƚǇŽƵĂƌĞůŽŽŬŝŶŐŝŶƚŽƚŚŝƐůĂǁƐƵŝƚĂŶĚŝƚƐĐŽŶƐĞƋƵĞŶĐĞƐ͘dŚŝƐŝƐ
       ǁŚǇ/ĐŚŽŽƐĞƚŽǁƌŝƚĞƚŽǇŽƵ͘

       dŚĂŶŬǇŽƵǀĞƌǇŵƵĐŚĨŽƌƚĂŬŝŶŐƚŚĞƚŝŵĞƚŽƌĞƐƉŽŶĚƚŽŵĞ͘/ŶƚŚĞĂďƐĞŶĐĞŽĨĂŶǇƌĞƉůǇ͕/
       ǁŝůůĐŽŶƐŝĚĞƌƚŚĂƚǇŽƵŝŵƉůŝĐŝƚůǇƌĞƉůŝĞĚŶĞŐĂƚŝǀĞůǇƚŽŵǇďŽƚŚƌĞƋƵĞƐƚƐ͕ŝĞ^ǇŵĂŶƚĞĐŝƐ
       ŶŽƚƌĞƉƌĞƐĞŶƚŝŶŐŵĞĂŶĚ/ΖŵĨƌĞĞƚŽŐŽƚĞƐƚŝĨǇ͘

       ůůƚŚĞďĞƐƚ

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KŶϭϬͲƉƌͲϮϬϭϮ͗ϭϴD͕EĂƚŚĂŶ,ĂŵƐƚƌĂǁƌŽƚĞ͗
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       ZĞŐĂƌĚƐ͕
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ΎΎdŚŝƐŝƐĂŶĞǆƚĞƌŶĂůŵĞƐƐĂŐĞĨƌŽŵ͗ĚĂĐŝĞƌΛĞƵƌĞĐŽŵ͘ĨƌΎΎ
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7KLVHPDLOLVVHQWE\DODZILUPDQGFRQWDLQVLQIRUPDWLRQWKDWPD\EHSULYLOHJHGDQG
FRQILGHQWLDO,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWSOHDVHGHOHWHWKHHPDLODQGQRWLI\XV
LPPHGLDWHO\




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фĚŵĐĚĂŶŝĞůΛƐƉŽƚƚƐĨĂŝŶ͘ĐŽŵх͖ΎŽůƵŵďŝĂ^ǇŵĂŶƚĞĐdĞĂŵфŽůƵŵďŝĂ^ǇŵĂŶƚĞĐdĞĂŵΛƐƵůůĐƌŽŵ͘ĐŽŵх͖ΖEŝŶĂdĂůůŽŶΖ
фŶŝŶĂΛŶŝŶĂƚĂůůŽŶůĂǁ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗΀ydZE>΁ZĞ͗ŽůƵŵďŝĂǀ͘^ǇŵĂŶƚĞĐͲĚĞƉŽƐŝƚŝŽŶĞƌƌĂƚĂ
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ŽďƚĂŝŶŝŶĨŽƌŵĂƚŝŽŶĨƌŽŵƌ͘ĂĐŝĞƌĂŶĚĞŝƚŚĞƌŽďƚĂŝŶƉĞƌŵŝƐƐŝŽŶƚŽĐŽŶƚĂĐƚŚŝŵŽƌŐĞƚĐŽŶĨŝƌŵĂƚŝŽŶƚŚĂƚŚĞŝƐŶŽůŽŶŐĞƌ
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zŽƵƌĚŝƌĞĐƚĐŽŶƚĂĐƚǁŝƚŚƌ͘ĂĐŝĞƌ;ŶƵŵĞƌŽƵƐƚŝŵĞƐďǇǇŽƵƌŽǁŶĂĚŵŝƐƐŝŽŶͿŝƐƚŚĞƌĞĨŽƌĞĂƐĞƌŝŽƵƐĞƚŚŝĐĂůďƌĞĂĐŚ͘
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ĐŽŶƚĂĐƚĞĚ;ŝŶĐůƵĚŝŶŐǀŝĂĞŵĂŝůͿĂŶĚǁŚŽǁĂƐĂƉĂƌƚǇƚŽĞĂĐŚŽĨƚŚŽƐĞĐŽŶƚĂĐƚƐ͘
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^ĞŶƚ͗&ƌŝĚĂǇ͕ƉƌŝůϭϬ͕ϮϬϮϬϮ͗ϬϰWD
dŽ͗EĂƚŚĂŶ,ĂŵƐƚƌĂфŶĂƚŚĂŶŚĂŵƐƚƌĂΛƋƵŝŶŶĞŵĂŶƵĞů͘ĐŽŵх
Đ͗ĞĞŶĞǇ͕'ĂƌƌĂƌĚZ͘фĞĞŶĞǇŐΛƐƵůůĐƌŽŵ͘ĐŽŵх͖'ƌŽƐƐ͕ůĞǆĂŶĚĞƌE͘фŐƌŽƐƐĂΛƐƵůůĐƌŽŵ͘ĐŽŵх͖ΖĂƌƌ͕ĂďŶĞǇ:͘Ζ
фĚĂďŶĞǇ͘ĐĂƌƌΛƚƌŽƵƚŵĂŶ͘ĐŽŵх͖Ζ:ŽŚŶƌďĂĐŚΖфũĞƌďĂĐŚΛƐƉŽƚƚƐĨĂŝŶ͘ĐŽŵх͖ZŝĐŚĂƌĚƌǁŝŶĞ
фƌŝĐŚĂƌĚĞƌǁŝŶĞΛƋƵŝŶŶĞŵĂŶƵĞů͘ĐŽŵх͖ůĞǆĂŶĚĞƌZƵĚŝƐфĂůĞǆĂŶĚĞƌƌƵĚŝƐΛƋƵŝŶŶĞŵĂŶƵĞů͘ĐŽŵх͖^ƚĞƉŚĞŶ^ǁĞĚůŽǁ
фƐƚĞƉŚĞŶƐǁĞĚůŽǁΛƋƵŝŶŶĞŵĂŶƵĞů͘ĐŽŵх͖ĂǀĞEĞůƐŽŶфĚĂǀĞŶĞůƐŽŶΛƋƵŝŶŶĞŵĂŶƵĞů͘ĐŽŵх͖ĂŶĂDĐĂŶŝĞů
фĚŵĐĚĂŶŝĞůΛƐƉŽƚƚƐĨĂŝŶ͘ĐŽŵх͖ΎŽůƵŵďŝĂ^ǇŵĂŶƚĞĐdĞĂŵфŽůƵŵďŝĂ^ǇŵĂŶƚĞĐdĞĂŵΛƐƵůůĐƌŽŵ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗΀ydZE>΁ZĞ͗ŽůƵŵďŝĂǀ͘^ǇŵĂŶƚĞĐͲĚĞƉŽƐŝƚŝŽŶĞƌƌĂƚĂ
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ƐĂŶŝŶŝƚŝĂůŵĂƚƚĞƌ͕ƚŽĂǀŽŝĚĂĚŝƐƉƵƚĞĂŶĚǁŝƚŚŽƵƚĂŐƌĞĞŝŶŐƚŽǇŽƵƌĐŚĂƌĂĐƚĞƌŝǌĂƚŝŽŶƐ͕ǁĞĐŽŶĨŝƌŵƚŚĂƚǁĞǁŝůůĚĞůĞƚĞĂůů
ŽĨƚŚĞϮϬϭϰƉŽƌƚŝŽŶƐŽĨƚŚĞĞͲŵĂŝůĐŚĂŝŶƌ͘ĂĐŝĞƌƐĞŶƚƚŽƵƐůĂƐƚŶŝŐŚƚ͘ůƚŚŽƵŐŚEŽƌƚŽŶǁĂƐŶŽƚƚŚĞ͞ƉƌŽĚƵĐŝŶŐƉĂƌƚǇ͕͟
ĂŶĚƚŚƵƐĐĂŶŶŽƚŝŶǀŽŬĞ^ĞĐƚŝŽŶϮϭŽĨƚŚĞWƌŽƚĞĐƚŝǀĞKƌĚĞƌ͕ǁĞǁĂŶƚƚŽĂǀŽŝĚĂŶƵŶŶĞĐĞƐƐĂƌǇĚŝƐƉƵƚĞƌĞŐĂƌĚŝŶŐƚŚĞϮϬϭϰ
ĞͲŵĂŝůƐ͘tĞĚŽŶŽƚ͕ŚŽǁĞǀĞƌ͕ƐĞĞĂŶǇďĂƐŝƐĨŽƌĂĐůĂŝŵŽĨƉƌŝǀŝůĞŐĞŽǀĞƌ͞ĂůůƉŽƌƚŝŽŶƐ͟ŽĨƚŚĞĞͲŵĂŝůĐŚĂŝŶƉƌŝŽƌƚŽŵǇ
ϭ͗ϱϱĂŵdĞͲŵĂŝůƚŽǇŽƵĂŶĚDƌ͘EĞůƐŽŶ͘^ĞƚƚŝŶŐĂƐŝĚĞĨŽƌƚŚĞŵŽŵĞŶƚƚŚĞƋƵĞƐƚŝŽŶŽĨǁŚĞƚŚĞƌĂŶǇϮϬϭϵƉŽƌƚŝŽŶŽĨƚŚĞ
ĞͲŵĂŝůĐŚĂŝŶŝƐƉƌŝǀŝůĞŐĞĚ;ǁĞĚŽŶŽƚďĞůŝĞǀĞŝƚŝƐͿ͕ǇŽƵĐĂŶŶŽƚƌĞĂƐŽŶĂďůǇĂƐƐĞƌƚƉƌŝǀŝůĞŐĞŽǀĞƌĂŶĞͲŵĂŝůĨƌŽŵƌ͘ĂĐŝĞƌ
ƚŚĂƚǁĂƐŝŶƉĂƌƚĂĚĚƌĞƐƐĞĚƚŽŵĞĨŽƌƚŚĞƉƵƌƉŽƐĞŽĨĐŽŵŵƵŶŝĐĂƚŝŶŐǁŝƚŚŵĞ͘tĞƐŚŽƵůĚĚŝƐĐƵƐƐƚŚŝƐŝƐƐƵĞĚƵƌŝŶŐƚŚĞ
ŵĞĞƚĂŶĚĐŽŶĨĞƌ/ƉƌŽƉŽƐĞĚůĂƐƚŶŝŐŚƚ͘ƌ͘ĂĐŝĞƌĂůƐŽĐŽƉŝĞĚƵƐŽŶĂƌĞƐƉŽŶƐĞƚŽĂŶĞͲŵĂŝůĨƌŽŵĂǀŝĚDĂũŽƌƐƚŚŝƐ
ŵŽƌŶŝŶŐͶƉƵƌƉŽƌƚŝŶŐƚŽŝŶƐƚƌƵĐƚƌ͘ĂĐŝĞƌƚŚĂƚŚĞ;ŝͿǁĂƐƌĞƉƌĞƐĞŶƚĞĚďǇĐŽƵŶƐĞůĂŶĚ;ŝŝͿŵƵƐƚĚŝƌĞĐƚŝŶƋƵŝƌŝĞƐƚŽYƵŝŶŶ
ŵĂŶƵĞůͶĂŶĚǁĞƐŝŵŝůĂƌůǇĚŽŶŽƚƐĞĞĂŶǇďĂƐŝƐƚŽĂƐƐĞƌƚƉƌŝǀŝůĞŐĞŽǀĞƌƚŚĂƚĐŽŵŵƵŶŝĐĂƚŝŽŶ͘
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                                                     $OH[DQGHU1
6XEMHFW                                             >(;7(51$/@5H&ROXPELD8QLYY6\PDQWHF&RUSRUDWLRQ



+L'DYLG

LIWKDWLVWKHFDVH,JXHVV\RXQHHGWRWDONGLUHFWO\ZLWK'*X]LRUDQG$*URVVERWKFF HG

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KŶϭϬͲƉƌͲϮϬϰ͗ϭϯWD͕ĂǀŝĚDĂũŽƌƐǁƌŽƚĞ͗
        DĂƌĐ͕

        DǇŶĂŵĞŝƐĂǀŝĚDĂũŽƌƐ͘ƐǇŽƵŵĂǇƌĞĐĂůů͕/ĂŵŝŶͲŚŽƵƐĞůŝƚŝŐĂƚŝŽŶĐŽƵŶƐĞůĂƚEŽƌƚŽŶ>ŝĨĞ>ŽĐŬ/ŶĐ͘
        ;ĨͬŬͬĂ^ǇŵĂŶƚĞĐŽƌƉŽƌĂƚŝŽŶͿ͘tĞƐƉŽŬĞƐĞǀĞƌĂůƚŝŵĞƐŝŶƚŚĞϮϬϭϰƚŝŵĞĨƌĂŵĞ͘/ƌĞĐĞŶƚůǇůĞĂƌŶĞĚƚŚĂƚ
        ǇŽƵƐĞŶƚƐŽŵĞĞŵĂŝůƐƚŽ,ƵŐŚdŚŽŵƉƐŽŶƌĞŐĂƌĚŝŶŐǁŚĞƚŚĞƌEŽƌƚŽŶ>ŝĨĞ>ŽĐŬĐŽƵŶƐĞůĂƚYƵŝŶŶŵĂŶƵĞů
        ĐŽŶƚŝŶƵĞƐƚŽƌĞƉƌĞƐĞŶƚǇŽƵŝŶƚŚŝƐŵĂƚƚĞƌ͘/ǁĂŶƚƚŽĐŽŶĨŝƌŵƚŚĂƚƚŚĞǇĚŽŝŶĨĂĐƚĐŽŶƚŝŶƵĞƚŽƌĞƉƌĞƐĞŶƚ
        ǇŽƵƌĞůĂƚĞĚƚŽƚŚŝƐŵĂƚƚĞƌ͘WůĞĂƐĞůĞƚŵĞŬŶŽǁŝĨǇŽƵŚĂǀĞĂŶǇƋƵĞƐƚŝŽŶƐ͕ĂŶĚŝĨĐŽŶƚĂĐƚĞĚďǇĂŶǇŽŶĞŝŶ
        ĐŽŶŶĞĐƚŝŽŶǁŝƚŚƚŚŝƐŵĂƚƚĞƌ;ŝŶĐůƵĚŝŶŐĐŽƵŶƐĞůĨŽƌŽůƵŵďŝĂͿ͕ƉůĞĂƐĞĚŝƌĞĐƚƚŚĞŵƚŽĂǀĞEĞůƐŽŶĂŶĚ
        EĂƚĞ,ĂŵƐƚƌĂĂƚYƵŝŶŶŵĂŶƵĞů͘

        dŚĂŶŬǇŽƵ͕
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        GDYLGPDMRUV#QRUWRQOLIHORFNFRP
        1RUWRQ/LIH/RFNFRP΀ŶŽƌƚŽŶůŝĨĞůŽĐŬ͘ĐŽŵ΁


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        NortonLifeLock Inc. is a standalone company dedicated to consumer Cyber Safety.

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        SURSULHWDU\SULYLOHJHGFRQILGHQWLDODQGH[HPSWIURPGLVFORVXUHXQGHUDSSOLFDEOHODZRUPD\FRQVWLWXWHDWWRUQH\ZRUNSURGXFW,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQW\RXDUH
        KHUHE\QRWLILHGWKDWDQ\XVHGLVVHPLQDWLRQGLVWULEXWLRQRUFRS\LQJRIWKLVFRPPXQLFDWLRQLVVWULFWO\SURKLELWHG,I\RXKDYHUHFHLYHGWKLVFRPPXQLFDWLRQLQHUURUQRWLI\XV
        LPPHGLDWHO\E\WHOHSKRQHDQG L GHVWUR\WKLVPHVVDJHLIDIDFVLPLOHRU LL GHOHWHWKLVPHVVDJHLPPHGLDWHO\LIWKLVLVDQHOHFWURQLFFRPPXQLFDWLRQ




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                                Appx16552
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF
NEW YORK,

               Plaintiff,
                                                                     UNDERSEAL
v.                                                            Civil Action No. 3:13cv808

NORTONLIFELOCK, INC.,

               Defendant.

                                 MEMORANDUM ORDER

       This matter comes before the Court on the following:

       (1)     Plaintiff the Trustees of Columbia University in the City of New York's
               ("Columbia") Motion for Leave to File Sur-Reply, (ECF No. 580);

        (2)    Defendant NortonLifeLock, Inc. 's ("Norton") Motion for Sanctions (ECF
               No. 477);

        (3)    Columbia's Motions to Seal Exhibits, (ECF Nos. 543,626);

        (4)    Columbia's First Omnibus Motion in Limine, (ECF No. 489), and Second
               Omnibus Motion in Limine, (ECF No. 491) (collectively, the "Omnibus
               Motions");

        (5)    Norton's Motions in Limine, (ECF Nos. 493, 595), (collectively, with the
               Omnibus Motions, the "Motions in Limine");

        (6)    Columbia's Motion for Leave to File a Cross Motion for Partial Summary
               Judgment, (ECF No. 630); and,

        (7)    Columbia's Motions for Leave to File Supplemental Authority, (ECF No. 648,
               651 ), (collectively, with the previous motions, the "Pending Motions").

        The Parties have either responded to the Pending Motions or the time to do so has

 expired. These matters are ripe for disposition. The Court dispenses with oral argument because




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witness for Columbia. Norton then claimed representation. (Pl. Mem. Opp. Ders Mot.

Sanctions Ex. 6, ECF No. 546-1.)

        In February 2020, while his emails remained unanswered, Dr. Dacier stated on a phone

call with Columbia's attorneys that his daughter confirmed he was not represented by counsel,

that he did not want to be represented by counsel, and that he wanted to continue speaking with

Columbia's attorneys. (Pl. Mem. Opp. Ders Mot. Sanctions 14, ECF No. 546.) On March 27,

2020, Columbia served its witness list, including that they were planning on calling Dr. Dacier.

 Only after that, on April 10, 2020, did Norton's attorneys contact Dr. Dacier to advise him about

 how to respond to the request to testify. (Id. 11.)

        Because Columbia reasonably believed that Dr. Dacier was not represented by defense

 counsel, the Court will deny the Motion for Sanctions. (ECF No. 477.) Virginia Rule of

 Professional Conduct 4.2 applies when counsel "communicates about the substance of a

 representation" with a person "the lawyer knows to be represented." Va. Code of Pro. Conduct

 r. 4.2. Dr. Dacier informed plaintifrs counsel at the time of the communications that he was not

 represented by counsel, and Dr. Dacier's own email to Norton personnel confirms this

 assumption. Further, Dr. Dacier's email supports Columbia's argument that counsel asked Dr.

 Dacier to confirm whether he was represented by counsel, which he believed he was not.
                                                                                                    3
 Columbia attorneys' contact with Dr. Dacier was therefore in good faith and is not sanctionable.

 For these reasons, the Court will deny the Motion for Sanctions, including Norton's requests to

 exclude information obtained by Dr. Dacier and the request to exclude him from trial.




         3 It remains undetermined whether Dr. Dacier was or was not represented by Norton's

 attorneys in October 2019.
                                                   5




         Filed: 06/12/2024                Appx17738
                                   Page: 103           Document: 46     Case: 24-1243
          Case: 24-1243      Document: 46   Page: 104   Filed: 06/12/2024




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           RICHMOND DIVISION


THE TRUSTEES OF COLUMBIA                      Civil Action No. 3:13-cv-00808-MHL
UNIVERSITY IN THE CITY OF NEW
YORK,


                 Plaintiff


           v.


NORTONLIFELOCK INC. f/k/a
SYMANTEC CORPORATION,


                 Defendant


                 NORTONLIFELOCK INC.’S MEMORANDUM
                   IN SUPPORT OF MOTIONS IN LIMINE




                                   Appx19359
Case: 24-1243     Document: 46 Page: 105 Filed: 06/12/2024
                CONFIDENTIAL MATERIAL OMITTED




                            20
                        Appx19383
Case: 24-1243  Document: 46 Page: 106 Filed: 06/12/2024
            CONFIDENTIAL MATERIAL OMITTED




                        21
                     Appx19384
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            CONFIDENTIAL MATERIAL OMITTED




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                     Appx19385
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           CONFIDENTIAL MATERIAL OMITTED




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                     Appx19386
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           CONFIDENTIAL MATERIAL OMITTED




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                     Appx19387
Case: 24-1243   Document: 46 Page: 110 Filed: 06/12/2024
             CONFIDENTIAL MATERIAL OMITTED




                        25
                      Appx19388
                    Case: 24-1243           Document: 46          Page: 111         Filed: 06/12/2024

      Case 3:13-cv-00808-MHL Document 768-45 Filed 02/28/22 Page 2 of 2 PageID# 27623




From:                Nathan Hamstra
Sent:                Friday, January 21, 2022 9:40 AM
To:                  *ColumbiaSymantecTeam; Guzior, Dustin; 'Ecker, Jessica R.'
Cc:                  Symantec-Columbia; 'Carr, Dabney J.'; 'Dana McDaniel'; 'John Erbach'
Subject:             Columbia' witness list


Counsel,

We have a couple questions about Plaintiff’s witness list.

First, Plaintiff’s witness lists Marc Dacier as “Live/Video.” As we earlier noted, Dr. Dacier has decided not to travel to the
United States to attend the trial. Please confirm that Columbia’s “Live” indication in its witness list is merely in the event
that Dr. Dacier has a change of heart and decides to attend trial.

Second, Darren Shou and Dermot Wall appear on Columbia’s witness list as “Live/Video.” Please confirm that the “Live”
indication merely indicates that Columbia intends to cross‐examine those witnesses if they testify in Norton’s rebuttal
case, and that Columbia does not intend to attempt to call those witnesses adversely during Columbia’s case in chief.

Regards,

Nathan Hamstra
Quinn Emanuel Urquhart & Sullivan, LLP
312.705.7417
191 North Wacker Drive, Suite 2700 | Chicago, IL 60606




                                                              1

                                                      Appx20356
     Case 3:13-cv-00808-MHL Document 803-44 Filed 03/04/22 Page 2 of 6 PageID# 28919


MacEachern, Case:
            John W.
                  24-1243               Document: 46           Page: 112        Filed: 06/12/2024

From:                             Beeney, Garrard R.
Sent:                             Thursday, November 18, 2021 12:16 PM
To:                               Richard Erwine
Cc:                               Dave Nelson; Nina Tallon; Nathan Hamstra
Subject:                          RE: [EXTERNAL] RE: Columbia v. Norton

Follow Up Flag:                   Follow up
Flag Status:                      Completed


Thanks, although I should add we disagree with your reading of the order.

From: Richard Erwine
Sent: Thursday, November 18, 2021 12:05 PM
To: Beeney, Garrard R.
Cc: Dave Nelson ; Nina Tallon ; Nathan Hamstra
Subject: RE: [EXTERNAL] RE: Columbia v. Norton

Yes, Dr. Dacier has been informed of the order, including that the Court concluded he is
represented by Norton’s counsel.


Richard W. Erwine
Quinn Emanuel Urquhart & Sullivan, LLP
51 Madison Avenue, 24th Floor
New York, NY 10010
Direct: (212) 849-7135
Main Fax: (212) 849-7100
E-mail: richarderwine@quinnemanuel.com
Web: www.quinnemanuel.com [quinnemanuel.com]

PRIVILEGED & CONFIDENTIAL


From: Beeney, Garrard R. <Beeneyg@sullcrom.com>
Sent: Thursday, November 18, 2021 11:45 AM
To: Richard Erwine <richarderwine@quinnemanuel.com>
Cc: Dave Nelson <davenelson@quinnemanuel.com>; Nina Tallon <ninatallon@quinnemanuel.com>; Nathan Hamstra
<nathanhamstra@quinnemanuel.com>
Subject: RE: [EXTERNAL] RE: Columbia v. Norton

                                     [EXTERNAL EMAIL from beeneyg@sullcrom.com]


The question in my email of 11/15: has Dr. Dacier been informed of the contents of the Court’s order resolving Norton’s
motion ? thanks Rich

                                                           1


                                                                                                          PX0823.001
                                                  Appx21472
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      Case 3:13-cv-00808-MHL Document 803-44 Filed 03/04/22 Page 5 of 6 PageID# 28922

Garrard:

Thanks for the email.

With respect to Dr. Dacier, we disagree with your statement that Dr. Dacier agreed to come to trial, and also
disagree with your characterization of the relief our sanctions motions requested. Our communications with Dr.
Dacier continue to be protected by attorney-client privilege; we understand that Dr. Dacier does not intend to
appear at trial. We will let you know if that changes.

With respect to your remaining points, although we note that we have not received a Daubert or summary
judgment order to date and therefore the issues for trial have not been narrowed since the last exchange, please
see below:
     Witness List: we are happy to take another look at the witness list and participate in another exchange on
       Nov. 22.
     Exhibits: we are happy to take another look at our proposed exhibits and participate in another exchange
       on Dec. 6
     Deposition Designations: we see no reason to narrow deposition designations at this time
     Uncontested facts: rather than exchanging drafts, we suggest that the parties meet and confer first to
       determine if any headway can be made. The parties engaged in extensive meet and confers on this issue
       the last time around. We would be happy to do so at some point in late November.
     Other issues: we are happy to meet and confer on the issues that you raised. Let’s figure out a date/time
       once we get into November.

Regards,
Rich


Richard W. Erwine
Quinn Emanuel Urquhart & Sullivan, LLP
51 Madison Avenue, 24th Floor
New York, NY 10010
Direct: (212) 849-7135
Main Fax: (212) 849-7100
E-mail: richarderwine@quinnemanuel.com
Web: www.quinnemanuel.com [quinnemanuel.com]
PRIVILEGED & CONFIDENTIAL

From: Beeney, Garrard R. <Beeneyg@sullcrom.com>
Sent: Monday, October 18, 2021 4:45 PM
To: Richard Erwine <richarderwine@quinnemanuel.com>
Subject: Columbia v. Norton

                                      [EXTERNAL EMAIL from beeneyg@sullcrom.com]


Rich: I hope you and your family are well.
I’m writing to suggest a few things which I think will make both parties’ trial preparation a bit more manageable in light
of the PTO we submitted in June of 2020 and the Court’s September 29, 2021 order.
First, with regard to Dr. Dacier, you’ll recall that he had agreed to come to trial prior to Norton’s contact with him in
connection with the motion the Court recently denied. Would you confirm that you have informed Dr. Dacier that the
                                                             4


                                                                                                              PX0823.004
                                                      Appx21475
        Case: 24-1243          Document: 46         Page: 114        Filed: 06/12/2024

Case 3:13-cv-00808-MHL Document 945 Filed 03/22/22 Page 1 of 6 PageID# 42491




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF
NEW YORK,

               Plaintiff,

       v.                                                     Civil Action No. 3:13cv808

NORTONLIFELOCK, INC.,

               Defendant.

                                  MEMORANDUM ORDER

       This matter comes before the Court on Norton Lifelock, Inc.' s ("Norton") Motion for

Reconsideration of Certain of the Court's Daubert Orders, (ECF No. 922), and Motion to

Reconsider Norton's Motions in Limine Nos. 5 and 6 and for an Immediate Stay of the

Proceedings, (ECF No. 928) (collectively, the "Motions for Reconsideration"). In its Motions,

Norton seeks reconsideration of several Daubert and Motion in Limine decisions issued by this

Court. Norton also seeks an immediate stay. The Motions will be denied.

       First, Counsel for Norton seeks a stay because, it says, it had no opportunity to respond

to Columbia's contention that a conflict existed as to representing Dr. Dacier and Norton. This is

not true. For the reasons stated in ECF Nos. 889 and 900, and those below, the Court DENIES

the Motion to Stay.

       Columbia raised the issue of a conflict in briefing, and Norton had a full and fair

opportunity to respond to that briefing. Norton filed its brief in response. No party disputed then

or disputes now that Norton's counsel represented Dr. Dacier in 2014. But when deciding

Norton's Motion for Sanctions, the Court explicitly said, and said why, "[it] remains




                                         Appx34351
        Case: 24-1243          Document: 46          Page: 115        Filed: 06/12/2024

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and Dr. Dacier. The Court found that representing both was a conflict. Seemingly, Quinn

Emanuel could represent one or the other with an appropriate waiver. Indeed, Norton was long

ago told how to do this by Columbia expert Leslie Haley in her declaration. Ms. Haley said

Virginia Rule of Professional Conduct 1. 7(b) ''provides that if a concurrent conflict of interest

exists, but the lawyer believes he or she can provide competent and diligent representation to

each affected client, then the lawyer may askfor each client's informed consent to continue the

representation." (ECF No. 574-3, at 5.) The Court, in its discretion, would readily have

permitted Quinn Emanuel to continue to represent Norton in this case given an appropriate

waiver and would do so now.

       Dr. Dacier's testimony is different. The peculiar circumstance of his unavailability-

after the earlier finding that his 2019-20 statements could be adverse to Norton thereby creating

questions about concurrent representation-counseled a different outcome. This was

compounded by a third and perhaps more serious complication: the Court learned in the Motions

in Limine that, apparently, Norton incorrectly told Dr. Dacier the Court deemed Quinn Emanuel

his lawyer. The statement of Dr. Dacier's unavailability and consent to representation in its

Motions in Limine were made only by Quinn Emanuel (not Dr. Dacier) in the face of an

uncorrected and substantial record questioning concurrent representation. The Court concluded

that Dr. Dacier is unavailable in the practical sense because Norton and Columbia have no time

to expand the record before trial.

       Allowing Norton to delay trial to correct its omission, as it seeks to do now, would create

undue prejudice to Columbia and would unnecessarily impede a just and efficient trial. Delaying

trial now (as Norton now asks) when Norton had months to create the record is not warranted.

Because we are on the eve of trial, the Court allowed Dr. Dacier's statements to be admitted as



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                                         Appx34353
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,
                                                Civil Action No. 3:13-cv-00808-MHL
                       Plaintiff,

       v.

NORTONLIFELOCK INC.,

                       Defendant.


              COLUMBIA’S NOTICE OF NORTON’S COMMUNICATIONS
                     WITH DR. DACIER ON APRIL 5-7, 2022

               Plaintiff, The Trustees of Columbia University in the City of New York

(“Columbia”), by counsel, hereby notifies the Court of relevant evidence of Norton’s undisclosed

communications with Dr. Dacier, as recently as the morning of yesterday’s hearing, regarding the

issues that were argued yesterday and remain pending before the Court. Columbia believes that

these communications (provided by Norton to Columbia only last night at 9:39 p.m. Eastern Time)

should be provided to the Court as soon as possible as the Court considers the remedy issues

discussed yesterday. The new evidence is attached as Exhibit A and Columbia’s subsequent

request that Norton provide this evidence to the Court promptly (particularly in light of the Court

marking exhibits at yesterday’s hearing) is attached as Exhibit B. As noted in Exhibit B, a number

of the statements in Exhibit A directly contradict arguments and express and implied

representations that Norton has made regarding Dr. Dacier.

               For example, Dr. Dacier stated early in the morning on April 7, 2022:

       [T]he facts stated in my testimony are, indeed, in my opinion, harmful for Norton’s
       case. I am no fool and I can see now why the Quinn team has done what they have
       done over the years, while pretending to ‘represent’ me.”



                                           Appx35884
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       On April 5, Dr. Dacier also stated:

       I must admit to be a bit surprised by this sudden rush after years of inaction and the
       several calls with the Quinn team in which they repeatedly told me that there was
       no need for me to do anything, that they did not want me to do anything, that my
       testimony in Brussels was all that was needed. I’m happy to help the judicial
       process though, I have continuously said so far. (emphasis added).

               Again, Columbia does not want to burden the Court, but we understood that the

issue of remedy was actively being considered by the Court and we thought that this evidence,

which we believe is relevant to the Court’s consideration, should be provided as soon as possible.

Dated: April 8, 2022                                 Respectfully submitted,

                                                     /s/ John M. Erbach
                                                     Dana D. McDaniel (VSB No. 25419)
                                                     John M. Erbach (VSB No. 76695)
                                                     SPOTTS FAIN, P.C.
                                                     411 East Franklin Street, Suite 600
                                                     Richmond, Virginia 23219
                                                     Tel.: (804) 697-2065
                                                     Fax: (804) 697-2165
                                                     dmcdaniel@spottsfain.com
                                                     jerbach@spottsfain.com
                                                     chester@spottsfain.com

                                                     Garrard R. Beeney (pro hac vice)
                                                     Dustin F. Guzior (pro hac vice)
                                                     Stephen J. Elliott (pro hac vice)
                                                     SULLIVAN & CROMWELL LLP
                                                     125 Broad Street
                                                     New York, New York 10004
                                                     Tel.: (212) 558-4000
                                                     Fax: (212) 558-3588
                                                     beeneyg@sullcrom.com
                                                     guziord@sullcrom.com
                                                     elliotts@sullcrom.com

                                                     Counsel for Plaintiff The Trustees of
                                                     Columbia University in the City of New
                                                     York




                                                 2
                                             Appx35885
                    Case: 24-1243          Document: 46          Page: 118        Filed: 06/12/2024

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From:                              Marc Dacier <marc.c.dacier@gmail.com>
Sent:                              Thursday, April 7, 2022 1:00 AM
To:                                Callahan, David (CH)
Subject:                           Re: Columbia v. NortonLifeLock --


David,
Since you have been brought into the case a week and a half ago, you may not have had time to read my testimony. I
have nothing against Norton, per se, but the facts, stated in my testimony are, indeed, in my opinion, harmful for
Norton’s case. I am no fool and I can see now why the Quinn team has done what they have done over the years, while
pretending to “represent” me. Having me repeating the facts once more is not going to change them.

M. Dacier



From: <david.callahan@lw.com>
Date: Thursday, April 7, 2022 at 1:54 AM
To: <marc.c.dacier@gmail.com>
Subject: RE: Columbia v. NortonLifeLock --

Marc:

I very much understand your frustration with the timing, and sincerely hope that you didn’t take my requests as
insensitive to your work and personal obligations. We were just brought into the case a week and a half ago, and are
doing the best we can to make sure that Norton receives a fair trial. The issue of whether you can attend trial has
become a significant issue in the case, with Columbia seeking an instruction from the judge to the jury that because you
are not testifying at the trial, the jury can infer that it is because you have something harmful to say about Norton’s
case. For obvious reasons, we would like to avoid this, and would you to testify because we have nothing to hide.

Regarding the video testimony, are there any time periods in which you could make yourself available, even for a few
hours? Understood regarding the religious holiday, which of course takes priority, but even if that cannot happen during
normal business hours, we might be able to convince the Court to allow your testimony to be recorded and then played
back at trial, so even if the video testimony needed to take place at, let’s say, midnight Richmond time, it might still be
workable (depending on what the judge says). We’ve done this before with overseas witnesses, starting testimony, for
example, at 3 am Washington time.

Again, we are extremely aware that we are asking a lot on short notice, but would like to do everything we can to be
able to present the full and complete facts at trial. We’d greatly appreciate any help you could give in this regard. Many
thanks.



David K. Callahan

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Email: david.callahan@lw.com
https://www.lw.com
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                                                     Appx35887
                    Case: 24-1243           Document: 46         Page: 119        Filed: 06/12/2024

       Case 3:13-cv-00808-MHL Document 1084-1 Filed 04/08/22 Page 3 of 5 PageID# 44787


From: Marc Dacier <marc.c.dacier@gmail.com>
Sent: Wednesday, April 6, 2022 11:14 AM
To: Callahan, David (CH) <david.callahan@lw.com>
Subject: Re: Columbia v. NortonLifeLock --

Dear David,
Would you be able to free 4 consecutive days (2 days in court and 2 days for the trip, at least) in your agenda next week
or the week after? I guess not. It is the same for me. Remote testimony, due to the 7 hours time difference, would have
to take place in the late afternoons which are quite busy for me with unmovable meetings already and the evenings,
because of the ongoing Ramadan, is devoted to traditional dinners to which my presence is expected, by courtesy when
invited.

Had you warned me months ago when you, most probably, had been given the trial dates, I could have frozen some days
to make myself available. As it is, you will have to use my Brussels testimony to which, anyway, I do not have anything to
add.

All the best,
M. Dacier




From: <david.callahan@lw.com>
Date: Wednesday, April 6, 2022 at 4:10 PM
To: <marc.c.dacier@gmail.com>
Subject: RE: Columbia v. NortonLifeLock --

Thanks very much for the quick response, Marc. I very much appreciate it. We understand that this is short
notice, but it would be really helpful if you could come. We need to talk to the Court, but you could likely
testify early to the middle of the second week of trial (in the April 18-20 timeframe) if that might help, giving
you closer to 2 weeks before you would need to be in Richmond. Might that work?

One other possibility might be you testifying remotely, by video. Would you be willing to do that? Please note
that the Court would need to agree to this approach, and might say that your testimony would only be accepted
live, but we could at least ask if you’d be willing to give remote testimony. Thanks for your consideration.

Dave


David K. Callahan

LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800
Chicago, IL 60611
Direct Dial: +1.312.876.7694
Email: david.callahan@lw.com
https://www.lw.com

From: Marc Dacier <marc.c.dacier@gmail.com>
Sent: Wednesday, April 6, 2022 12:23 AM
                                                            2

                                                     Appx35888
                     Case: 24-1243          Document: 46          Page: 120         Filed: 06/12/2024

       Case 3:13-cv-00808-MHL Document 1084-1 Filed 04/08/22 Page 4 of 5 PageID# 44788

To: Callahan, David (CH) <david.callahan@lw.com>
Subject: Re: Columbia v. NortonLifeLock --

Dear David,
I am more than willing to help but such an extremely short notice (6 days?) makes it impossible for me to come.

Marc

From: <david.callahan@lw.com>
Date: Wednesday, April 6, 2022 at 1:20 AM
To: <marc.c.dacier@gmail.com>
Subject: RE: Columbia v. NortonLifeLock --

Thanks Marc. Let’s plan to talk at 9 am Sunday, I will send a calendar invite. This invitation will have numbers for
whatever country you might be in; if you don’t see the right one, let me know and we can sort it.

But in terms of why we’re reaching out, Norton would very much like you to come testify at the upcoming trial in
Richmond, which will be from April 12-22. The plaintiff, Columbia, has made a significant issue out of the fact that
you’re presently not slated to testify live in Court. As counsel for Norton, we would welcome your testimony at the trial
to tell the truthful facts as you see them, and would make it as convenient as reasonably possible for you, including
covering your reasonable out of pocket expenses to attend. You should only need to be in Richmond 1-2 days, and we
can provide you a quiet place to work or relax while you’re not in Court.

While we are fine waiting until Sunday to chat, we have a hearing with the Court on Thursday (day after tomorrow, our
time), and it would be great if we could tell the Court that you’re willing and able to attend trial. If you could let us know
your willingness to attend by tomorrow, it would be much appreciated.

David K. Callahan

LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800
Chicago, IL 60611
Direct Dial: +1.312.876.7694
Email: david.callahan@lw.com
https://www.lw.com

From: Marc Dacier <marc.c.dacier@gmail.com>
Sent: Tuesday, April 5, 2022 2:46 AM
To: Callahan, David (CH) <david.callahan@lw.com>
Cc: Marc Dacier <marc.c.dacier@gmail.com>
Subject: Re: Columbia v. NortonLifeLock --

Dear David,
I’m fully booked for the rest of the week but could offer you to chat on Sunday, April 10 at 9.00am in Chicago or Tuesday
April 12 at 9.00am in Chicago. Let me know if either of these two time slots work for you. If not, please exchange by
email what it is that you expect from me.

I must admit to be a bit surprised by this sudden rush after years of inaction and the several calls with the Quinn team in
which they repeatedly told me that there was no need for me to do anything, that they did not want me to do anything,
that my testimony in Brussels was all that was needed. I’m happy to help the judicial process though, as I have
continuously said so far.

I hope this helps,
                                                              3

                                                      Appx35889
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M. Dacier



From: <david.callahan@lw.com>
Date: Tuesday, April 5, 2022 at 6:32 AM
To: <marc.c.dacier@gmail.com>
Subject: Columbia v. NortonLifeLock --

Hi Marc:

I’m a lawyer at Latham & Watkins, we’re working with the Quinn team on this case, representing Norton. I’m following
up on earlier communications from the Quinn team. I know you’ve been at conference and travelling, but I’m hopeful I
can get 15 minutes of your time over the next day or two to chat about this case. We’re about to conduct the trial in
this case and for reasons I’d love to explain, there’s been some confusion about your availability or willingness to
testify. We’d very much like to see you testify at trial and expect we will have some flexibility in terms of timing. This is
an important case for Norton, and we’d very much appreciate your cooperation. Please let me know if you might have a
moment to talk. Anytime, at your convenience. Regards.


David K. Callahan

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Email: david.callahan@lw.com
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_________________________________

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                                                      Appx35890
       Case: 24-1243        Document: 46   Page: 122      Filed: 06/12/2024

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                    IN THE UNITED STATES DISTRICT COURT
                    EOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION

  THE TRUSTEES OF COLUMBIA
  UNIVERSITY IN THE CITY OF NEW
  YORK,

             Plaintiff

       V.                              Civil Action No. 3:13-cv-00808-MHL

  NORTONLIFELOCK INC.,

             Defendant


                         DECLARATION OF DAVID A. NELSON




                                       1




                                  Appx35936
          Case: 24-1243            Document: 46           Page: 123         Filed: 06/12/2024

Case 3:13-cv-00808-MHL Document 1089-2 Filed 04/08/22 Page 3 of 9 PageID# 44837




  I, David A. Nelson, declare as follows:

          1.     I am an attorney with the law firm of Quinn Emanuel Urquhart «fe Sullivan, LLP. I

  am licensed to practice law in the State of Illinois and admitted pro hac vice to the United States

  District Court for the Eastern District of Virginia in the ahove-captioned case. Unless otherwise

  stated, I have personal knowledge of the facts set forth in this declaration, and if called as a witness

  I could and would testify competently to the same.

          2.     I have been practicing law for 30 years. My ethical record is unblemished. I have

  tried dozens of cases before Courts all over this country and I am quite certain that a poll of those

  Courts would indicate that I have always handled myself and my cases with the highest level of

  honor and respect for the judicial system and the process.

          3.     I have represented Norton LifeLock Inc. (and previously Symantec Corp.)

  (collectively, “Norton”) in the above-captioned litigation since Columbia filed suit in December

  2013.

          4.     During fact discovery, Columbia requested an opportunity to take the deposition of

  Dr. Marc Dacier, who was then residing in Erance. That meant that Dr. Dacier could only be

  deposed voluntarily.    We consulted with Dr. Dacier and arranged for him to appear for the

  deposition requested by Columbia to provide full and truthful testimony. At no point did we, or

  would I ever, ask Dr. Dacier to provide anything other than full and truthful testimony, much less

  to conceal any facts. I am a lawyer. 1 don’t make the facts and never attempt to do so. 1 advocate

  for my clients based upon the facts as they are. Any suggestions by Columbia or Latham &

  Watkins that I or my firm would do otherwise are categorically false.

          5.      On June 18, 2014, Quinn Emanuel entered into an Engagement Agreement with

  Dr. Dacier. Dkt. 562-4. As stated in the Engagement Agreement, among other things, Quinn



                                                     2




                                             Appx35937
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  Emanuel agreed to represent Dr. Dacier “in connection with ... any deposition in connection with

  this litigation.”   Id.   Quinn Emanuel also agreed more broadly to represent Dr. Dacier “in

  connection with litigation between Symantec and the Trustees of Columbia University ... pending

  in the Eastern District of Virginia” {see Dkt. 562-4).

          6.      On August 19, 2014, Dr. Dacier voluntarily provided deposition testimony in

  Brussels. I represented Dr. Dacier at his deposition. See Dkt. 478-3, Dacier Dep. Tr. at 8:19-20

  (“Dave Nelson from Quinn Emanuel on behalf of Symantec and the witness.”).

          7.      As is common practice, I did not terminate my firm’s representation of Dr. Dacier

  after his deposition, nor did Dr. Dacier ever communicate to anyone at my firm that he desired the

  representation to be terminated Although his deposition was completed in 2014, the above­

  captioned litigation (including discovery) has continued into 2022, mainly as a result of an appeal

  of earlier proceedings where summary judgment was granted on all asserted patents against

  Columbia and an IPR where the majority of claims were invalidated               Quinn Emanuel’s

  representation of Dr. Dacier thus continued throughout this litigation until recently, when we

  terminated it upon the Court’s finding that a conflict existed

          8.      In October 2019, Columbia’s counsel, Dustin Guzior, contacted Dr. Dacier to

  discuss this litigation without my (or anyone at Quinn Emanuel’s) knowledge or consent. See Dkt.

  478 at 1-2.

          9.      After learning of Mr. Guzior’s improper ex parte communications with Dr. Dacier,

  Norton filed a Motion for Sanctions seeking relief for ethical violations, including Virginia Rule

  of Professional Conduct 4.2. Dkt. 478 (Motion for Sanctions dated May 6, 2020).

          10.     Virginia Rule of Professional Conduct 4.2 codifies the longstanding rule that an

  attorney may not contact a person directly who is represented by counsel. Under this “no contact



                                                    3




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  rule”^—which exists in all U.S. jurisdictions—an attorney is forbidden from contacting an

  individual represented by his opponent to discuss the litigation. One reason for this rule is the

  “need to protect uncounseled persons against being taken advantage of by opposing counsel.”

  Virginia Rule of Professional Conduct 4.2 cmt. 8.

         11.    In spite of this no contact rule, Columbia’s counsel repeatedly spoke with Dr.

  Dacier about the above-captioned litigation, even though Columbia had been informed during Dr.

  Dacier’s deposition and otherwise in discovery that Quinn Emanuel represented him. This was

  particularly disappointing because if Columbia desired a further deposition of Dr. Dacier, we

  would have arranged for such a deposition, assuming that Dr. Dacier consented. No such request

  was, or ever has been, made.

         12.    On June 1, 2020, Columbia filed a brief and supporting declarations in opposition

  to the Motion for Sanctions. Dkt. 547. In a declaration attached to the Motion, Mr. Guzior

  presented his version of a conversation he had with Dr. Dacier (“Guzior Declaration”). Dkt. 547-

  1.

         13.    After reviewing the Guzior Declaration, my Quinn Emanuel partner, Nathan

  Hamstra, and I contacted Dr. Dacier to discuss the topics described in the Guzior declaration,

  including Mr. Guzior’s claim that Dr. Dacier was not represented by counsel.

         14.     In our conversation with Dr. Dacier on June 17, 2020, he informed us that

  Columbia’s counsel had claimed to him that the recording of his 2014 deposition could not be used

  at trial, so he had to attend the trial in person. According to Dr. Dacier, Columbia’s counsel had

  also informed him that he was no longer represented by Quinn Emanuel.

         15.     Consistent with the basic tenets of the Eederal Rules of Civil Procedure, we stated

  to Dr. Dacier the fact that the deposition testimony he voluntarily provided in 2014 in Brussels



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                                           Appx35939
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  could be used at trial. We also informed Dr. Dacier that the decision of whether to attend was

  completely his own - neither Norton, Quinn Emanuel, Sullivan Cromwell, nor Columbia could

  compel him to attend trial.

          16.    During this conversation. Dr. Dacier stated that he never intended to terminate

  Quinn Emanuel’s representation, confirmed that he wanted to continue to be represented by Quinn

  Emanuel in the above-captioned action, and stated that he was willing to sign a declaration attesting

  to that fact. He then voluntarily signed a declaration to that effect. Dkt. 562-1 (Dacier Decl.).

          17.    Also during that conversation. Dr. Dacier stated that he did not have anything to

  add to his 2014 deposition testimony, and if called to testify at trial, would merely repeat what he

  had previously testified during his deposition. I understand that he has consistently stated that to

  others who have inquired. Dr. Dacier stated that he did not want to travel to the United States for

  trial, and would prefer to end his involvement in the litigation if his deposition testimony could be

  used.

          18.    Dr. Dacier also stated that he never expressed an opinion that any person at

  Columbia should be named as an inventor on U.S. Patent No. 8,549,643—rather, he had only

  expressed regret that the parties’ dispute was ongoing. As Dr. Dacier stated at his deposition, he

  had not read the patent and had no opinion on who the inventors should be. Dkt. 566-1, Dacier

  Dep. Tr. at 203:1-11 (“1 cannot comment on this patent, 1 haven’t read it”); id. 196:2-6.

          19.    On September 29, 2021, the Court issued a Memorandum Order on the Motion for

  Sanctions. Dkt. 663. In a footnote to this Order, the Court stated “[i]t remains undetermined

  whether Dr. Dacier was or was not represented by Norton’s attorneys in October 2019}' Dkt. 663

  at 5 n.3 (emphasis added).




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                                            Appx35940
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         20.     In September 2021, I believed in good faith that Quinn Emanuel continued to

  represent Dr. Dacier. Dr. Dacier had told me and Mr. Hamstra after the events of October, 2019

  through April, 2020 that he wished to continue to be represented by Quinn Emanuel. At this point

  in time, nothing from either the Court or Dr. Dacier indicated to me that Dr. Dacier was no longer

  a client of Quinn Emanuel.

         21.     After reviewing the Court’s Memorandum Order, Mr. Hamstra and I contacted Dr.

  Dacier to inform him of the Court’s ruling. We again informed Dr. Dacier that the decision of

  whether to attend the trial was his alone. If he wished to attend, he was welcome to do so. If he

  did not so desire, no one could compel him to do so.

         22.     Dr. Dacier reiterated his previous statements that he would prefer not to be involved

  in the litigation, and further confirmed that he did not have anything to say beyond what had

  already been discussed at his 2014 deposition.

         23.     Given Dr. Dacier’s expressed preference not to attend trial, there was no need to

  inform Dr. Dacier of further schedule developments in the case prior to the Court’s rulings

  regarding the purported conflict, as none were relevant. After the Court’s order denying Norton’s

  motion for reconsideration of its order regarding Norton’s Motion in Limine Nos. 5 and 6 on March

  22, my co-counsel informed the Court that Quinn Emanuel would be withdrawing from its

  representation of Dr. Dacier on March 25, and completed that on March 27, 2022. Although Mr.

  Hamstra reached out to Dr. Dacier afterwards to attempt to speak to him and explain the

  withdrawal, we were unable to find a time that worked, because Dr. Dacier indicated that he was

  very busy with work, was traveling for a period of time and simply did not have time. At that

  time, Latham & Watkins replaced us as counsel for Norton and we have had no further contact

  with Dr. Dacier.



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         24.      At no point did Dr. Dacier ever inform me that he felt his deposition testimony was

  in conflict with Norton’s interests and my attendance at the deposition and review of the transcript

  do not leave me with the belief that there is any such conflict. I understand that counsel for

  Columbia has alleged there is such a conflict, but I am not aware of anything Columbia’s counsel

  has pointed to in that transcript that creates such a conflict. Instead, my understanding is that

  Columbia’s position is based on a notion that Dr. Dacier “has more to say” beyond the deposition.

  My conversations with Dr. Dacier indicated exactly the opposite, repeatedly saying that he had

  nothing to add beyond what he said in his deposition. When I was counsel for Norton, I would

  have been more than happy for Dr. Dacier to take the stand at trial and repeat the substance of his

  deposition testimony. My understanding is that Norton had the same belief. But, given the Federal

  Rules of Civil Procedure and the ability to use the deposition at trial with exactly the same force

  and effect as live testimony, it did seem an incredible imposition on Dr. Dacier to ask him to come

  and repeat that testimony. Regardless, Dr. Dacier was always told that it was his choice whether

  to come to trial.

          25.     I also saw only this morning the e-mail Mr. Lumish sent to counsel for Columbia

  attaching recent communications between Latham & Watkins and Dr. Dacier. I saw where Dr.

  Dacier stated that Norton’s counsel was “pretending” to represent him. I can assure the Court that

  at no point were we pretending anything. I am sorry that Dr. Dacier now apparently feels that way

  and because 1 was not a party to any of Latham’s communications with Dr. Dacier, I cannot

  speculate as to what prompted that response. I can say that Dr. Dacier never expressed such a

  concern to me or anyone else at Quinn Emanuel. If he had, I would have inquired as to why he

  had that concern and either tried to remedy that if I felt possible, or withdraw from the

  representation with notice to Dr, Dacier. As stated above, if Columbia’s counsel had ever asked



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  for a further deposition of Dr. Dacier, we would have facilitated that request, assuming Dr. Dacier

  would have agreed to such a request. Such a request was never made.

         26.      Quinn Emanuel acted in good faith throughout its representation of Dr. Dacier and

  never attempted to hide him from Columbia or anyone else. Indeed, it was Quinn Emanuel and

  Symantec (now Norton) who arranged for his voluntary deposition in the first place. Without such

  arrangement. Dr. Dacier could not have been deposed. This conduct is completely inconsistent

  with the current allegations that we somehow hid this witness. We did not, and never would do

  such a thing.

         27.      I am presently in Chicago and cannot make it to Richmond in time for the 3 p.m.

  ET hearing today on less than five hours’ notice. I also have a post-wedding celebration trip

  planned beginning Saturday now that I have been replaced by Latham & Watkins as Norton’s

  counsel in this case. I would be happy to answer any of this Court’s questions regarding this matter

  within the constraints of those obligations. I have nothing to hide and neither does anyone at Quinn

  Emanuel.



         I declare under penalty of perjury that the foregoing is true and correct.

         Executed April 8, 2022 at Chicago, Illinois.




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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,

             Plaintiff

      v.                                  Civil Action No. 3:13-cv-00808-MHL

NORTONLIFELOCK INC.,

             Defendant




               NORTONLIFELOCK’S RESPONSE TO THE COURT’S
                     APRIL 15, 2022 ORDER (DKT. 1130)




                                 Appx37277
               Case: 24-1243         Document: 46        Page: 131       Filed: 06/12/2024

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          Defendant NortonLifeLock Inc. submits this response to the Court’s order (Dkt. 1130)

requesting briefing on the requirements for application of the forfeiture-by-wrongdoing hearsay

exception under Federal Rule of Evidence 804(b)(6).

          That Rule provides: “A statement offered against a party that wrongfully caused—or

acquiesced in wrongfully causing—the declarant’s unavailability as a witness, and did so intending

that result” is “not excluded by the rule against hearsay.” Fed. R. Evid. 804(b)(6). The Rule

requires the court to find, by a preponderance of the evidence, that “(1) the [party] engaged or

acquiesced in wrongdoing (2) that was intended to render the declarant unavailable as a witness

and (3) that did, in fact, render the declarant unavailable as a witness.” United States v. Dinkins,

691 F.3d 358, 383 (4th Cir. 2012) (citation omitted). As the proponent of the hearsay, Columbia

bears the burden of establishing all three elements. See, e.g., United States v. Jefferson, 2009 WL

2447845, at *1 & n.5 (E.D. Va. Aug. 8, 2009). It cannot do so here.

          A.     Norton Has Not Engaged or Acquiesced In Anything Close to the
                 “Wrongdoing” Contemplated By The Rule

          The Rule’s most fundamental requirement is that the party against whom the hearsay

statement is offered must have “wrongfully caused . . . the declarant’s unavailability as a witness.”

Columbia implies that this Court, by concluding that a missing witness instruction should be

given,1 has found that Norton committed the type of wrongdoing contemplated by Rule 804(b)(6).

But that conclusion does not follow from the Court’s finding. While Norton recognizes the Court’s

“finding that Quinn Emanuel LLP rendered Dr. Dacier unavailable” (Dkt. 1083; Dkt. 889 at 17),

such conduct does not rise to the level of “wrongdoing” commensurate with Rule 804(b)(6).




1
    Norton maintains its objections to the finding that it rendered Dr. Dacier unavailable.

                                                   1
                                              Appx37278
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

 THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF
 NEWYORK,

                Plaintiff,

        v.                                                   Civil Action No. 3:13cv808

 NORTONLIFELOCK, INC.,

                Defendant.

                                    MEMORANDUM ORDER

        This matter comes before the Court on the issue of the missing witness instruction. The

 parties have engaged in multiple rounds of briefing on this issue, (ECF Nos. 1096-97, 1102-03,

 1123-24, 1126-27, 1143--44, 1147--48), and have also presented in-court arguments speaking to

 it, (see, e.g., Apr. 7 Trial Tr. 44:7-12, 72:12-17). For the reasons that follow, the Court will

 provide a missing witness instruction to the jury, but it will not admit the emails between Dr.

 Dacier and Norton's counsel at Latham & Watkins LLP as evidence.

                         I. Factual Background and Procedural History

        1.      Factual Background

        Dr. Marc Dacier was an employee of Norton at the time of its filing of the '643 Patent at

 the center of Columbia's Fraudulent Concealment and Inventorship Claims. Dr. Dacier served

 as the senior director of Norton Research and supervisor of Darren Shou, the Norton employee

 listed as the first named inventor of the '643 Patent. During that timeframe, Dr. Dacier also

 collaborated with Dr. Keromytis on a government grant proposal regarding decoy technology.




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Case 3:13-cv-00808-MHL Document 1167 Filed 04/25/22 Page 13 of 18 PageID# 51428



 relationship with Dr. Dacier in a way allowing Columbia to impeach his testimony on cross

 examination with the Dacier emails. (ECF No. 1148, at 3.) Of course, if Columbia were to

 attempt to impeach Mr. Shou, it would have to first establish all the foundational requirements of

 Rule 613(b).

             II. The Court Will Provide a Missing Witness Instruction to the Jury

        Having considered all briefing, argument, and testimony before it, the Court confirms its

 earlier finding that it will issue a missing witness instruction as part of the "Evidence" instruction

 in this case. A proposed instruction including it has been sent to the parties.

        In doing so, the Court recognizes that the missing witness instruction is unusual. But this

 is an uncommon factual and procedural scenario that merits its inclusion in the jury instructions

 here. Norton's repeated emphasis that Virginia's model missing witness instruction includes

 commentary that the instruction should rarely be given has been heard. However, the Court has

 repeatedly found that numerous remarkably atypical events have occurred in this case.

        It is true that the missing witness instruction cases discuss factually distinct

 circumstances. There is no doubt that this case does not involve a plaintiff who made himself

 unavailable, or a witness rendered unavailable through threats or murder. But it is also true that

 the lengthy and abnormal procedural and factual unfolding as to whether Dr. Dacier would be a

 live witness at trial, and how Norton-through counsel- caused Dr. Dacier's practical

 unavailability, is utterly distinct from anything this Court has seen. The Court sees no other

 remedy beyond one delaying this case even longer. A delay might procure Dr. Dacier's

 presence, but it would require navigating the complicated process of obtaining testimony of a

 witness in Saudi Arabia under the necessary international treaty or convention allowing one to do

 so. Such a delay would be untenably and unpredictably long.



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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION


  THE TRUSTEES OF COLUMBIA                      Civil Action No. 3:13-cv-00808-MHL
  UNIVERSITY IN THE CITY OF NEW
  YORK,


                   Plaintiff


             v.


  NORTONLIFELOCK INC. f/k/a
  SYMANTEC CORPORATION,


                   Defendant


         QUINN EMANUEL’S OPPOSITION TO COLUMBIA’S MOTION FOR
                      AN ORDER TO SHOW CAUSE




                                     Appx43938
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  fully complied with the Court’s March 15 Order through its April 8 response and Mr. Nelson’s

  declaration.

          B.      The Standard for Civil Contempt Has Not Been Met

          The Court should also deny Columbia’s Motion for an Order to Show Cause because

  Columbia has not—and cannot—justify its request to hold Quinn Emanuel in civil contempt.

  “Holding a party in civil contempt is intended to coerce that party into complying with a

  court order or to compensate the moving party for sustained losses.” Certain Underwriters at

  Lloyd's, London v. AdvanFort Co., 2020 WL 878298, at *2 (E.D. Va. Feb. 3, 2020), report and

  recommendation adopted, No. 1:18-CV-1421, 2020 WL 877981 (E.D. Va. Feb. 21, 2020). In this

  Circuit, “the moving party must establish the following elements by clear and convincing evidence:

  (1) the existence of valid court order of which the alleged contemnor had actual or constructive

  knowledge; (2) the order was in the movant's favor; (3) the nonmovant knowingly failed to comply

  with the order; and (4) the movant suffered harm as a result.” Id citing Rainbow Sch., Inc. v.

  Rainbow Early Educ. Holding LLC, 887 F.3d 610, 617 (4th Cir. 2018) (internal punctuation

  omitted).

          Columbia has not established that Norton “knowingly failed to comply” with a valid court

  order. As discussed above, Quinn Emanuel has complied with the Court’s March 15, 2022 Order.

  Quinn Emanuel produced a detailed summary of its communications with Dr. Dacier soon after its

  Motion to Reconsider was denied.

          Columbia asserts in its Motion that Norton’s initial response to the Court’s March 15, 2022

  Order was insufficient. But, as already described herein, Norton took appropriate steps to initially

  protect its client’s attorney-client privilege, test the validity of the Court’s conflict of interest finding,

  and ultimately comply with the requested Order. “A good faith attempt to comply, even if such

  attempt proves ineffective, is a defense to a civil contempt order.” Chesapeake Bank v. Berger, No.


                                                       10
                                                 Appx43950
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  4:14CV66, 2014 WL 5500872, at *3 (E.D. Va. Oct. 30, 2014). “Other defenses include substantial

  compliance[.]” Id. Norton’s efforts to protect its client’s confidences were undertaken in good faith,

  and cannot support a finding of civil contempt.

         Columbia also has not established that it “suffered harm as a result” of any alleged non-

  compliance with the March 15, 2022 Order. Columbia was aware of Quinn Emanuel’s

  communications with Dr. Dacier as a result of Mr. Nelson’s declaration submitted on April 8, 2022

  (see Dkt. 1089-2). Columbia also had extensive communications with Dr. Dacier in 2019 and 2020.

  Columbia asserts in its Motion that “additional measures” beyond the monetary sanctions it plans to

  seek under 35 U.S.C. § 284 and 285 are required “for Norton’s involvement in Dr. Dacier’s failure to

  appear at trial[.]” Mot. at 4. But the Court has already considered extensive briefing and argument

  on this topic, and determined that a missing witness instruction was an appropriate remedy.

         Even if the Court credits Columbia’s suggestion that Quinn Emanuel did not comply with the

  March 15, 2022 Order, no further sanctions would be warranted because Quinn Emanuel

  subsequently provided the requested information on April 8. Sanctions for civil contempt “may be

  imposed either to enforce a court order or to compensate the other party for any losses sustained as a

  result of the contempt.” Tattoo Art, Inc. v. Tat Int’l, LLC, No. 2:10CV323, 2012 WL 3912572, at *2

  (E.D. Va. Sept. 7, 2012). Sanctions intended to either “vindicate the authority of the court” or

  ‘punish[ ] . . . and deter[ ] future litigants’ misconduct” are not available as a remedy for civil

  contempt sanctions. JTH Tax, Inc. v. Noor, No. 2:11CV22, 2012 WL 4473252, at *2 (E.D. Va. Sept.

  26, 2012). “A contempt fine is considered civil when the fine is remedial (i.e., either paid to the

  complainant or, when payable the court, avoidable by the contemnor by simply performing the

  affirmative act required by the court’s order).” Chesapeake Bank v. Berger, No. 4:14CV66, 2014

  WL 5500872, at *4 (E.D. Va. Oct. 30, 2014). “In other words, a fine that is payable to the court but




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  not conditioned on compliance with a court order is punitive and therefore, not civil.” Id. Because

  Norton has fully complied with the Court’s March 15, 2022 Order, no fines or sanctions are

  warranted “to coerce compliance.” Columbia has not suffered any harm, and is therefore not entitled

  to any monetary compensation “for losses [ ] sustained.”

  III.   CONCLUSION

         For the foregoing reasons, Quinn Emanuel respectfully requests that the Court deny

  Columbia’s Motion for an Order to Show Cause.




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                                            Appx43952
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From:                               Marc Dacier <marc.c.dacier@gmail.com>
Sent:                               Tuesday, June 21, 2022 2:40 AM
To:                                 Guzior, Dustin; Angelos D. Keromytis
Subject:                            Re: [EXTERNAL] intro


DearDustin,
MyunderstandingisthatmyemailfromApril102020toNathanHamstraandDaveNelson,cc’ingyouandA.Gross,has
alltheanswerstoyourquestions.

AsforthedateoftheNDA,mybad,itisindeedfromJune16,2014

Ihopethishelps
Marc

From:"Guzior,Dustin"<guziord@sullcrom.com>
Date:Monday,20June2022at6:50PM
To:MarcDacier<marc.c.dacier@gmail.com>,"AngelosD.Keromytis"<angelos@keromytis.com>
Subject:RE:[EXTERNAL]intro

Hi,Marc:

Verysorrytohearyouareill.IcaughtCOVIDinmidͲMaywhenIcamebacktoNYCafterthetrial.Despite3x
vaccination,Ialsogotquitesick.TakecareofyourselfandIhopeyouarefeelingbettersoon.

Iregretthatyouthinkthereisarisktheywouldthreatentofileaclaimagainstyou,butIcertainlyunderstandyour
personaldecisiontoavoidanysuchriskandmoveonfromthissituation.WeareinastrangepositionbecauseQuinn
hasnotactuallyproducedalloftheircommunicationswithyoufrom2020forward,despitetheCourtorder.Wehave
onlyacoupleeͲmailse.g.from2022thatIsentyouearlierinthisemailchain.WeaskedtheCourttotakefurthersteps
tocompelproduction(infilingsasrecentaslastFriday),butthereisariskthatQuinnstillwillnotproducetheemails
evenafterafurtherCourtorder.

AlthoughQuinnhasnotproducedalloftheiremailswithyou,theyaremakingrepresentationstotheCourtaboutwhat
youallegedlysaidorallytothem.Forexample,Quinnissayingthatyoutoldthemthatwhenyouspokewithus
(Columbia’slawyers)in2019aboutpotentiallycomingtotrial,wedidnotaskyouifyouwererepresentedbycounsel
andinsteadweinstructedyouthatyouwerenolongerrepresentedbycounsel.Thatisaseriousaccusationthatwe
firmlybelieveisinaccurate.Theyalsoaresayingthatwhentheyspoketoyouin2020,youcametothemsayingthatyou
wantedtoberepresentedbyQuinnandhadalwayswantedtoberepresentedbythem.Thatisinconsistentwith
severalwrittendocumentsinourview.ThesearesomeofthethingswewantedtoclarifybecauseQuinnispurporting
tospeakforyouinsubmissionstotheCourt.

Finally,inyoureͲmailbelow,youmentiona2018NDA,whichisabitconfusingtome.Doyoumean2014orperhaps
2020?

Again,Iwishyouaspeedyrecoveryandperhapswewillmeetsomedayindifferentandmorepleasantcircumstances.

Allmybest,


                                                              1

                                                      Appx47474
                   Case: 24-1243           Document: 46          Page: 139        Filed: 06/12/2024

      Case 3:13-cv-00808-MHL Document 1294-4 Filed 07/22/22 Page 3 of 5 PageID# 61849


Dustin

From:MarcDacier<marc.c.dacier@gmail.com>
Sent:Monday,June20,20225:46AM
To:Guzior,Dustin<guziord@sullcrom.com>;AngelosD.Keromytis<angelos@keromytis.com>
Subject:Re:[EXTERNAL]intro

DearDustin,
Apologiesforthedelayedreply.IhavebeentestedpositiveforCOVIDlastFridayandhavefeltprettybadsincemidof
lastweek.Itisgettingbettertodaybutwitharemainingheavysoarthroat.I’mreallygladthatIdidgetmy3shotsof
vaccine.IwonderinwhichstateIwouldbewithoutthem….

Longstoryshort,IhaveunearthedtheinitialdocumentthatIhadbeenaskedtosignin2018withQuinnwhichis,
basicallyaNDA,thatexplicitlymentionsthingslike“Youagreetoholdinstrictconfidenceyourcommunicationswith
us.»

IunderstandthatonecouldprobablyarguethatthisNDAisnowvoidsincethejudge’sdecisionbutwehaveseenfirst
handthatlackofanystrongargumentisn’tareasonforthemtokeeppushingtheirlosinglegalstrategies.Idonotwant
togivethemanyreasontocomebackaftermeanddragmeintoyetanotherendlesslegalfightforaninventedNDA
breach,asI’msureyouperfectlyunderstand.IdonothaveSymantecorColumbiadeeppocketstofightavery
expensivefrivolouslawsuitagainstme….I’mnotsayingthattheywouldbutIdonotwanttotaketheriskthatthey
could.

Forthisreason,IwouldprefernottodiscusswithyouanyexchangeIhavehadwiththem.Thejudgegaveyouaccessto
myemails.Theyarethegistofit,anyway,andIhopethiswillhelpyouinmakingsurethatjusticeprevails.

M.Dacier

From:"Guzior,Dustin"<guziord@sullcrom.com>
Date:Tuesday,14June2022at2:24PM
To:MarcDacier<marc.c.dacier@gmail.com>,"AngelosD.Keromytis"<angelos@keromytis.com>
Subject:RE:[EXTERNAL]intro

Thankyou,Marc.Ifyouareabletospeaksometimenextweekthatwouldstillbehelpful.

Letmeknowwhenmightbepossible.

Thanks,

Dustin



From:MarcDacier<marc.c.dacier@gmail.com>
Date:Tuesday,Jun14,2022,2:33AM
To:Guzior,Dustin<guziord@sullcrom.com>,AngelosD.Keromytis<angelos@keromytis.com>
Subject:Re:[EXTERNAL]intro

DearDustin,


                                                             2

                                                     Appx47475
                     Case: 24-1243            Document: 46            Page: 140         Filed: 06/12/2024

       Case 3:13-cv-00808-MHL Document 1294-4 Filed 07/22/22 Page 4 of 5 PageID# 61850

Ididnotrealizethatyouwereonsuchshortdeadline.I’munfortunatelycaughtupinmeetingsallafternoonsand
eveningstodayandtomorrow.Itwon’tbepossibletoorganizeacallwithyousoquickly.Havingsaidthat,Iamnotquite
surewhatIcouldhavetoldyouthatyouwouldnotalreadyknowsincemyexchangeswithQuinnhavemostlybeenby
emailandyouhavealreadyobtainedthemfromthejudge,apparently.Wehavehadveryfewcalls,alongtimeago.I
remembertherewereshortbutIcan’trecalltheirexactcontent.

Ihopethishelps
M.Dacier


From:"Guzior,Dustin"<guziord@sullcrom.com>
Date:Monday,June13,2022at8:31PM
To:MarcDacier<marc.c.dacier@gmail.com>,"AngelosD.Keromytis"<angelos@keromytis.com>
Subject:RE:[EXTERNAL]intro

Hi,Marc:

Hopeyouhadaniceweekend.OursubmissionisdueonFriday,June17,andIwillbeinCourtonJune16;isthereany
chancewecanscheduleacallfortomorrow(June14)orWednesday(June15)?

Thankyou,

Dustin

From:Guzior,Dustin<guziord@sullcrom.com>
Sent:Thursday,June09,20227:26AM
To:MarcDacier<marc.c.dacier@gmail.com>;AngelosD.Keromytis<angelos@keromytis.com>
Subject:RE:[EXTERNAL]intro

Thank you, Marc.

Dustin

From: Marc Dacier <marc.c.dacier@gmail.com>
Date: Thursday, Jun 09, 2022, 4:19 AM
To: Guzior, Dustin <guziord@sullcrom.com>, Angelos D. Keromytis <angelos@keromytis.com>
Subject: Re: [EXTERNAL] intro

Dear Dustin,
I see no reason not to talk to you, assuming I'm allowed to do so and do not violate any law/rule/agreement/... The documents you
provide seem to say so indeed and, just to be on the safe side, I have asked my daughter, who is a lawyer (NY and Paris bar), to
confirm to me that it was ok for us to exchange verbally. As soon as I get her feedback, I will come back to you.

All the best,
M. Dacier


On 6/8/22, 7:41 PM, "Guzior, Dustin" <guziord@sullcrom.com> wrote:

  Thank you, Angelos.

  Hi, Marc: I think we last spoke at the very beginning of the pandemic. I understand you accepted a professorship at KAUST
during that time. I hope that has been professionally rewarding and you and your family are well.

                                                                  3

                                                         Appx47476
                      Case: 24-1243              Document: 46             Page: 141          Filed: 06/12/2024

      Case 3:13-cv-00808-MHL Document 1294-4 Filed 07/22/22 Page 5 of 5 PageID# 61851

   I appreciate your willingness to speak with us. If we were to speak, we would not want to discuss anything about your time at
Norton/Symantec; we would be focused exclusively on 2020 forward, after we were in touch with you about testifying at trial. I have
attached an Order of the Court regarding Quinn's claim to have represented you during that period. I will let the document speak for
itself, but the Court ordered Norton to disclose "any information" that you provided during a period when Quinn could not have
represented you personally because of a conflict of interest (covering the period from 2020 and later). Norton asked the Court to
reconsider that decision, and the Court declined to reconsider the conclusion in the second attached document. I also attach two
emails that Quinn and Norton produced in the case that were filed on the Court public docket.

  Let me know if you are willing to discuss these 2020-2022 events. We and the Court are still trying to figure it all out.

  All the best, and I do sincerely apologize that a rather simple request--that you testify at trial--became such a burden for you.

  Dustin

  -----Original Message-----
  From: Angelos D. Keromytis <angelos@keromytis.com>
  Sent: Wednesday, June 08, 2022 11:59 AM
  To: Marc Dacier <marc.c.dacier@gmail.com>; Guzior, Dustin <guziord@sullcrom.com>
  Subject: [EXTERNAL] intro

  Marc, Dustin, you are now in contact.

  Marc, I believe Dustin has a document from the Court that will address your concern,
  Thanks,
  -Angelos

  ======================================================================
  **This is an external message from: angelos@keromytis.com **

   ________________________________
   This e-mail is sent by a law firm and contains information that may be privileged and confidential. If you are not the intended
recipient, please delete the e-mail and notify us immediately.




                                                                    4

                                                            Appx47477
               Case: 24-1243   Document: 46   Page: 142   Filed: 06/12/2024


Case 3:13-cv-00808-MHL Document 1210 Filed 05/10/22 Page 1 of 313 PageID# 55415

                                                                         408
 1                    UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
 2                         RICHMOND DIVISION

 3
                                          )
 4   THE TRUSTEES OF COLUMBIA             )
     UNIVERSITY IN THE CITY OF            )
 5   NEW YORK                             )
                                          )
 6   v.                                   )    Civil Action No.:
                                          )    3:13 CV 00808
 7   NORTONLIFELOCK INC.                  )
     f/k/a SYMANTEC CORPORATION           )
 8                                        )
                                               April 13, 2022
 9
                                 DAY 2
10                   EXPEDITED OVERNIGHT TRANSCRIPT

11                COMPLETE TRANSCRIPT OF JURY TRIAL
                 BEFORE THE HONORABLE M. HANNAH LAUCK
12                UNITED STATES DISTRICT COURT JUDGE

13   APPEARANCES:

14   John Erbach, Esquire
     Dana D. McDaniel, Esquire
15   SPOTTS FAIN
     411 E. Franklin Street
16   Suite 600
     Richmond, Virginia 23218
17

18   Garrard Beeney, Esquire
     Dustin Guzior, Esquire
19   Alexander N. Gross, Esquire
     Jessica R. Ecker, Esquire
20   Sullivan & Cromwell
     125 Broad Street
21   New York, New York 10004

22              Counsel on behalf of the Plaintiff

23

24                       KRISTA L. HARDING, RMR
                         OFFICIAL COURT REPORTER
25                    UNITED STATES DISTRICT COURT


                                     Appx52057
          Case: 24-1243   Document: 46   Page: 143   Filed: 06/12/2024


Case 3:13-cv-00808-MHL Document 1210 Filed 05/10/22 Page 2 of 313 PageID# 55416

                                                                         409
 1   APPEARANCES (CONTINUED):

 2   Dabney J. Carr, IV, Esquire
     TROUTMAN SANDERS LLP
 3   1001 Haxall Point
     Richmond, Virginia 23219
 4
     Michael A. Morin, Esquire
 5   LATHAM & WATKINS LLP
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 6   Suite 1000
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 7
     Douglas E. Lumish, Esquire
 8   LATHAM & WATKINS LLP
     140 Scott Drive
 9   Menlo Park, California 94025

10
                Counsel on behalf of the Defendant
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                                 Appx52058
            Case: 24-1243   Document: 46   Page: 144   Filed: 06/12/2024


Case 3:13-cv-00808-MHL Document 1210 Filed 05/10/22 Page 210 of 313 PageID# 55624

                     Salvatore Stolfo - Direct                             617

 1   on March 31st lists you, and Professor Stolfo, and

 2   Keromytis as inventors?

 3   A    Yes.

 4   Q    And the one that Symantec filed four days later takes

 5   your names off the application?

 6   A    They expunged the Columbia people.

 7   Q    Did you know that they were doing that?

 8   A    No.

 9   Q    No one ever told you?

10   A    No.

11   Q    So after telling you that you would be named an

12   inventor, you were never told that Symantec was filing an

13   application without you being named as an inventor; is

14   that correct?

15   A    That's correct.

16   Q    So, Professor Stolfo, you told us a few moments ago

17   that after these events, you ran into or met Dr. Dacier of

18   Symantec.    Do you recall saying that?

19   A    Yes.

20   Q    Do you remember about when that was?

21   A    May-ish, I think.        Springtime, I think.          2017.

22   Q    Of 2017?

23   A    Yes.

24   Q    And was this at a professional conference?

25   A    Yes.

                                   Appx52266
            Case: 24-1243   Document: 46   Page: 145   Filed: 06/12/2024


Case 3:13-cv-00808-MHL Document 1210 Filed 05/10/22 Page 211 of 313 PageID# 55625

                     Salvatore Stolfo - Direct                             618

 1   Q    Did Dr. Dacier raise with you the subject of Symantec

 2   patenting the '643 patent?

 3   A    Yes.

 4   Q    And tell us what he said.

 5   A    He expressed regret for what had happened, also

 6   expressed that he did everything he could to stop it, and

 7   he felt bad.     And that was the extent of the conversation,

 8   but he was crystal clear.

 9   Q    Did he characterize Symantec's conduct in any way?

10   A    They were wrong.

11   Q    Professor Stolfo, you've come here to testify I know

12   at least in part because Columbia has asked you to, but is

13   there another reason you're testifying today?

14   A    I'm being very polite.           Ten years waiting for my day

15   in court to have somebody come and wish to collaborate so

16   we can do good things together and then take my

17   inventions, claim it's theirs and put their own name on

18   it, it's outrageous.       It's not just once, apparently.              It

19   was twice.     And this is my opportunity to express my

20   outrage by it, and this should not stand.               This should not

21   be allowed.     This is not their property.           This is my

22   livelihood.     This is my life.        This is what I do, and it's

23   really galling that this happened.

24                MR. BEENEY:     Thank you, Professor.

25                THE COURT:    Any cross?

                                   Appx52267
               Case: 24-1243   Document: 46   Page: 146   Filed: 06/12/2024


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                                                                         721
 1                    UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
 2                         RICHMOND DIVISION

 3

 4   THE TRUSTEES OF COLUMBIA             )
     UNIVERSITY IN THE CITY OF            )
 5   NEW YORK                             )
                                          )
 6   v.                                   )    Civil Action No.:
                                          )    3:13 CV 00808
 7   NORTONLIFELOCK INC.                  )
     f/k/a SYMANTEC CORPORATION           )
 8                                        )
                                               April 14, 2022
 9
                                 DAY 3
10                   EXPEDITED OVERNIGHT TRANSCRIPT

11                COMPLETE TRANSCRIPT OF JURY TRIAL
                 BEFORE THE HONORABLE M. HANNAH LAUCK
12                UNITED STATES DISTRICT COURT JUDGE

13   APPEARANCES:

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15   SPOTTS FAIN
     411 E. Franklin Street
16   Suite 600
     Richmond, Virginia 23218
17

18   Garrard Beeney, Esquire
     Dustin Guzior, Esquire
19   Alexander N. Gross, Esquire
     Jessica R. Ecker, Esquire
20   Alexander N. Gross, Esquire
     Stephen J. Elliott, Esquire
21   Sullivan & Cromwell
     125 Broad Street
22   New York, New York 10004

23              Counsel on behalf of the Plaintiff

24                       KRISTA L. HARDING, RMR
                         OFFICIAL COURT REPORTER
25                    UNITED STATES DISTRICT COURT


                                     Appx52370
          Case: 24-1243   Document: 46   Page: 147   Filed: 06/12/2024


Case 3:13-cv-00808-MHL Document 1211 Filed 05/10/22 Page 2 of 237 PageID# 55729

                                                                         722
 1   APPEARANCES (CONTINUED):

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     Richmond, Virginia 23219
 4

 5   Douglas E. Lumish, Esquire
     Ryan T. Banks, Esquire
 6   LATHAM & WATKINS LLP
     140 Scott Drive
 7   Menlo Park, California 94025

 8              Counsel on behalf of the Defendant

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                                 Appx52371
             Case: 24-1243    Document: 46   Page: 148   Filed: 06/12/2024

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                             KEROMYTIS - DIRECT                     830

   1   A     So, as I recall, in late 2017, we had a

   2   conversation with Marc having to do with initially

   3   he's moved from one job location to the other.                 So

   4   since we were friends and had worked together, I

   5   called to inquire what was going on.

   6         And in the process of that discussion, I mentioned

   7   that this patent dispute had been still ongoing to

   8   which he expressed surprise that this was still going

   9   on.    He said he hadn't heard anything in a few years

 10    about the matter.

 11          And then he told me he was very sorry that --

 12    about everything that had happened, including that

 13    Symantec had filed for a patent without Sal and me on

 14    them as co-inventors because this was our work and

 15    that he had tried to make it not happen, but he didn't

 16    prevail on that.

 17          So I got the impression that he sort of thought

 18    along the same lines as I was in terms of what had

 19    happened.

 20    Q     Was it just you and Dr. Dacier in that

 21    conversation?

 22    A     Yes.

 23    Q     Did you believe Dr. Dacier when he said he was

 24    sorry about what happened?

 25    A     Yes.




                                    Appx52479
